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(10) (Xe Services LLC, Academi, Constellis Holdings Inc.,

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IN UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF LOUISIANA

 

 

JOHN KEITH HEBERT, IC “Plata”,

President of International Defense Corporation,
4711 Renie Road,

Erath, Louisiana 70533,

INTERNATIONAL DEFENSE CORPORATION,
4711 Renie Road,
Erath, Louisiana 70533,

Plaintifi(s),

VS.

THE UNITED STATES OF AMERICA,
(Unprivileged War Belligerents,
And Co-Conspirators),

(The United States Central Intelligence Agency,
And the Entire CIA Command to Afghanistan,
And the CIA Deputy Chief of Support DCOS
Christine Massowd “Ricochet” / “Schroeder”,
And the CIA Chief of Security COS “Watchdog”,
And the CIA Regional Medical Officer /
Psychologist Maria L. Dittrich, PhD “Westside”,
And the CIA Kabul Base Area Security Officer
(ASO) in Afghanistan “Pebbles”,

And the CIA Sulaymaniyah Base Area Security
Officer (ASO) in Iraq, “Tiger”,

And the CIA Director John Owen Brennan,

The Office of Counsel,

1000 Colonial Farm Road,

McLean, Virginia 22101),

(The United States Central Intelligence Agency,
And the Las Vegas Office of the CIA Operations,
The Office of Counsel,

1000 Colonial Farm Road,

McLean, Virginia 22101),

Triple Canopy Inc., and Apollo Global
Management LLC Corporate Headquarters,

(11) And the Academi Management to Afghanistan,
(12) And RC-1 “Flathead”,

(13) And RC-1 “Shrapnel”,

(14) And C-1 Ryan M. Scott “Bankhead”,

(15) And C-1 Larry H. Heppner “Bull”,

Ne ee ee ee ee eee ae ee

CIVIL ACTION NO.

CRIMINAL ACTION NO. DOJ ID # 3936092

TRIAL BY JURY DEMAND

COMPLAINT:

TREASON, SEDITION, AND SUBVERSIVE ACTIVITIES
(18 U.S.C. §§ 2381-2391); AND

COMMUNIST CONTROL LAW AND LEGISLATIVE
FINDING OF FACT AND DECLARATION OF
NECESSITY (50 U.S.C. §§ 841-844); AND

RACKETEER INFLUENCED AND CORRUPT
ORGANIZATIONS (18 U.S.C. §§ 1961-1968), AND

ACTION FOR NEGLECT TO PREVENT (42 U.S.C. § 1986);
AND

COMPENSATION FOR VIOLATIONS OF THE
LAW OF WAR (Law of War § 18.16).

 
 

 

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(16) And TL Paul Detwiler “Noodler”,

(17) And TL tan M. Pearson “Bryant”,
The Office of Counsel,
12018 Sunrise Valley Drive, Suite 140,
Reston, Virginia 20191),

(18) (The Starr Indemnity and Liability Company,
And Gallagher Bassett Services,

(19) And Senior Resolution Manager Teresa Martin,
The Office of Connsel,
399 Park Avenue, 2" Floor,
New York, New York 10022),

(20) (The Turley Law Firm,

(21) And William David Turley,
The Office of Counsel,
7428 Trade Street,
San Diego, California 92121),

(22) (The State of California,
And the Office of the Franchise Tax Board,
The Office of Counsel,
9646 Butterfield Way,
Sacranento, California 95827),

(23) (The United States Postal Service Headquarters,
The Office of Counsel,
475 L’ Enfant Plaza, 8.W.,
Washington, D.C. 20260-0004),

(24) (The United States Internal Revenue Service,
The Office of Counsel,
1111 Constitution Avenue, N.W.,
Washington, D.C 20224),

 

(25) (The United States Department of the Treasury,
The Office of Counsel,
1500 Pennsylvania Avenue, N. W.,
Washington, D. C. 20220),

(26) (And all other found Co-Conspirators / Principles),

*Defendant(s). *(All Defendant(s) are in both “Personal Individual

Capacity” and “State Official Capacity”.)

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TREASON, SEDITION, AND SUBVERSIVE ACTIVIFIES; AND

COMMUNIST CONTROL LAW AND LEGISLATIVE FINDING OF FACT

 

AND DECLARATION OF NECESSITY; AND RACKETEER INFLUENCED AND
CORRUPT ORGANIZATIONS; AND ACTION FOR NEGLECT TO PREVENT; AND

COMPENSATION FOR VIOLATIONS OF THE LAW OF WAR COMPLAINT.

 

 
 

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PLAINTIFFS)

. JOHN KEITH HEBERT, IC “Plata”, President of International Defense Corporation ...............-...-----
IL. INTERNATIONAL DEFENSE CORPORATION, a Nevada Corporation «0.0.0... ese eee rere eet
DEFENDANT(S)

1. (1) The United States Central Intelligence Agency, and (2) the Entire CIA Command

to Afghanistan, and (3) the CIA Deputy Chief of Support DCOS Christine Massowd
“Ricochet” / “Schroeder”, and (4) the CIA Chief of Security COS “Watchdog”, and

(5) the CIA Regional Medical Officer / Psychologist Maria L. Dittrich, PhD “Westside”,
and (6) the CIA Kabul Base Area Security Officer (ASO) in Afghanistan “Pebbles”,

and (7) the CIA Sulaymaniyah Base Area Security C Officer er (ASO) i in Iraq, “ Tiger", and

(8) the CIA Director John Owen Brennan ..

It. (9) The United States Central al Intelligence Agency, a and the Las as Vegas Office
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Apollo Global Management LLC Corporate Headquarters, and (11) the Academi
Management to Afghanistan, and (12) RC-1 “Flathead”, and (13) RC-1 “Shrapnel”,
and (14) C-1 Ryan M. Scott “Bankhead”, and (15) C-1 Larry H. Heppner “Bull”,
and (16) TL Paul Detwiler “Noodler”, and (17) TL Ian M. Pearson “Bryant” ...

IV. (18) The Starr Indemnity and Liability Company, and | Gallagher Bi Bassett Services,

and (19) Senior Resolution Manager Teresa Martin ..

Vv. (20) The Turley Law Firm, and (21) William David Turley <0... esses cece nesncsce ee steeeeenenneenecceeta tanning
VI. (22) The State of California, and the Office of the Franchise Tax Board ........-.-..scecseetcse sets iersrisceencees
VU. (23) The United States Postal Service Headquarters ........cc:scsesees eee teeeseeee nee eseeesenennnanenaiesesecesaentataneenacens

Vil. (24) The United States Internal Revenue Service ..........ecseee eects eee tse sees ese nnsereenssneeseanesneas rece nttac tas cnnenageas
IX. (25) The United States Department of the Treasury «eects ssces te tiesee se neeteseeeeseee eee cecueaneenee nen sees

X. (26) And all other found Co-Conspirators / Principles 0.0.0... ccc ee nesesee reece cece essen easasceentanmtatananentens

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1. Plaintiffs), JOHN KEITH HEBERT, and INTERNATIONAL DEFENSE CORPORATION, brings this Complaint

against Defendant(s) and alleges as follows:

NATURE OF ACTION
L INTRODUCTION
2. COMES NOW Plaintiff(s), JOHN KEITH HEBERT, IC “Plata”, President of INTERNATIONAL DEFENSE

CORPORATION, and INTERNATIONAL DEFENSE CORPORATION, for this matter is NOW before this Court for
TREASON, SEDITION, AND SUBVERSIVE ACTIVITIES (18 U.S.C. §§ 2381-2391), AND COMMUNIST CONTROL
LAW AND LEGISLATIVE FINDING OF FACT AND DECLARATION GF NECESSITY (S50 U.S.C, §§ 841-844), AND
RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS (18 U.S.C. §§ 1961-1968), AND ACTION FOR
NEGLECT TO PREVENT (42 U.S.C. § 1986); AND COMPENSATION FOR VIOLATIONS OF THE LAW OF WAR ( Law
of War § 18.16) COMPLAINT of “Permanent Personal Injury” of “Superfluous Mental Injury” from (Torture Techniques),
(Subjugation), and (Non-Consensual Human Experimentation) that went beyond the justification of military necessity and are
incompatible with the purposes and principles of the Charter of the United Nations and resulted in “Significant Damages
specifically designed to directly cause the required threshold of harm” in support of a party to the Afghanistan Armed Conflict
(Aiding the Enemy) and to the detriment of another, me, (Plaintiff(s)), and “Significant Injury” of (Extraordinary Suffering) from
further “Superfluous Mental Injury” and “Financial Destruction” and (FEAR OF EARLY DEATT).

3. Plaintifi(s} claims of TREASON, SEDITION, AND SUBVERSIVE ACTIVITIES (18 U.S.C. §§ 2381-2391), AND
COMMUNIST CONTROL LAW AND LEGISLATIVE FINDING OF FACT AND DECLARATION OF NECESSITY

(50 U.S.C. §§ 841-844), AND RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS (18 U.S.C. §§ 1961-1968),
AND ACTION FOR NEGLECT TO PREVENT (42 U.S.C. § 1986), AND COMPENSATION FOR VIOLATIONS OF THE
LAW OF WAR ( Law of War § 18.16) arises from the Defendant(s) illegal use of (Torture Techniques), (Subjugation), and
(Non-Consensual Human Experimentation) in the form of Performing (Private Engagement in Hostilities) using (Retahatory
Isolation Techniques) and (Systematic Diminishment Techniques) while (Adhering to and Aiding the Enemy Substantially-
Supporting a “Hostile, Non-State Armed Group”), showing Sympathy Simultaneously and Concurrently with the Enemy and
Hostility to Plaintiffs), “specifically designed to directly cause the required threshold of harm” in support of a party to the
Afghanistan Armed Conflict (Aiding the Enemy) and to the detriment of another, me, (Plamtifi(s)).

4, Defendant(s) (Torture Techniques), (Subjugation), and (Non-Consensual Human Experimentation) were ordered,
sanctioned, permitted, and approved by persons in positions of authority of the Defendant(s) who under all principles of law
were uader the duty to know about these things and to take steps to terminate or prevent them.

5. Defendant(s) ( Torture Techniques), (Subjugation), and (Non-Consensual Human Experimentation) were conducted on

 

 

 
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Plaintifi{(s} who (Did Not Consent).

“4n no case was the experimental subject at liberty of his own free

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choice to withdraw from any ‘experiment’.
6. Defendant(s) (Torture Techniques), (Subjugation), and (Non-Consensual Human Experimentation) caused
(Extraordinary Suffering) and (Superfiuous Mental Injury) to Plaintifi{s).

“In every one of the ‘experiments’ the subject experienced extreme

pain and torture, and suffered permanent injury, as 4 direct result of

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the ‘experiments’ and because of ‘lack of adequate follow-up care’.

IL OVERVIEW OF DEFENDANT(S) MALICIOUS SEDITIOUS CONSPIRACY
7, When Eric Holder was nominated to be attorney general under Barack Obama, he was asked about possible
investigations into officials in the George W. Bush administration responsible for “Spying on U_S. Citizens”, and approving or
ordering the “Use of Torture”. Holder said, “We don't want to criminalize “policy differences” that might exist between the
outgoing administration and the administration that is about to take over. We certainly don’t want to do that.” Obama himself
echoed these sentiments, saying, “We steed to look forward as opposed to looking backwards.” By 2012, Holder had closed the
investigations into torture without any charges ever being brought.
8. On Saturday, 03 MAY 2014, Defendant(s), the CLA Command in Afghanistan, conspired with Defendant(s), my
Employer’s Management in Afghanistan, to Torture me, Plaintififs), and gave me, Plaintiff(s), a “Permanent Personal Injury” in
Afghanistan of “Superfluous Mental Injury” from (Torture Techniques), (Subjugation), and (Non-Consensual Human
Experimentation) that went beyond the justification of military necessity and are incompatible with the purposes and principles of
the Charter of the United Nations and resulted in “Significant Damages specifically designed to directly cause the required
threshold of harm” in support of a party to the Afghanistan Armed Conflict (Aiding the Enemy) and to the detriment of another,
me, (Plaintiffs).
9. On Friday, 01 AUG 2014, the United States President Barack Hussein Obama II, is (On-The-Record) Admitting:
“Yeah, We Tortured Some Folks”.
10. On Friday, 02 OCT 2015, Defendant(s), the CIA Psychologist, did not include the “specific stressor” in my,
Plaintiffs), medical record in Afghanistan, causing me, Plaintifi(s), “Significant Injury” of (Extraordinary Suffering) from
further “Superfluous Mental Injury” and “Financial Destruction” and (FEAR OF EARLY DEATH), which are directly connected
with previous acts of (War Crimes) and (Subjugation) and in “Furtherance of the Conspiracy” that caused a “Permanent Personal
Injury” in Afghanistan of “Superfluous Mental Injury” from (Torture Techniques), (Subjugation), and (Non-Consensual Human
Experimentation) that went beyond the justification of military necessity and are incompatible with the purposes and prineiples of

the Charter of the United Nations and resulted in “Significant Damages specifically designed to directly cause the required

 

 
 

 

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threshold of harm’? in support of a party to the Afghanistan Armed Conflict (Aiding the Enemy) and to the detriment of another,
me, (Plaintiff(s)).

HH. On Friday, 02 OCT 2015, Defendant(s), my Employer’s Management in Afghanistan, refused to file my, Plaintiff(s),
medical record in Afghanistan causing me, Plaintiffs), “Significant Injury” of (Extraordinary Suffering) from further
“Superfluous Mental Injury” and “Financial Destruction” and (FEAR OF EARLY DEATH), which are directly comected with
previous acts of (War Crimes) and (Subjugation) and in “Furtherance of the Conspiracy” that caused a “Permanent Personal
Injury” in Afghanistan of “Superfluous Mental Injury” from (Torture Techniques), (Subjugation), and (N on-Consensual Human
Experimentation) that went beyond the justification of military necessity and are incompatible with the purposes and principles of
the Charter of the United Nations and resulted in “Significant Damages specifically designed to directly cause the required
threshold of harm” in support of a party to the Afghanistan Armed Conflict (Aiding the Enemy) and to the detriment of another,
me, (Plaintiffs)). .

12. On Sunday, 04 OCT 2015, Defendant(s), the Office of CIA Operations in Las Vegas, Nevada, calculated and conspired
to assault me, Plaintiff(s), with deadly weapons upon returning home CONUS from Afghanistan, causing me, Plaintff{s),
“Significant Injury” of (Extraordinary Suffering) from further “Superfluous Mental Injury” and (FEAR OF EARLY DEATH),
which are directly connected with previous acts of (War Crimes) and (Subjugation) and in “Furtherance of the Conspiracy” that
caused a “Permanent Personal Injury” in Afghanistan of “Superfluous Mental Injury” from (Torture Techniques), (Subjugation),
and (Non-Consensual Human Experimentation) that went beyond the justification of military necessity and are incompatible with
the purposes and principles of the Charter of the United Nations and resulted in “Significant Damages specifically designed to
directly cause the required threshold of harm” in support of a party to the Afghanistan Armed Conflict (Aiding the Enemy) and
to the detriment of another, me, (Plaintififs)).

13. On Tuesday, 03 NOV 2015, Defendant(s), my Employer’s Defense Base Act Insurance Carrier, denied me, Plaintiff{s),
my Worker’s Compensation Claim and Urgent Medical Care and Urgent Wage Compensation, causing me, Plaintiff(s),
“Significant Injury” of (Extraordinary Suffering) from further “Superfluous Mental Injury” and “Financial Destruction” and
(FEAR OF EARLY DEATH), which are directly connected with previous acts of (War Crimes) and (Subjugation) and in
“Furtherance of the Conspiracy” that cansed a “Permanent Personal Injury” in Afghanistan of “Superfluous Mental Injury” from
(Torture Techniques), (Subjugation), and (Non-Consensual Human Experimentation) that went beyond the justification of
military necessity and are incompatible with the purposes and principles of the Charter of the United Nations and resulted in
“Significant Damages specifically designed to directly cause the required threshold of harm” in support of a party to the
Afghanistan Armed Conflict (Aiding the Enemy) and to the detriment of another, me, (Plaintiff(s)).

14, On 13 MAY 2016, the Vice Chairman of the Senate Select Committee on Intelligence, Dianne Feinstein, wrote a letter
to Defendant(s), the CIA Director John Owen Brennan, for an immediate prompt response to provide a new copy of the “Study”

(Torture Report) to the CIA OIG, which would ensure that DOJ Jawyers could inform federal judges, that the (Status Quo) was

 

 

 
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“adhered to” and has been “restored” since the Office of the CIA Inspector General had misplaced and/or accidentally destroyed
its electronic copy and disk of the Senate Select Committee on Intelligence’s full 6,700-page classified Study (Torture Report) of
the CLA Detention and Interrogation Program.

15. In AUG 2017, Defendant(s), my former Defense Base Act attomey, denied me, Plaintiff(s), of my, Plaintifi(s), right to
file for a hearing date for my, Plaintiff(s), Defense Base Act Worker’s Compensation Claim 2 years after filing my, Plaintifi(s),
Claim, causing me, Plaintiffs), “Significant Injury” of (Extraordinary Suffering) from further “Superfluous Mental Injury” and
“financial Destruction” and (FEAR OF EARLY DEATH), which are directly connected with previous acts of (War Crimes) and
(Subjugation) and in “Furtherance of the Conspiracy” that caused a “Permanent Personal Injury” in Afghanistan of “Superfluous
Mental Injury” from (Torture Techniques), (Subjugation), and (Non-Consensual Human Experimentation) that went beyond the
justification of military necessity and are incompatible with the purposes and principles of the Charter of the United Nations and
resulted in “Significant Damages specifically designed to directly cause the required threshold of harm” in support of a party to
the Afghanistan Armed Conflict (Aiding the Enemy) and to the detriment of another, me, (Plaintifi(s)). Defendant(s), Mr.
William David Turley, my former DBA attorney, pleaded guilty in federal court on Wednesday, 30 OCT 2019 for Enticement
and Coercion to Engage in Prostitution.

16. On Friday, 02 FEB 2018, I, Plaintiffs), became homeless and in the same month of FEB 2018, Defendant(s), the CIA
Director John Owen Brennan, was hired by the media and went on television accusing certain people of Treason when, In-Fact,
and In-Secret, His Intelligence Agency and His Command in Afghanistan conmnitted Treason against me, Plaintifi(s), causing
me, Plaintifi(s), “Significant Injury” of (Extraordinary Suffering) from further “Superfluous Mental Injury” and (FEAR OF
EARLY DEATH), which are directly connected with previous acts of (War Crimes) and (Subjugation) and in “Furtherance of the
Conspiracy” that caused a “Permanent Personal Injury” in Afghanistan of “Superfluons Mental Injury” from (Torture
Techniques), (Subjugation), and (Non-Consensual Human Experimentation) that went beyond the justification of military
necessity and are incompatible with the purposes and principles of the Charter of the United Nations and resulted in “Significant
Damages specifically designed to directly cause the required threshold of harm” in support of a party to the Afghanistan Armed
Conflict (Aiding the Enemy) and to the detriment of another, me, (Plaintiff(s)).

17. Defendant(s), the Post Office, lost multiple pieces of my, Plaintifi(s), mail which included my, Plaintifi(s), complaint,
causing me, Plaintifi(s), “Significant Injury” of (Extraordinary Suffering) from further “Superfluous Mental Injury” and
“Financial Destruction” and (FEAR OF EARLY DEATH), which are directly connected with previous acts of (War Crimes) and
(Subjugation) and in “Furtherance of the Conspiracy” that caused a “Permanent Personal Injury” in Afghanistan of “Superfluous
Mental Injury” from (Torture Techniques), (Subjugation), and (Non-Consensual Human Experimentation) that went beyond the
justification of military necessity and are incompatible with the purposes and principles of the Charter of the United Nations and
resulted in “Significant Damages specifically designed to directly cause the required threshold of harm” in support of a party to

the Afghanistan Armed Conflict (Aiding the Enemy) and to the detriment of another, me, (Plaintifi(s)).

 

 
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18. Defendant(s), the California Franchise Tax Board, seized my, Plaintiff(s), bank account for taxes I, Plaintifi(s), does
not owe at a time in which I was denied my Worker's Compensation Claim and Urgent Medical Care and Urgent Wage
Compensation, causing me, Plaintiff(s), “Significant Injury” of (Extraordinary Suffering) from further “Superfluous Mental
Injury” and “Financial Destruction” and (FEAR OF EARLY DEATH), which are directly connected with previous acts of

(War Crimes) and (Subjugation) and in “Furtherance of the Conspiracy” that caused a “Permanent Personal Injury” in
Afghanistan of “Superfluous Mental Injury” from (Torture Techniques), (Subjugation), and (Non-Consensual Human
Experimentation) that went beyond the justification of military necessity and are incompatible with the purposes and principles of
the Charter of the United Nations and resulted in “Significant Damages specifically designed to directly cause the required
threshold of harm” in support of a party to the Afghanistan Armed Conflict (Aiding the Enemy) and to the detriment of another,
me, (Plamtiff(s)).

19. Defendant(s), the Internal Revenue Service, and it’s collecting contractor, are demanding that I, Plaintifi(s), pay taxes
for the year when I, Plaintiffs), was getting Tortured in Afghanistan, causing me, Plaintiff{s), “Significant Injury” of
(Extraordinary Suffering) from further “Superfluous Mental Injury” and “Financial Destruction” and (FEAR OF EARLY
DEATH), which are directly connected with previous acts of (War Crimes) and (Subjugation) and in “Furtherance of the
Conspiracy” that caused a “Permanent Personal Injury” in Afghanistan of “Supertluous Mental Injury” from (Torture
Techniques}, (Subjugation), and (Non-Consensual Human Experimentation) that went beyond the justification of military
necessity and are incompatible with the purposes and principles of the Charter of the United Nations and resulted in “Significant
Damages specifically designed to directly cause the required threshold of harm’ in support of a party to the Afghanistan Armed
Conflict (Aiding the Enemy) and to the detriment of another, me, (Plaintifi(s)).

20. Defendant(s) committed “Crimes involving Moral Turpitude, Depravity, and Wickedness” that (Shocks the Conscience
of Mankind) and then committed “Abuse of Process” which accomplished some improper purpose that is “co/lateral” to the
proper object of the process and that “offends” justice (fraudulent and malicious manipulation of the process itself), Defendant(s)
or any subsidiary organization by reason of the laws of the United States or any political subdivision thereof, cannot have
defenses to these “Morally Indefensible Crimes” with “Elite Impunity” which go beyond justification of military necessity and
are incompatible with the purposes and principles of the Charter of the United Nations and resulted in “Significant Damages
specifically designed to directly cause the required threshold of harm” in support of a party to the Afghanistan Armed Conflict
(Aiding the Enemy) and to the detriment of another, me, (Plaintifi(s)).

21. Plaintiffs) hereby is informed, believes, and thereon alleges, and hereby HOLDS Defendant(s) as (Unprivileged War
Belligerents and Co-Conspirators) to an (Armed Conflict) in Afghanistan, which (International Law) “Indicates” the Status as

being, (a “Rebellion” against a “Constituted Authority” governed by the (Laws of War)).

 

 

 

 

 
 

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Wi. DAMAGES TO PLAINTIFE(S)

22. Plaintifi(s) received “Permanent Personal Injury” of “Superfluous Mental Injury” from (Torture Techniques),
(Subjugation), and (Non-Consensual Human Experimentation) and “Significant Injury” of (Extraordinary Suffering) from further
“Superfluous Mental Injury” and “Financial Destruction” and (FEAR OF EARLY DEATH).
23, Plaintifi(s) was diagnosed with (Adjustment Disorder), (Anxiety Disorder), (Depressed Mooéd Disorder), (Post
‘Traumatic Stress Disorder), (Panic Disorder), and (Situational Depression Disorder) from severe pain and suffering from
(Psychological and Emotional Abuse) and (Prolonged Mental Harm) caused by the Defendant(s).
24. Plaintifits) “Lost” HIS (SELF), (Dignity of Self), (Complete Trust in Others), (Positive Mindset of Self), (Personal
Interest of Self), (Emotional Stability of Self}, (Security of Self), (Comfort in Living with Self), (Self-Esteem), (Self-Worth),
(international Corporation), (Earnings), (Earning Potential), (Opportunities), (Employment), (Career), (Livelihood), (SEP IRA
Account), (Checking Account), (Savings Account), (Credit), (Foreclosed on House), (Las Vegas Residence), (Personal
Possessions), (3 cars and a motorcycle), (Nevada Driver’s License), (State of Nevada Residency), (Substantive Guarantees),
(Liberties and Freedoms), causing (Avoidance of Social Interaction), (Sensory Sensitivity), (Extra Sensory Perception), (Remote
Viewing), (intrusive Thoughts) and (Extreme Sensitivity) to Negative Environments, (Major Sleep Deprivation), (Prolonged
Isolation}, (Constantly Forgetful) and (Completely Hopeless), (Restless) and (Exhausted), (In Existential Despair) and (In
Existential Distress) on a daily basis, (In Existential Crisis), (Introspection of Self), (Frustrated) and (Very Irritated and
Annoyed), (Hurt) and (Still in Shock), (Completely Lost) and (All Alone), (Very Scared) and (Totally Vulnerable), (Threatened),
(Punished), (Abused), (Discriminated Against), (Assaulted), (Treated Inhumanely), (Tortured), (Enslaved), (Subjugated),
(Texrorized), (Harmed), (Injured), (Degraded), (Defeated), (Oppressed), (Psychologically Repressed), (Emotionally Repressed)},
(Spied on), (Betrayed), (Overly Dominated), (Controlled), (Governed), (Deprived), (So Ashamed), (Completely Humiliated),
(Very Violated) and (So Disturbed), (Devastated), (Destroyed), (Taken Advantage of), (Disgusted), (Disgraced), (Very
Disappointed with Self), (Very Dissatisfied with one’s life), (Terrifying Nightmares), (Paralyzed) and in a (State of Coma),
(Can’t Run Away from Self, which have to live with Forever), and (FEAR OF EARLY DEATH).
25. Defendant(s) (Torture Techniques), (Subjugation), and (Non-Consensual Human Experimentation) were conducted on
Plaintiff(s) who (Did Not Consent).

“In no case was the experimental subject at Liberty of his own free

choice to withdraw from any ‘experiment’.”
26. Defendant(s) (Torture Techniques), (Subjugation), and (Non-Consensual Human Experimentation) caused
(Extraordinary Suffering) and (Superfluous Mental Injury) to Plaintifi(s).

“Mm every one of the ‘experiments’ the subject experienced extreme

pain and torture, and suffered permanent injury, as a direct result of

the ‘experiments’ and because of ‘lack of adequate follow-up care’.”

 

 
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JURISDICTION AND VENUE

L IN UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF LOUISIANA
27. Plaintiffs), JOHN KEITH HEBERT, was born in Vermilion Parish, Louisiana, on 21 MAR 1973, and currently resides
at 4711 Renie Road, Erath, Vermilion Parish, Louisiana 70533, and the United States District Court for the Western District of
Louisiana has Jurisdiction and Venue is appropriate.
28. The United States District Court for the Western District of Louisiana has Jurisdiction over this Civil Action because
the Plaintiff's Claims arise under Federal Law of TREASON, SEDITION, AND SUBVERSIVE ACTIVITIES (18 U.S.C. 8§
2381-2391); AND COMMUNIST CONTROL LAW AND LEGISLATIVE FINDING OF FACT AND DECLARATION
OF NECESSITY (50 U.S.C. §§ 841-844); AND RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS (18
U.S.C. §§ 1961-1968); AND ACTION FOR NEGLECT TO PREVENT (42 U.S.C. § 1986); AND COMPENSATION FOR
VIOLATIONS OF THE LAW OF WAR (Law of War § 18.16) and the United States District Court for the Westem District

of Louisiana has Jurisdiction and Venue is appropriate.

PARTIES
PLAINTIFF(S)
1. JOHN KEITH HEBERT
29. Plaintiffs), JOHN KEITH HEBERT, IC “Plata”, President of INTERNATIONAL DEFENSE CORPORATION,

entered into an “Independent Contractor Service Agreement” with Defendant(s), (10), and an “Independent Sub-Contractor
Service Agreement” with Defendant(s), (1), herein both referred to as (International Contract of Agreement), to provide
contracted and subcontracted “Private Security Services” in Afghanistan.

30. Plaintifi(s) have fully complied with the terms of the (International Contract of Agreement) in reference to the

contracted and subcontracted “Private Security Services” provided in Afghanistan.

 

 

i. INTERNATIONAL DEFENSE CORPORATION
31. Plaintifi(s), INTERNATIONAL DEFENSE CORPORATION, a Nevada Corporation, eniered into an “Independent .
Contractor Service Agreement” with Defendant(s), (10), and an “Independent Sub-Contractor Service Agreement” with
Defendant(s), (1), herein both referred to as (International Contract of Agreement), to provide contracted and subcontracted
“Private Security Services” in Afghanistan.
32. Plaintiff(s) have fully complied with the terms of the (International Contract of Agreement) in reference to the

contracted and subcontracted “Private Security Services” provided in Afghanistan.

DEFENDANT(S)

I (1) The United States Central Intelligence Agency, and (2) the Entire CIA Command to Afghanistan,
and (3) the CIA Deputy Chief ef Support DCOS Christine Massowd “Ricochet” / “Schroeder”, and

 

 
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(4) the CIA Chief of Security COS “Watchdog”, and (5) the CIA Regional Medical Officer /
Psychologist Maria L. Dittrich, PhD “Westside”, and (6) the CIA Kabul Base Area Security Officer
(ASO) in Afghanistan “Pebbles”, and (7) the CLA Sulaymaniyah Base Area Security Officer (ASO) in
Iraq, “Tiger”, and (8) the CIA Director John Owen Brennan.

33. Defendant(s), (1), entered into an (International Contract of Agreement) with Plaintiff(s) to provide subcontracted
“Private Security Services” in Afghanistan.
34. Defendant(s), (1) — (8), have failed to comply with the terms of the (Intemational Contract of Agreement), in reference
to the subcontracted “Private Security Services” provided in Afghanistan by violating the (United States Constitution), (Laws of
the United States of America), (international Laws and Treaties of the United States of America), (International Laws and.
‘Treaties of the Host Nation of Afghanistan), the (Laws of War), the (Law of Nations), and the (Law of Nature). Defendant(s), (1)
— (8), defaulted by conducting (ASSAULT WITH WEAPONS OF MASS DESTRUCTION), (TORTURE), (SLAVERY),
(AIDING THE ENEMY); (WAR CRIMES); (NON-CONSENSUAL HUMAN EXPERIMENTATION), (WAR TREASON),
(SUBJUGATION AND THE ACTION OF BRINGING SOMEONE OR SOMETHING UNDER DOMINATION OR
CONTROL TO DEFEAT AND GAIN CONTROL OF PEOPLE OR A COUNRTY AND RULE THEM IN A WAY THAT
ALLOWS THEM NO FREEDOM), AND (HOSTIS HUMANI GENERIS) HELD AS (JUS COGENS) APPLYING (ERGA
OMNES) that went beyond the justification of military necessity and are incompatible with the purposes and principles of the
Charter of the United Nations and resulted in “Significant Damages specifically designed to directly cause the required threshald
of harm” in support of a party to the Afghanistan Armed Conflict (Aiding the Enemy) and to the detriment of another, me,
(Plaintiff{s)). The date of default was on or about 03 MAY 2014.

IL. (9) The United States Central Intelligence Agency, and the Las Vegas Office of the CIA Operations.
35. Defendant(s), (9), calculated and conspired to assaulted me, Plaintiff(s), with deadly weapons upon returning home
CONUS from Afghanistan, causing me, Plaintiff(s), “Significant Injury” of (Extraordinary Suffering) from further “Superfluous
Mental Injury” and (FEAR OF EARLY DEATH), which are directly connected with previous acts of (War Crimes) and
(Subjugation) and in “Furtherance of the Conspiracy” that caused a “Permanent Personal Injury” in Afghanistan of “Superfluous
Mental Injury” from (Torture Techniques), (Subjugation), and (Non-Consensual Human Experimentation) that went beyond the
justification of military necessity and are incompatible with the purposes and principles of the Charter of the United Nations and
resulted in “Significant Damages specifically designed to directly cause the required threshold of harm” in support of a party to
the Afghanistan Armed Conflict (Aiding the Enemy) and to the detriment of another, me, (Plaintifi(s)).

IIE. (10) Xe Services LLC, Academi, Constellis Holdings Inc., Triple Canopy Inc., and Apollo Global
Management LLC Corporate Headquarters, and (11) the Academi Management to Afghanistan, and
(12) RC-1 “Flathead”, and (13) RC-1 “Shrapnel”, and (14) C-1 Ryan M. Scott “Bankhead”, and (15)
C-1 Larry 8. Heppner “Bull”, and (16) TL Paul Detwiler “Noodler”, and (17) TL Ian M. Pearson
“Bryant”,

36. Defendant(s), (10), entered into an (International Contract of Agreement) with Plaintiff(s) to provide contracted

“Private Securily Services” in Afghanistan,

 

 

 

 
 

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37. Defendant(s), (10) — (17), have failed to comply with the terms of the (International Contract of Agreement), m
reference to the contracted “Private Security Services” provided in Afghanistan by violating the (United States Constitution),
(Laws of the United States of America), (International Laws and Treaties of the United States of America), (International Laws
and Treaties of the Host Nation of Afghanistan), the (Laws of War), the (Law of Nations), and the (Law of Nature). Defendant(s),
(10) - (17), defaulted by conducting (ASSAULT WITH WEAPONS OF MASS DESTRUCTION), (FORTURE), (SLAVERY),
(AIDING THE ENEMY); (WAR CRIMES), (NON-CONSENSUAL HUMAN EXPERIMENTATION), (WAR TREASON),
(SUBJUGATION AND THE ACTION OF BRINGING SOMEONE OR SOMETHING UNDER DOMINATION OR
CONTROL TO DEFEAT AND GAIN CONTROL OF PEOPLE OR A COUNRTY AND RULE THEM IN A WAY THAT
ALLOWS THEM NO FREEDOM); AND (HOSTIS HUMANI GENERIS) HELD AS (JUS COGENS) APPLYING (ERGA
OMNES) that went beyond the justification of military necessity and are incompatible with the purposes and principles of the
Charter of the United Nations and resulted in “Significant Damages specifically designed to directly case the required threshold
of harm” in support of a party to the Afghanistan Armed Conflict (Aiding the Enemy) and to the detriment of another, me,

(Plaintiff(s)). Phe date of default was on or about 03 MAY 2014,

IV. (18) The Starr Indemnity and Liability Company, and Gallagher Bassett Services, and (19) Senior
Resolution Manager Teresa Martin.

38, Defendant(s), (18) and (19), denied me, Plaintiff(s), of my Defense Base Act Worker’s Compensation Claim and
Urgent Medical Care and Urgent Wage Compensation for over 2 years and committed “Abuse of Process” which accomplished
some improper purpose that is “collateral” to the proper object of the process and that “offends” justice (fraudulent and malicious
manipulation of the process itself) In-Bad-Faith and Enrichment causing me, Plaintifi(s), “Significant Injury” of (Extraordinary
Suffering) from further “Superfinous Mental Injury” and “Financial Destruction” and (FEAR OF EARLY DEATH), which are
directly connected with previous acts of (War Crimes) and (Subjugation) and in “Furtherance of the Conspiracy” that caused a
“Permanent Personal Injury” in Afghanistan of “Superfluous Mental Injury” from (Torture Techniques), (Subjugation), and
(Non-Consensua! Human Experimentation) that went beyond the justification of military necessity and are incompatible with the
purposes and principles of the Charter of the United Nations and resulted in “Significant Damages specifically desi; igned to
directly cause the required threshold of harm” in support of a party to the Afghanistan Armed Conflict (Aiding the Enemy) and
to the detriment of another, me, (Plaintifi(s)).

V. (20) The Turley Law Firm and (21) William David Turley.
39. Defendant(s), (20) and (21), denied me, Plaintiffis), of my, Plaintiff(s), right to file for a hearing date for my,
Plaintiff(s), Defense Base Act Worker’s Compensation Claim 2 years after filing my, Plaintifi(s), DBA Claim, committing
“Abuse of Process” which accomplished some improper purpose that is “collateral” to the proper object of the process and that
“offends” justice (frandulent and malicious manipulation of the process itself) In-Bad-Faith and Enrichment causing me,
Plaintiffs), “Significant Injury” of (Extraordinary Suffering) from further “Superfluous Mental Injury” and “Financial
Destruction” and (FEAR OF EARLY DEATH), which are directly connected with previous acts of (War Crimes) and

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(Subjugation) and in “Furtherance of the Conspiracy” that caused a “Permanent Personal Injury” in Afghanistan of “Superfluous
Mental Injury” from (Torture Techniques), (Subjugation), and (Non-Consensual Human Experimentation) that went beyond the
justification of military necessity and are incompatible with the purposes and principles of the Charter of the United Nations and
resulted in “Significant Damages specifically designed to directly cause the required threshold ofharm” in support of a party to
the Afghanistan Armed Conflict (Aiding the Enemy) and to the detriment of another, me, (Plaintiff(s)). Defendant(s), (19) Mr.
William David Turley, my former Defense Base Act attomey, pleaded guilty in federal court on Wednesday, 30 OCT 2019 for

Enticement and Coercion to Engage in Prostitution.

VL (22) The State of California, and the Office of the Franchise Tax Board.
40, Defendant(s), (22), seized my, Plaintiffs), bank account for taxes I, Plaintiffs), does not owe, at a time in which I was
denied my Defense Base Act Worker’s Compensation Claim and Urgent Medical Care and Urgent Wage Compensation, causing
me, Plaintiffs), “Significant Injury” of (Extraordinary Suffering) from further “Superfluous Mental Injury” and “T° inancial
Destruction” and (FEAR OF EARLY DEATH), which are directly connected with previous acts of (War Crimes) and
(Subjugation) and in “Furtherance of the Conspiracy” that caused a “Permanent Personal Injury” in Afghanistan of “Superfluous
Mental Injury” from (Torture Techniques), (Subjugation), and (Non-Consensual Human Experimentation) that went beyond the
justification of military necessity and are incompatible with the purposes and principles of the Charter of the United Nations and
resulted in “Significant Damages specifically designed to directly cause the required threshold of harm” in support of a party to
the Afghanistan Armed Conflict (Aiding the Enemy) and to the detriment of another, me, (Plaintifi(s)).

VEL. (23) The United States Postal Service Headquarters.
41. Defendant(s), (23), lost multiple pieces of my, Plaintiff(s), mail which included my, Plaintifi(s), complaint, causing me,
Plaintiffs), “Significant Injury” of (Extraordinary Suffering) from further “Superfluous Mental Injury” and “Financial
Destruction” and (FEAR OF EARLY DEATH), which are directly connected with previous acts of (War Crimes) and
(Subjugation) and in “Furtherance of the Conspiracy” that caused a “Permanent Personal Injury” in Afghanistan of “Superfluous
Mental Injury” from (Torture Techniques), (Subjugation), and (Non-Consensual Human Experimentation) that went beyond the
justification of military necessity and are incompatible with the purposes and principles of the Charter of the United Nations and
resulted in “Significant Damages specifically designed to directly cause the required threshold of harm” in support of a party to
the Afghanistan Armed Conflict (Aiding the Enemy) and to the detriment of another, me, (Plaintifi(s)).

VIE, (24) The United States Internal Revenue Service.

42. Defendant(s), (24), are demanding that I, Plaintiff(s), pay taxes for the year when I, Plaintifi(s), was getting Tortured in
Afghanistan, causing me, Plaintifi(s), “Significant Injury” of (Extraordinary Suffering) from further “Superfluous Mental Injury”
and “Financial Destruction” and (FEAR OF EARLY DEATH), which are directly connected with previous acts of (War Crimes)
and (Subjugation) and in “Furtherance of the Conspiracy” that caused a “Permanent Personal injury” in Afghanistan of

“Superfluous Mental Injury” from (Torture Techniques), (Subjugation), and (Non-Consensual Human Experimentation) that

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went beyond the justification of military necessity and are incompatible with the purposes and principles of the Charter of the
United Nations and resulted in “Significant Damages specifically designed to directly cause the required threshold of harm” in
support of a party to the Afghanistan Armed Conflict (Aiding the Enemy) and to the detriment of another, me, (Plaintiff(s)).

IX, (25) The United States Department of the Treasury.
43, Defendant(s), (25), are demanding that I, Plaintiff(s), pay taxes for the year when I, Plaintifi(s), was getting Tortured in
Afghanistan, causing me, Plaintifi(s), “Significant Injury” of (Extraordinary Suffering) from farther “Superfluous Mental Injury”
and “Financial Destruction” and (FEAR OF EARLY DEATH), which are directly connected with previous acts of (War Crimes)
and (Subjugation) and in “Furtherance of the Conspiracy” that caused a “Permanent Personal injury” in Afghanistan of
“Superfluous Mental Injury” from (Torture Techniques), (Subjugation), and @Non-Consensual Human Experimentation) that
went beyond the justification of military necessity and are incompatible with the purposes and principles of the Charter of the
United Nations and resulted in “Significant Damages specifically designed to directly cause the required threshold of harm” in
support of a party to the Afghanistan Armed Conflict (Aiding the Enemy) and to the detriment of another, me, (Plaintif{{s)).

X. (26) And all other found Co-Conspirators / Principles.
44. Plaintiffs) respectfully request an award of full civil relief against all other found Co-Conspirators / Principles which
acts are directly connected with previous acts of (War Crimes) and (Subjugation) and in “Furtherance of the Conspiracy” per
RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS (18 U.S.C. §§ 1961-1968), AND ACTION FOR
NEGLECT TO PREVENT (42 U.S.C. § 1986); AND COMPENSATION FOR VIOLATIONS OF THE LAW OF WAR (Law of

War § 18.16).

FACTS OF ALLEGATIONS AND ITEMS OF EVIDENCE
4S. Plaintifi(s) repeats, re-alleges, and incorporates by reference the allegations contained in all prior paragraphs 1
through 44 above of this Complaint and incorporates the same paragraphs below as though set forth fully herein.
46. On Monday, 28 JAN 2013, while employed with MVM Inc., on contract deployment to Iraq of 28 JAN 2013 — 03 APR
2013, at Irbil Base upon arriving in Iraq, I was told by my RC-1 Country Lead, “Pedro/Guapo”, that the Central Intelligence
Agency (CEA) Area Security Officer (ASO) of Sulaymaniyah Base in Iraq, “Tiger”, had classified me as DNR (Do Not Return)
to Sulaymaniyah Base in Iraq, where I was the C-1 Site Supervisor for the past five “5” years. “Pedro/Guapo” then asked
me what happen since “Tiger” refused to give “Marcus”, the CIA GRS V-1, a reason why I was being terminated from my C-1
Site Supervisor position.
47. On Friday, 23 AUG 2013, while employed with MVM Inc., on contract deployment to Iraq of 23 AUG 2013 - 30 OCT
2013, at Irbil Base upon arriving in Iraq, I was told by my RC-1 Country Lead, “Pedro/Guapo”, that the Central Intelligence
Agency (CIA) Chief of Base (COB) of Irbil Base in Iraq, Christine Massowd “Ricochet”, had classified me as DNR (Do Not

Return) to Irbil Base in Iraq, right after I was a “Whistleblower” to Criminal Activity and where I was recently promoted to the

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RC-] Country Lead position, rotating with “Pedro/Guapo” after being (Wrongfully Terminated} from my C-1 Supervisor position
at Sulaymaniyah Base. I was told by the CLA GRS V-1 “Marcus” that Christine Massowd “Ricochet” tried to (Wrongfully
Terminate) me from the country, my contract, and the “program” all together, but he, CIA GRS V-1 “Marcus”, stopped that from
happening and sent me to another CIA Base in northern Iraq, Dahuk, and not home to the United States,

48. On Monday, 30 SEP 2013, while employed with SOC Inc., right after they won the new contract from MVM Inc., on
contract deployment to Iraq of 23 AUG 2013 — 30 OCT 2013, at Dahuk Base in Iraq, SOC’s Program Manager, Billy Conner,
told me that the Central Intelligence Agency (CIA) Chief of Base (COB) of Irbil Base in Iraq, Christine Massowd “Ricochet”,
wanted me fired. I never received another deployment with SOC Ine. after this. | had just purchased a house in Las Vegas,
Nevada, at 5917 Big Horn View Street, Las Vegas, Nevada 89031, in November 2013, putting down $40K, and I was living off
all of my savings. This became a very stressful time for me because I was not prepared financially to stop deploying. | became
very depressed and I suffered from anxiety from losing my job. I felt “Threatened”, “Targeted”, and “Betrayed” by both the CLA
and SOC Ine.

49. Due to me be “Wrongfully Terminated” from my Employer’s Contract and the CIA’s Sub-Contract and Program m
Iraq, the Central Intelligence Agency (CIA) Chief of Base (COB) of irbil Base in Iraq, Christine Massowd “Ricochet”,
“Intentionally” forced me to be (Wrongfully Reassigned) to a different duty station, the Secondary Area of Operations (AQ)
Theater of Afghanistan, after she had me (Wrongfully Terminated) from my Employer SOC Inc. in the Main AO Theater of Iraq.
I felt “Threatened”, “Targeted”, and “Betrayed” by both the CIA and SOC Inc. (CIA GRS “Horseshoe”, CIA GRS V-1
“Marcus”, and the CIA “COTOR” all can attest to this.)

50. In FEB 2014, while 1 was home unemployed and (Wrongfully Terminated) from the CIA “Cougar” Program in Iraq,
the CIA Sub-Contract, and my Employer’s Contract, she, Christine Massowd “Ricochet”, then tried to block my Reassignment
Transfer from the Main AO Theater of Iraq to the Secondary AO Theater of Afghanistan per CIA GRS V-1 “Marcus”. I felt
“Threatened”, “Fargeted”, and “Betrayed” by both the CIA and SOC Inc.

31. On Tuesday, 04 MAR 2014, when I tried to crossover from SOC Inc. in the Main AO Theater of Iraq to Xe Services
LLC “Academi” in the Secondary AO Theater of Afghanistan, she, Christine Massowd “Ricochet”, contacted XE’s front office
and told them that I should not be hired. I felt “Threatened”, “Targeted”, and “Betrayed” by both the CIA and SOC Inc. (XE
“Academi” recruiter Stephen J. Pinkham “Pink” and XE’s RC-1 Country Lead Supervisor in Afghanistan “Flathead” with can

attest to this}.

 

 

52. On Tuesday, 04 MAR 2014, Xe Services LLC “Academi” recruiter Stephen J. Pinkham “Pink” advised me by email of
getting some “Push Back” and emails from some “Haters” in CIA Headquarters towards me. I then replied to his email on
Wednesday, March 5, 2014 stating that I was not surprised and I then advised him and Academi’s front office that I was a
“Whistleblower” while deployed with SOC Inc., well before I was hired with Xe Services LLC “Academi”, I felt

“Threatened”, “Targeted”, and “Betrayed” by both the CIA and SOC Inc. (See ITEM 1 upon discovery)

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53. On Saturday, 03 MAY 2014, while employed with Adademi on my first contract deployment to Afghanistan of 11 APR
2014 — 12 JUL 2014, at Kabul Base in Afghanistan, 1 was told by my employers management C-1 Site Lead Ryan M.

Scott “Bankhead”, and RC-1 Country Lead “Flathead”, that Central Intelligence Agency (CIA) Deputy Chief of Support (DCOS)
of the CIA “Command” in Afghanistan, Christine Massowd, now promoted and with changed callsign to “Schroeder”, and the
Area Security Officer (ASO) “Pebbles”, revoked my “Driving Privileges” on contract deployment to Afghanistan 1] APR 2014 —
12 JUL 2014, just after “Passing” the GRS Self-Drive Course “AFAM” (Area Familiarization) in Afghanistan. This is
“Retaliatory Isolation Techniques” and “Systematic Diminishiment Techniques” (Torture Techniques) used on me. | felt
“Threatened”, “Targeted”, and “Betrayed” by both the CIA and SOC Inc., but now also my current Employer Academt. This very
disturbing pattern of abuse caused me enormous amount of fear, panic, terror, distress, anger, rage, depression, social and
emotional anxiety, pain, suffering, loss of sleep, loss of appetite, vomiting, high blood pressure, hair loss, acne, panic attacks, and
toll on my overall health and safety.

54. Lreceived a Statement from Academi Management in Afghanistan, C-1 Site Lead Ryan M. Scott “Bankhead”, dated 25
AUG 2015, supporting the fact that they revoked my “Driving Privileges” in MAY 2014, (See ITEM 2 upon discovery)

55, On Friday, 01 AUG 2014, the President Barack Hussein Obama Il, is (On-The-Record) Admitting, “Yeah, We
Tortured Some Fotks”, which was right (After) I was “Starting” to get (Tortured) His CIA Command in Afghanistan. I felt
“Threatened”, “Targeted”, and “Betrayed” by the President Barack Hussein Obama II. This very disturbing pattern of abuse
caused me enormous amount of fear, panic, terror, distress, anger, rage, depression, social and emotional anxiety, pain, suffering,
loss of sleep, loss of appetite, vomiting, high blood pressure, hair loss, acne, panic attacks, and toll on my overall health and
safety. (See ITEM 3 upon discovery)

56. On Wednesday, 24 SEP 2014, while employed with Adademi on my second contract deployment to Afghanistan of 24
SEP 2014 — 02 JAN 2015, at Kabul Base in Afghanistan, the CIA Command in Afghanistan and my Employer’s Management in
Afghanistan continued to “Wrongfully Revoked” my “Driving Privileges” on contract deployment to Afghanistan 24 SEP 2014 —
02 JAN 2015, using “Retaliatory Isolation Techniques” and “Systematic Diminishment Techniques * (Torture Techniques)
against me. | felt “Threatened”, “Targeted”, and “Betrayed” by the President, the CIA, SOC Inc., and Academi. This very
disturbing pattern of abuse caused me enormous amount of fear, panic, terror, distress, anger, rage, depression, social and
emotional anxiety, pain, suffering, loss of sleep, loss of appetite, vomiting, high blood pressure, hair loss, acne, panic attacks, and
toll on my overall health and safety.

57. On Friday, 02 JAN 2015, I received Academi’s Performance Evaluation completed by Academi Management in
Afghanistan Site C-1 “Snackpack”, at end of my contract deployment to Afghanistan 24 SEP 2014 --02 JAN 2015. (See ITEM 4
upon discovery)

58. On Thursday, 26 MAR 2015, while employed with Adademi on my third contract deployment to Afghanistan of 26

FEB 2015 ~ 05 JUN 2015, at Kabul Base in Afghanistan, the Central Intelligence Agency (CIA) Command in Afghanistan, and

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the CIA Afghanistan Chief of Security (COS) “Watchdog”, and the CIA Afghanistan Deputy Chief of Support (DCOS) Christine
Massowd “Schroder”, and other CLA Command Chiefs in Afghanistan, and Academi Management in Afghanistan, and C-i Larry
HL. Heppner “Bull”, and TL Paul Detwiler “Noodler”, “Wrongfully Terminated” me from a CIA Security Post Position and
“Wrongfully Revoked” my use of the public phones and computers “Communication Privileges” shortly after a nearby “Large
Scale Car Bomb” on Wednesday, 25 MAR 2015, which targeted the Presidential Palace, using the deadly action of the enemy
against me (Aiding and Abetting the Enemy) and (Assault with Weapons of Mass Destruction) and preventing me from
contacting my family. They also continued to “Wrongfully Revoked” my “Driving Privileges” on contract deployment to
Afghanistan 26 FEB 2015 ~ 05 TUN 2015 using “Retaliatory Isolation Techniques” and “Systematic Diminishinent
Techniques” (Torture Techniques) against me. I felt “Threatened”, “Targeted”, and “Betrayed” by the President, the CIA, SOC
Inc., and Academi. This very disturbing pattern of abuse and the action of bringing someone or something under domination or
control to defeat and gain control of people or a country and rule them in a way that allows them no freedom in bad faith evil
minded (Subjugation) caused me enormous amount of fear, panic, terror, distress, anger, rage, depression, social and emotional
anxiety, pain, suffering, loss of sleep, loss of appetite, vomiting, high blood pressure, hair loss, acne, panic attacks, and toll on my
overall health and safety, causing intentional infliction of Emotional Distress, Post-Traumatic Stress Disorder, Paric Disorder,
Adjustment Disorder, Depressed Mood Disorder, Anxiety Disorder, and Situational Depression Disorder. (See [TEM 5 upon
discovery)

59. On Friday, 05 JUN 2015, I received Academi’s Performance Evaluation completed by Academi Management in
Afghanistan Site C-1 “Snackpack”, at end of contract deployment to Afghanistan 26 FEB 3015 —05 JUN 2015. (See ITEM 6
upon discovery)

60. On Monday, 17 AUG 2015, I received an email from Academi Management in Afghanistan, TL Paul Detwiler
“Noodler”, stating he attached his Statement, but prefers I do not use it, writing, “you know how the game is played. If this gets
ugly, lam going to get hammered by the company and client (CIA).” (See ITEM 7 upon discovery)

él. Plaintifi(s) received a Statement from Academi Management in Afghanistan, TL Paul Detwiler “Noodler”, dated 18
AUG 2015, supporting the fact that they (Terminated) me from my Security Post and (Revoked) my “Communication
Privileges”. (Noodler’s date of this event taking place is off by a month and a day. Academi’s Site Cl “Bull” can attest to this
event actually taking place on Thursday, 26 MAR 2015, just under a month after I briefed him in his room on Tuesday, 03 MAR
2015, as an FYL that J was getting “Retaliated” against by CLA Upper Management for being a “Whistleblower” in Iraq.) (See
ITEM 8 upon discovery)

62. On Friday, 07 AUG 2015, while employed with Adademi on my fourth contract deployment to Afghanistan of 02. JUL
2015 ~ 02 OCT 2015, at Kabul Base in Afghanistan, the Central Intelligence Agency (CIA) Command in Afghanistan, and

the CIA Afghanistan Chief of Security (COS) “Watchdog”, and the CIA Afghanistan Deputy Chief of Support (DCOS) Christine

Massowd “Schroder”, and other CLA Command Chiefs in Afghanistan, and Academi Management in Afghanistan, and C-1 Larry

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H. Heppner “Bull”, and TIL. Ian M. Pearson “Bryant”, “Wrongfully Terminated” me from the (CIA Base) in Kabul, Afghanistan,
on the same day right after a nearby “Massive Large-Scale Truck Bomb,” which targeted the Afghanistan Intelligence Academy
Ministry of Defense, using the deadly action of the enemy against me (Aiding and Abetting the Enemy) and (Assault with
Weapons of Mass Destruction). They also continued to “Wrongfully Revoked” my “Driving Privileges” and “Communication
Privileges” on contract deployment to Afghanistan 02 JUL 2015 — 02 OCT 2015 using “Retaliatory Isolation Techniques” and
“Systematic Diminishment Techniques” (Torture Techniques) against me. | felt “Threatened”, “Targeted”, and “Betrayed” by
the President, the CIA, SOC Inc., and Academi. This very disturbing pattern of abuse and the action of bringing someone or
something under domination or control to defeat and gain control of people or a country and rule them in a way that allows then
no freedom in bad faith evil minded (Subjugation) caused me enormous amount of fear, panic, terror, distress, anger, rage,
depression, social and emotional anxiety, pain, suffering, loss of sleep, loss of appetite, vomiting, high blood pressure, hair loss,
acne, panic attacks, and toll on my overall health and safety, causing intentional infliction of Emotional Distress, Post-Traumatic
Stress Disorder, Panic Disorder, Adjustment Disorder, Depressed Mood Disorder, Anxiety Disorder, and Situational Depression
Disorder. (See ITEM 9 upon discovery}

63. On Saturday, 08 AUG 2015, a day after the nearby “Massive Large-Scale Truck Bomb,” which targeted the
Afghanistan Intelligence Academy Minisiry of Defense and leaving a 30 foot deep creator in the road, we received creditable
intelligence that the front gate to our base was to be bombed that night. Even though | was fired from the CIA Program, my CIA
Sub-Contract, and my Employer’s Contract, ] was put on duty that night at the front gate. I was forced to protect the lives of the
very people who have been Torturing me for the past 2 years and the CLA Command and my Employer’s Management in
Afghanistan intentionally calculated to put my life in danger to the creditable intelligence they just received.

64, At 1000 am on Monday, 10 AUG 2015, while employed with Adadenii on my fourth contract deployment to
Afghanistan of 02 JUL 2015 — 02 OCT 2015, at Kabul Base in Afghanistan, I started “Clinical Sessions” with the CIA
Afghanistan Regional Medical Officer / Psychologist Maria L. Dittrich, PhD “Westside”, due to this very disturbing pattern of
abuse.

65. I received a Statement from Academi Management in Afghanistan, TL Ian M. Pearson “Bryant”, dated 12 AUG 2015,
supporting the fact that they (Wrongfully Terminated) me from a CIA Base in Kabul, Afghanistan. I was (Wrongfully
Terminated) from CIA Site on Friday, 07 AUG 2015. I was flown by Helicopter to another CLA Base Site on Wednesday, 12
AUG 2015, because it was to “Dangerous” to drive out by vehicle on Friday, 07 AUG 2015, “Marcus” intervened again days
later and prevented me from being fired and sent home. (See ITEM 10 upon discovery)

66. On Saturday, 08 AUG 2015, the day after { was being Tortured, the CIA Command, and Academi Management, made
me a “We Love Plata” cake in their “Guilt”. They de NOT love me. (See ITEM 11 upon discovery)

67. [have a copy of my “Independent Contractor Service Agreement” (International Contract of Agreement) with my

Employer Academi Inc., which they (Criminally Breached) In-Bad-Faith (Evil-Minded) by Violating the (United States

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Constitution), (Laws of the United States of America), (International Laws and Treaties of the United States of America),
(International Laws and Treaties of the Host Nation of Afghanistan), the (Laws of War), the (Law of Nations), and the (Law of
Nature), and my “Non-Derogable Inalienable Rights”. (See ITEM 12 upon discovery)

68. Lhave a copy of my “Nevada State Business License” for (International Defense Corporation), a Nevada Corporation.
(See ITEM 13 upon discovery)

69. On Friday, 28 AUG 2015, while employed with Adademi on my fourth contract deployment to Afghanistan of 02 JUL.
2015 —02 OCT 2015, at Kabul Base in Afghanistan, I emailed the CIA, and CIA Afghanistan Regional Medical Officer /
Psychologist Maria L, Dittrich, PhD, “Westside”, advising her of me abruptly awakening having thoughts of CLA employees
opening the door to my room and shooting me with their pistol unloading their entire magazine into my body. This is evidence
that I was showing serious symptoms to the fact that I was being (Tortured) just weeks before on Friday, 07 AUG 2015. Gee
IFEM 14 upon discovery)

70. On Thursday, 01 OCT 2015, while employed with Adademi on my fourth contract deployment to Afghanisian of 02
JUL 2015 —02 OCT 2015, at Kabul Base in Afghanistan, I email Academi’s front office, to notify them that I was “Canceling”
my next scheduled contract deployment of 02 NOV 2015 — 29 JAN 2016, per the CIA Afghanistan Regional Medieal Officer /
Psychologist Maria L. Dittrich, PhD “Westside”, and that I was looking into Defense Base Act (DBA) Workman’s Compensation
and Legal Counsel options because I was a “Whistleblower” that had been getting harassed and targeted by the CLA Upper
Country Management for the past 2 years. (See ITEM 15 upon discovery)

7. On Friday, 02 OCT 2015, while employed with Adademi on my fourth contract deployment to Afghanistan of 02 JUL
2015 —02 OCT 2015, at Kabul Base in Afghanistan, I received an email from the CIA Afghanistan Regional Medical Officer i
Psychologist Maria L.. Dittrich, PhD “Westside”, stating that she attached my Medical Record so I can apply for Workman’s
Compensation through my company’s Defense Base Act (DBA) insurance. She stated that she did not mention the “Specific
Stressor’. (See ITEM 16 upon discovery}

72, On Friday, 02 OCT 2015, while employed with Adademi on my fourth contract deployment to Afghanistan of 02 JUL
3015 —02 OCT 2015, at Kabul Base in Afghanistan, I received a Medical Record from the CIA Afghanisian Regional Medical
Officer / Psychologist Maria L. Dittrich, PhD “Westside”, diagnosing me with an “Unspecified Anxiety Disorder” but
“intentionally” did not mention the “Specific Stressor” and refused to document the evidence needed for me to qualify for
“Urgent Medical and Urgent Wage Compensation”, and as evidence for my “Criminal and Civil” cases against ail the
Defendant(s). (See ITEM 17 upon discovery)

73. On Friday, 02 OCT 2015, I received a Medical Record from the CIA Afghanistan Regional Medical Officer /
Psychologist Maria L. Dittrich, PhD “Westside”, on 02 OCT 2015 showing both that I received a Mental Injury and the
inconsistency with “stating the cause of an injury” when the cause of this specific injury was “Intentionally Calculated” by

the CIA Command and my Employer’s Management in Afghanistan,

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74. Ihave a Medica! Record from a previous physical injury in Afghanistan on Wednesday, 21 MAY 2014 to show that
“stating the cause of an injury” to be common practice by the CIA’s Medical Staff. (See ITEM 18 upon discovery)

75, have another Medical Record from a previous physical injury in Afghanistan on Tuesday, 12 MAY 2015 to show
that “stating the cause of an injury” to be common practice by the CLA’s Medical Staff. (See ITEM 19 upon discovery)

76. On Friday, 02 OCT 2015, while employed with Adademi on my fourth contract deployment to Afghanistan of 02

JUL 2015 —02 OCT 2015, at Kabul Base in Afghanistan, I gave Academi’s Management in Afghanistan, and RC-1 Country
Lead “Shrapnel”, my Medical Record to file for Medical and Wage Compensation to which “Shrapnel” said “T’m not filing that”
and refused to document the evidence needed for me to qualify for “Urgent Medical and Urgent Wage Compensation”, and as
evidence for my “Criminal and Civil” cases against them.

TT. On the morning of Sunday, 04 OCT 2015, upon returning home CONUS to 5917 Big Hom View Street, North Las
Vegas, Nevada 89031, from contract deployment to Afghanistan 02 JUL 2015 - 02 OCT 2015, I was (Assaulted with Deadly
Weapons) calculated by the North Las Vegas Police Department and the CIA Las Vegas Office of the CIA Operations, I was
aware of this happening to my co-workers when they retumed home CONUS from CIA deployments overseas as a co-worker
shot himself in the head killing himself upon returning home while having the police surround his home with guns drawn. This
criminal act is in direct connection with the criminal acts committed overseas in Afghanistan. This very terrifying act caused me
even more amount of fear, panic, terror, distress, anger, rage, depression, social and emotional anxiety, pain, suffering, loss of
sleep, loss of appetite, vomiting, high blood pressure, hair loss, acne, panic attacks, and toll on my overall health and safety to
worsen further, causing me (FEAR OF EARLY DEATH). (See ITEM 20 upon discovery)

7B. Thave eighteen “18” pages of Text Messages I had with Mark Hardy “Marcus”, (571)-722-7384, a CIA employee that
is one of my witnesses for the criminal acts which they took against me in Kabul Afghanistan in 2014 - 2015, to all the way back
in Iraq in 2013, which shows additional evidence for my Defense Base Act, and Criminal and Civil cases. (See ITEM 21 upon
discovery)

79. [received a letter dated Monday, 26 OCT 2015, by the Department of Labor, stating they received a report of my injury
I sustained on 02 OCT 2015 in Afghanistan, It states that my employer, “Academi” — Constellis Group, Inc. / Triple Canopy, or
its insurance company, Star Indemnity / Gallagher Bassett Services, should pay for medical treatment required for my injury and
if I lost more than three “3” days from work and sustained wage loss, my employer or its insurance company should pay me
compensation for that lost time. (See ITEM 22 upon discovery)

80. [received a letter of Notice of Controversion of Right to Compensation dated Tuesday, 03 NOV 2015, from

Teresa Martin, Senior Resolution Manager with Starr Indemnity / Gallagher Bassett Services, stating that my Entire Claim is
Controverted because of no evidence of a causally related accident or injury, and no medical to support a causally related injury,
or compensable accident. (See ITEM 23 upon discovery)

81. Ihave a copy of my Defense Base Act (DBA) Workman’s Compensation Contract with my employer “Academi” —

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Constellis Group, Inc. / Triple Canopy, who, “Criminally Breached” In-Bad-Faith (Evil- Minded) since they are responsible for
my Mental Injuries and Refuse to Approve my Urgent Medical and Urgent Wage Compensation. (See ITEM 24 upon discovery)
82. On 19 NOV 2015, my attomey the Turley Law Firm filed a Department of Labor Form LS-203 Employee’s Claim for
Compensation stating in writing that the OWCP No. was UNASSIGNED when in fact it was ASSIGNED a OWCP No. 13-
303636 on 26 OCT 2015 by the Department of Labor. (See ITEM 25 upon discovery)

R3. On Saturday, 09 JAN 2016, my condition worsened when I fell into a (Deep-Shock) from “Extreme-Betrayal”

causing me Further Severe Pain and Suffering from (Psychological and Emotional Abuse) and (Prolonged Mental Harm) of
“Superfluous Mental Torture”.

84. . On Friday, 22 JAN 2016, I received a Physician Statement from Jacqueline B. Panish, Ph.D., Licensed Clinical
Psychologist, in Las Vegas, Nevada, stating that I was refused treatment by her on 22 JAN 2016, afler reaching out fo her on my
own after being Denied my “Right” to receive my Defense Base Act Workman's Urgent Medical and Urgent Wage
Compensation after returning home from my deployment of being (Mentally Tortured), which contributed to make my condition
“Worsen” Further. (See ITEM 26 upon discovery)

85. On Wednesday, 27 JAN 2016, I started weekly Clinical Sessions with Licensed Professional Clinical Consular, Mike
Waller, (702) 930-8562, with Healing Minds Behavioral Health Services in Las Vegas, Nevada, (702) 432-6463, due to this very
disturbing pattern of abuse, which caused me enormous amount of fear, panic, terror, distress, anger, rage, depression, social and
emotional anxiety, pain, suffering, loss of sleep, loss of appetite, vomiting, high blood pressure, hair loss, acne, panic attacks, and
toll on Plaintiffs) overall health and safety. (See ITEM 27 upon discovery)

86. On Tharsday, 10 MAR 2016, I started monthly Medical Sessions with Dr. David Linden, M. D., with Mind Body
Solutions in Las Vegas, Nevada, (702) 384-2238, due to this very disturbing pattern of abuse, which caused me enormous
amount of fear, panic, terror, distress, anger, rage, depression, social and emotional anxiety, pain, suffering, loss of sleep, loss of
appetite, vomiting, high blood pressure, hair loss, acne, panic attacks, and toll on Plaintiffs) overall health and safety, and was
prescribed medications of Brintellix 10mg. 1 tablet per day, and Hydroxyzine HCL 25 mg. 3 tablets per day, for (Anxiety
Disorder), (Panic Disorder), and (Situational Depression Disorder). (See ITEM 28 upon discovery)

87, On Friday, 08 APR 2016, at my monthly Medical Session with Dr. David Linden, M. D., with Mind Body Solutions in
Las Vegas, Nevada, (702) 384-2238, my medical dosages increased to Brintellix 20mg. | tablet per day, and Hydroxyzine HCL
50 mg. 3 tablets per day.

88. On Tuesday, 26 APR 2016, I received a Physician Statement from Dr. Craig Weingrow, M. D., in Las Vegas, Nevada,
(877) 391-4372, stating his approval of the use of marijuana as medicine to help reduce my symptoms from PTSD and Panic
Attacks and help in controlling my Anger and Mood Swings. (See ITEM 29 upon discovery)

89. I received official notification dated Monday, 02 MAY 2016, of my acceptance for the State of Nevada, Department of

Lealth and Human Services, Medical Marijuana Medicine Registry, for the approval of the use of marijuana as medicine to help

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reduce my symptoms from PTSD and Panic Attacks and help in controlling my Anger and Mood Swings. (See ITEM 30 upon
discovery)

90. On Thursday, 12 MAY 2016, I received a Medical Summary from Licensed Professional Clinical Consular,

Mike Waller, (702) 930-8562, with Healing Minds Behavioral Health Services in Las Vegas, Nevada, (702) 432-6463, stating
that I was being treated on a weekly basis since 27 JAN 2016, for (Adjustment Disorder), (Anxiety Disorder), (Depressed Mood
Disorder), and (Post-Traumatic Stress Disorder). (See ITEM 31 upon discovery)

Of. On Thursday, 12 MAY 2016, { received a United States Department of Labor Work Capacity Evaluation Form for
Psychiatric/Psychological Conditions completed by Licensed Professional Clinical Consular, Mike Waller, with Healing Minds
Behavioral Health Services stating my inability to work due to my Mental Injuries. Defendant(s), Starr Indemnity / Gallagher
Bassett Services, still DENIED URGENT MEDICAL CARE, and DENIED URGENT WAGE COMPENSATION to me.
(See ITEM 32 upon discovery)

92. On Friday, 13 MAY 2016, Vice Chairman of the Senate Select Committee on Intelligence, Dianne Feinstei, wrote a
letter to the CLA Director John Owen Brennan for an immediate prompt response to provide a new copy of the “Study” (Torture
Report) to the CIA OIG, which would ensure that DOJ lawyers could inform federal judges, that the (Status Quo) was “adhered
to” and has been “restored” since the Office of the CIA Inspector General had misplaced and/or accidentally destroyed its
electronic copy and disk of the Senate Select Committee on Intelligence’s full 6,700-page classified Study (Torture Report) of the
CIA Detention and Interrogation Program. (See [TEM 33 upon discovery)

93. On Monday, 16 MAY 2016, I had a Transcript taken of my Deposition in the matter of Plaintifi{s) v. Academi, with
regards to my Defense Base Act (DBA) Workman’s Compensation Claim. (See ITEM 34 upon discovery}

94, On Saturday, 16 TUN 2016, I received additional newly prescribed medications from Dr. David Linden, M. D., with
Mind Body Solutions in Las Vegas, Nevada, (702) 384-2238, of Seroquel XR 300mg. 1 tablet per day, to help reduce my
symptoms from PTSD and Panic Attacks and help in controlling my Anger and Mood Swings.

95. [have an online Receipt that shows delivery to CIA-OIG of my Third «3 Trent Concern complaints against the
Defendant(s), Defense Contractor Academi, for the crimes of (Whistleblower Retaliation and Employer Harassment) and against
Defendant(s), the CIA, and the Entire CIA Command of the Secondary AO Theater of Afghanistan, and the Defense Contractor
Academi, for the crime of (Torture). It was delivered at 6:46 am on 17 JUN 2016 in WASHINGTON, DC 20505 to CIA 20505
PU and was signed for by S BUKE JR. I did not receive the Green Return Receipt Card back in the mail, which is further “Proof
of Evidence” of a cover-up and wrongdoing. (See ITEM 35 upon discovery)

96. Thave an online Receipt that shows delivery to CIA-OIG of my Fourth «4% Urgent Concern complaints against the
Defendant(s), the CIA, and the Entire CLA Command of the Secondary AO Theater of Afghanistan, and Defense Contractor
Academi, for the crimes of (Assault with a Deadly Weapon), (Conspiracy to Torture), and (War Crimes). It was delivered at 6:50

am on 27 JUN 2016, in WASHINGTON, DC 20505 to CIA 20505 PU and was signed for by 8 BURKE JR. I did not receive the

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Green Return Receipt Card back in the mail, which is further proof of “Evidence” of a cover-up and wrongdoing. (See TTEM 36
upon discovery)

97. received an UNCLASSIFIED letter dated Tuesday, 19 JUL 2016, from the Central Intelligence Agency Office of
Inspector General Assistant Inspector General for Investigations Scott D. Williams, stating that my allegation does not qualify for
whistleblower protections afforded under Intelligence Community Directive ICD) 120 and portions of my disclosure are
potentially an Office of Equal Employment Opportunity (OEEO) matter, which are not within OIG jurisdiction, which puts me,
the “War Victim”, in constant “Danger” and in “Fear of My Life”, since I was “Intentionally Denied” to have a Fudge or Grand
Jury issue Criminal Protection Orders against all subjects to prevent further victimization and to seek Effective Protection from
future human rights violations and to obtain justice for past abuses, A denial of this right amounts not only to a denial of the right
to a remedy, to investigation, and to reparation, it can also constitute in itself cruel, inhuman, and degrading treatment because it
causes new suffering to victims and their relatives. (See [TEM 37 upon discovery)

98. On Friday, 29 JUL 2016, I wrote, signed, and mailed a “Victim Impact Statement” (VIS) to the Human Rights and
Special Prosecutions Section (HRSP), of the Criminal Division to the United States Department of Justice, Keeney Building,
Suite 200, 950 Pennsylvania Avenue, N.W. Washington, DC 20530-0001, (See ITEM 38 upon discovery)

99. On Monday, 0! AUG 2016, 1 received a letter of Important Notice from the State of Nevada Department of Motor
Vehicles, stating that my Nevada Driving Privileges and Vehicle Registration will be Suspended beginning 06 AUG 2016.

This was from my “Deteriorating” Financial Situation due to me being (Tortured) overseas and a result of Defendant(s) Criminal
Breach of International Contract, and illegal denial and cover-up (Federal Insurance Fraud) and (Conspiracy and Attempt to
Commit Health Care Fraud) of my Defense Base Act (DBA) Workman’s Compensation as a result of Defendant(s) Criminal
Breach of DBA Contract. This contributed to make my (Mental Injuries) Suffer and “Worsen” Further. I was able to get it
reinstated, but it was eventually Suspended for good a year later around AUG 2017, and has not been reinstated since due to my
“Deteriorating” Financial Situation. (See ITEM 39 upon discovery)

100, On Wednesday, 10 AUG 2016, I had to sell my 2006 Mercedes Benz SLE 55 AMG Convertible to help pay for my
living expenses and medical bills. This was from my “Deteriorating” Financial Situation due to me being (Tortured) overseas and
a result of Defendant(s) Criminal Breach of International Contract, and. illegal denial and cover-up (Federal Insurance Fraud) and
(Conspiracy and Attempt to Commit Health Care Frand) of my Defense Base Act (DBA) Workman’s Compensation as 4 result
of Defendant(s) Criminal Breach of DBA Contract. This contributed to make my (Mental Injuries) Suffer and “Worsen” Further.
(See ITEM 40 upon discovery)

Ol. On Wednesday, 10 AUG 2016, my 2012 Ducati Diavel Mercedes AMG motorcycle was repossessed due to
Defendant(s) Criminal Breach of International Contract, and illegal denial and cover-up (Federal Insurance Fraud) and
(Conspiracy and Attempt to Commit Health Care Fraud) of my Defense Base Act (DBA) Workman’s Compensation as a result

of Defendant(s) Criminal Breach of DBA Contract. | then received a letter of Notice from Freedom Road Financial, advising me

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that they plan to sell my repossessed 2012 Ducati Diavel Mercedes AMG motoreycle at auction because | broke promises in our
agreement. This contributed to make my (Mental Injuries) Suffer and “Worsen” Further. (See ITEM 41 upon discovery)

102. Lreceived a letter dated Friday, 09 SEP 2016, from the United States Department of Justice, and the Office of Haman
Rights and Special Prosecutions Section to the Criminal Division, Chief Teresa McHenry, stating that my allegations of (Torture)
and (War Crimes) appear to involve “Personnel Issues” that do not meet the elements needed to establish Torture or War Crimes
under Federal Law. which puts me, the “War Victim”, in constant “Danger” and in “Fear of My Life”, since I was “Intentionally
Denied” to have a Judge or Grand Jury issue Criminal Protection Orders against all subjects to prevent farther victimization and
to seek Effective Protection from future human rights violations and to obtain justice for past abuses. A denial of this right
amounts not only to a denial of the right to a remedy, to investigation, and to reparation; it can also constitute in itself cruel,
inhuman, and degrading treatment because it causes new suffering to victims and their relatives. (See ITEM 42 upon discovery)
103. On Friday, 09 SEP 2016, my 2005 Mercedes Benz E55 AMG sedan was repossessed. I then received a letter of

Notice from USAA Federal Savings Bank, advising me that they plan to sell my repossessed 2005 Mercedes Benz E55 AMG
sedan because | broke promises in our agreement. This was from my “Deteriorating” Financial Situation due to me being
(Tortured) overseas and a result of Defendant(s) Criminal Breach of International Contract, and illegal denial and cover-up
(Federal Insurance Fraud) and (Conspiracy and Attempt to Commit Health Care Fraud) of my Defense Base Act (DBA)
Workman’s Compensation as a result of Defendant(s) Criminal Breach of DBA Contract. This contributed to make my (Mental
Injuries) Suffer and “Worsen” Further. (See ITEM 43 upon discovery)

104. On Saturday, 05 NOV 2016, the weekend before the new 2016 Presidential Election, Plaintiffs) received an email
from Defendant(s), Larry Heppner, “Bull”, the site manager for my employer Academi, and, “Detroit”, a CIA employee that was
also deployed there at the CIA Base in Kabul, Afghanistan, who were still in Afghanistan stating that they are “all curious to how
T’m doing”, over one year after their “Retaliatory Isolation Techniques” and “Systematic Diminishment Techniques” (Torture
Techniques) were used on and against me. “Bull” told me on 02 OCT 2015, while I was in the process of returning home
CONUS, that I better get a “Good” attorney, which I took “Offense” to. In addition, “Detroit” told me not to go to “D.C.” with
my complaints because she will take care of it for me, which I did not believe. (See ITEM 44 upon discovery)

105. On Thursday, 08 DEC 2016, I had to stop bi-monthly Clinical Sessions with Licensed Professional Clinical

Consular, Mike Waller, (702) 930-8562, with Healing Minds Behavioral Health Services in Las Vegas, Nevada, (702) 432-6463,
due to my degrading financial situation, causing me “Significant Injury” of (Extraordinary Suffering) from further “Superfluous
Mental Injury” and “Financial Destruction” and FEAR OF EARLY DEATH).

106, In DEC 2016, [had to stop monthly Medical Sessions and Prescribed Medications with Dr. David Linden, M.D., with
Mind Body Solutions in Las Vegas, Nevada, (702) 384-2238, due to my degrading financial situation, causing me “Significant
Injury” of (Extraordinary Suffering) from further “Superfluous Mental Injury” and “Financial Destruction” and (FEAR OF

EARLY DEATH).

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107. In DEC 2016, [had a “Wormhole” and became “Entangled” with the Orion Nebula (Sword of the Giant) receiving
“Intelligence Information”. This is known as the “Einstein-Rosen Bridge” and the “Emstein-Podolsky-Rosen Paradox” (ER =
EPR) relation to the “Wormhole” and “Quantum Entanglement” Correlation. The Great Nebula in the constellation Orion’s
(Sword of the Giant) is a “Star-Birth Region” located in the same “Spiral Arm” of our Milky Way galaxy as our Sun. (See [TEM
45 upon discovery)

108. On Thursday, 05 JAN 2017, I sold my Glock 17 pistol to New Frontier Armory in North Las Vegas, Nevada, for

$250, because I did not want to be responsible for using it or it being used against me, especially since | am currently trying to
arrest top United States Government officials. In addition, I needed the money and I also no longer felt safe with my neighbors in
my community or with my Local Law Enforcement and Intelligence Authorities for the fact that the “Intelligence Agency” is
trying to make me kill myself so that J will no longer have a “Criminal” Case against them.

109. On the very next day of Friday, 06 JAN 2017, the mass shooting at the Fort Lauderdale-Hollywoad International
Airport in Florida occurred. This event scared me because of my current Mental Injuries, the seriousness of my current situation,
and how similar the shooter’ s interactions with the CIA and the FBI were to mine, which I then decided that I needed to get rid of
the rest of my guns (.223 cal SBR 7” pistol and .308 cal AR10 20” rifle), both with 50 round drums, as soon as possible.

310. On Saturday, 25 FEB 2017, I sold my last gun, .308 cal AR10 20” rifle, which cost me a total of $4,000, to New
Frontier Armory in North Las Vegas, Nevada, for $800, to pay for future bills, but also because I did not want it to be used
against me in any _manner, especially since I’m currently trying to arrest top Government officials and I no longer felt safe with
my neighbors in my community or with my Local Law Enforcement and Intelligence Authorities for the fact that the
“Intelligence Agency” is trying to make me kill myself so that I will no longer have a “Criminal” Case against them. After
getting rid of my last gun and leaving the gun store, I continued on driving to do a few errands, like go to the grocery store. On
my drive home from the grocery store, I was cut off erratically by a white car just before turning into the left turning lane to enter
my neighborhood, that then drove right to my house and as Pm driving entering my driveway, this white car then stops in front of
my house and the driver’s side door opens and as the driver steeps out I continue to enter my garage and then close my garage
door. I take these Acts as (Assault) being “Offensive” and “Attempting” to initiate bodily harm. I then witness a black male and a
white van with “We Instali Carpets” written in big black letters on the side, both passing in front of my house a few times then
returning to a neighbor’s house at 5924 Big Hom View Street. Upon watching them from a window in my garage, these
neighbors then say, “look, he’s looking! He’s scared! He’s scared! Get him!” At which time I then witness one black male run

from the house at $924 Big Horn View Street to another neighbor’s house at 5912 Big Hom View Street, which is just across the

 

 

street from me. Within 20 minutes I then hear my side neighbor at 5913 Big Hom View Street, start up his Harley Davidson
motorcycle and rev it very loud for a while. This all caught my attention very fast making me feel “Targeted” and “Fearful” of
what might happen next. I then texted and then called Rob Sullivan, a Detective for North Las Vegas Police Department, who

had been over to my house with Kris A. Miyasato, a Task Force Officer with the United States Federal Bureau of Investigations

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(FBI), asking him to come to my house for support. He later called me back and told me that he called his dispatch and reported
the incident to them for me.

111. On Saturday, 25 FEB 2017, just hours after I turned in his last rifle, which only Rob and Kris were aware of, in
addition to them also knowing that I was very scared of my situation, I was “Assaulted” by three “3” neighbors upon retuming
home, using (Illegal Surveillance Techniques), leaking Plaintiff(s) Cell Phone Text Messages (in reference to cell phone text
messages with me and Rob). This is a very disturbing (Pattern of Abuse), which caused me even more amount of fear, panic,
terror, distress, anger, rage, depression, social and emotional anxiety, pain, suffering, loss of sleep, loss of appetite, vomiting,
high blood pressure, hair loss, acne, panic attacks, and toll on my overall health and safety.

112. I have Fourteen “14” pages of Text Messages I had with Rob Sullivan, (702)-354-4244, Detective with North Las
Vegas Police Department, that shows he was aware of my situation, my Mental State, and the fact that I was trying to get rid

of all of my guns (2 rifles and 2 pistols with over a thousand rounds of ammunition). These text messages were used against me
by my Local Law Enforcement Authorities or the Intelligence Agency, because no other person was aware of my decision to get
rid of my last gun or when I was going to do so except for Rob Sullivan. And the fact that three “3” of my neighbors had planned
an “Assault Attack” on me just hours after I turned in my last gun is proof that my text messages were released to them somehow
by the use of (liegal Surveillance Techniques) and (Spying for the Enemy State). (See ITEM 46 upon discovery)

113. I received a letter of Notice dated Monday, 13 MAR 2017, from the United States Department of Justice Office of
Special Litigation Section to the Civil Rights Division Acting Assistant Attomey General Thomas E. Wheeler 1, stating that my
(War Crimes) and (Obstruction of Justice) case is not the type of case that office prosecutes, which puts me, the “War Victim”, in
constant “Danger” and in “lear of My Life” since I was “Intentionally Denied” to have a Judge or Grand Jury issue Criminal
Protection Orders against all subjects to prevent further victimization and to seek Effective Protection from future human Tights
violations and to obtain justice for past abuses. A denial of this right amounts not only to a denial of the right to a remedy, to
investigation, and to reparation; it can also constitute in itself cruel, mbhuman, and deprading treatment because it causes new
suffering to victims and their relatives. (See ITEM 47 upon discovery)

114, [ received a letter dated Wednesday, 12 APR 2017, from the Congress of the United States of America, and the State of
Nevada Senate Regional Representative Bradiey Sensibaugh, and the State of Nevada Senator Dean Arthur Heller, stating that
there are no further avenues for me at this time. Included is the response the United States Department of Justice Office of
Special Litigation Section to the Civil Rights Division Acting Assistant Attorney General Thomas E. Wheeler I, state that they
do not have jurisdiction over the activities of the of the CIA or associated defense contractors, which puts me, the “War Victim”,
in constant “Danger” and in “Fear of My Life”, since Plaintiff(s) was “Intentionally Denied” to have a Judge or Grand Jury issue
Criminal Protection Orders against all subjects to prevent further victimization and to seek Effective Protection from future
human rights violations and to obtain justice for past abuses. A denial of this right amounts not only to a denial of the right to a

remedy, to investigation, and to reparation; it can also constitute in itself cruel, inhuman, and degrading treatment because it

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causes new suffering to victims and their relatives. (See ITEM 48 upon discovery)

115. On Thursday, 20 APR 2017, i received a Physician Statement from Dr. Craig Weingrow, M. D., in Las Vegas, Nevada,
(877) 391-4372, reinstating for a second year of his approval of the use of marijuana as medicine to help reduce my symptoms
from PTSD and Panic Aitacks and help in controlling my Anger and Mood Swings. I was last seen in 2017, due to my degrading
financial situation, causing me “Significant Injury” of (Extraordinary Suffering) from farther “Superfluous Mental Injury” and
“Financial Destruction” and (FEAR OF EARLY DEATH). (See ITEM 49 upon discovery)

116. I received official notification dated Thursday, 27 APR 2017, of my acceptance from the State of Nevada, Department
of Health and Etaman Services, Medical Marijuana Medicine Registry for the second year of the approval of the use of marijuana
as medicine to help reduce my symptoms from PTSD and Panic Attacks and help in controtling my Anger and Mood Swings. My
Medical Marijuana prescription stopped in 2017 due to my degrading financial situation, causing me “Sipnificant Injury” of
(Extraordinary Suffering) from further “Superfluous Mental Injury” and “Financial Destruction” and (FEAR OF EARLY
DEATH). (See ITEM 50 upon discovery)

117. On Friday, 05 MAY 2017, I received a Jury Summons from the Eighth Judicial District Court of the State of Nevada in
and for the County of Clark, to report in the Eighth Judicial District Court of the State of Nevada in and for the County of Clark
on Wednesday, 17 MAY 2017. I called my Clinical Consular, Mike Waller, with Healing Minds Behavioral Health Services,
“Crying” because I felt “Threatened”, “Targeted”, “Tortured”, “Assaulted”, “Attacked”, “Isolated”, “Oppressed”, “Dominated”,
“Defeated”, “Diminished”, “Harmed”, and “Betrayed”. (See ITEM 51 upon discovery)

118, On Monday, 08 MAY 2017, I wrote, signed, and mailed a letter to His Holiness, Pope Francis, at the Vatican

City, which I also mailed to the United Nations Complaint Procedure Unit, the United States Congress, and the United States
Department of Justice. As a Roman Catholic male who was fighting in a Warzone in the Name of My [GOD], [Jesus Christ], and
being His Holiness” most obedient and humble servant, I then Must Profess Myself with the most Profound Respect and Honor,
to ask His Holiness to please Pray for me and to please Forgive Defendant(s) for serving the Enemy State. (See TTEM $2 upen
discovery)

119. In Mid MAY 2017, the Turley Law Firm, and the Mouledoux, Bland, Legrand, and Brackett LLC Law Firm, and the
Defense Attorney Robert N. Popich for the Starr Indemnity and Liability Company, c/o Gallagher Bassett Services, asked me to
do an Independent Medical Examination for my (DBA) Workman’s Compensation Case. | advised both parties that ] needed an
additional two “2” weeks or a month to “Calm Down” since they waited In-Bad-Faith to do their Independent Medical

Examination one “}” (whole) year after my Deposition in this case, causing me “Significant Injury” of (Extraordinary

 

 

Suffering) from further “Superfluous Mental Injury” and “Financial Destruction” and (FEAR OF EARLY DEATH).
120. In the beginning of JUN 2017, I did an “Independent Medical Examination” for my (DBA) Workman’s Compensation
Case, “One-Year” after I had a Transcript taken of my Deposition in the matter of Plaintifi(s) v. “Academi” — Constellis Group,

Inc. / Triple Canopy, and Teresa Martin, Senior Resolution Manager with Starr Indemnity / Gallagher Bassett Services. I then ask

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the Turley Law Firm, for that Doctor’s Report from his “Independent Medical Examination” of me and also requested a Hearing
date and they told me that they would be in touch. After that, another two “2” months passed by with no call back. All the front
office for the Turley Law Firm told me was that they are too busy to speak with me. I never received the “Independent Medical
Examination”. In addition, I never received a Hearing Date after waiting nearly two “2” years in-Good-Faith after filing my DBA
claim for “Urgent Medical Care and Urgent Wage Compensation”, causing me, “Sionificant Injury” of (Extraordinary Suffering)
from further “Superfluous Mental Injury” and “Financial Destruction” and (FEAR OF EARLY DEATH).

121. [received Copy of a Judgment by Default dated Tuesday, 06 JUN 2017, against me by Discover Bank in the

Eighth Judicial District Court for Clark County, Nevada, in ithe amount of $21,146.27 for “Enrichment”. This caused me even
more amount of fear, panic, terror, distress, anger, rage. depression, social and emotional anxiety, pain, suffering, loss of sleep,
loss of appetite, vomiting, high blood pressure, hair loss, acne, panic attacks, and toll on my overall health and safety, causing me
“Significant Injury” of (Extraordinary Suffering) from further “Superfluous Mental Injury” and “Financial Destruction” and
(FEAR OF EARLY DEATH)

122. On 19 JUN 2017, I had to sell my final vehicle, my 2005 Mercedes Benz SL 55 AMG Roadster to help pay for my
living expenses and medical bills due to my “Deteriorating” Financial Situation due to me being (Tortured) overseas and a

result of Defendant(s) Criminal Breach of International Contract, and illegal denial and cover-up (Federal Insurance Fraud) and
(Conspiracy and Attempt to Commit Health Care Fraud) of my Defense Base Act (DBA) Workman’s Compensation as a result
of Defendant(s) Criminal Breach of DBA Contract. This contributed to make my (Mental Injuries) Suffer and “Worsen” Further.
This then left me with no vehicle and walking on foot where I no longer felt safe with my neighbors in my community or with
my Local Law Enforcement Authorities for the fact that the “Intelligence Agency” was irying to make me kill myself so that 1
will no longer have a “Criminal” Case against them, which caused me even more amount of fear, panic, terror, distress, anger,
rage, depression, social and emotional anxiety, pain, suffering, loss of sleep, loss of appetite, vomiting, high blood pressure, hair
loss, acne, panic attacks, and toll on my overall health and safety, causing me, “Significant Injury” of (Extraordinary Suffering)
from further “Superfluous Mental Injury” and “Financial Destruction” and (FEAR OF EARLY DEATH). (See ITEM 53 upon
discovery)

123. Lreceived a second “2™” letter of Notice dated Tuesday, 11 JUL 2017, from the United States Department of Justice
Office of Special Litigation Section to the Civil Rights Division, stating that my War Crimes and Obstruction of Justice case is
not the type of case that office prosecutes, which puts Plaintifi(s), the “War Victim”, in constant “Danger” and in “Fear of My
Life”, since I was “Intentionally Denied” to have a Judge or Grand Jury issue Criminal Protection Orders against all subjects fo
prevent further victimization and to seek Effective Protection from future human rights violations and to obtain justice for past
abuses. A denial of this right amounts not only to a denial of the right to a remedy, to investigation, and to reparation; it can also
constitute in itself cruel, inhuman, and degrading treatment because it causes new suffering to victims and their relatives. (See

ITEM 54 upon discovery)

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124, [received a letter dated Friday, 28 JUL 2017, from Bank of America advising me of the State of Califonua Franchise

Tax Board, Order to Withhold in the amount of $4,161.44 for the tax year of 2012, which required them by California Law to

 

debit and/or restrict access to my bank account. I was deployed to Iraq in the year of 2012 and was registered as a Foreign
Resident by the Kurdistan Regional Government of Sulaymaniyah, Iraq. During the year of 2012, I was in CONUS from 01 Jan
2012 ~ 26 JAN 2012, 17 MAY 2012 —31 MAY 2012, 16 JUL 2012 — 09 AUG 2012, and 29 OCT ~ 31 DEC 2012, and at no
time was I living or doing business in the State of California. This Tax Fraud and Bank Fraud caused me, “Significant Injury” of

(Extraordinary Suffering) from further “Superfluous Mental Injury” and “Financial Destruction” and (FEAR OF EARLY

 

DEATH). (See ITEM 35 upon discovery)

125, In the middle of AUG 2017, | wrote the Turley Law Firm in an email advising them that they are “Fired” and no longer
“Representing” me in my Defense Base Act (DBA) Workman’s Compensation Case because J was pressing Federal “Criminal
Charges” of 18 U.S.C. § 1031 (Federal Insurance Fraud), 18 U.S.C. § 201 (Corruption), 18 U.S.C. § 371 (Conspiracy); 18 U.S.
Code § 241 (Conspiracy against rights), and (Enrichment with Intention of Personal Gratification) due to not being allowed

to file for a “Hearing Date”, which caused me, “Significant Injury” of (Extraordinary Suffering) from further “Superfluous
Mental Injury” and “Financial Destruction” and (FEAR OF EARLY DEATH).

126. On Monday, 21 AUG 2017 the “Total Solar Eclipse” occurred across the entire United States landscape. (See ITEM 56
upon discovery)

127. At 10 PM CDT on Friday, 25 AUG 2017, Hurricane Harvey confirmed landfall at 28.0 N 97,0 W, in Texas, and “Held”
over the Houston Metropolitan Area for over 4 days “96 hours” making Hurricane Harvey the “Wettest Atlantic Hurricane Ever
Measured”, causing “Catastrophic Rainfall-Triggered Flooding” and “Over One-Hundred Deaths”. (See ITEM 57 upon

discovery)

128. I received a letter dated Thursday, 31 AUG 2017, from the United States Department of Labor Office of Worker’s
Compensation Programs Division of Longshore and Harbor Workers’ Compensation 13" Compensation District Director R. Todd
Bruininks, referring my Defense Base Act (DBA) Workman’s Compensation Claim for a formal hearing. The “ONLY” reason
my DBA case was referred for a formal hearing was because I had to “Fire” and Press “Criminal” Charges of 18 U.S.C. § 1031
(Federal Insurance Fraud), 18 U.S.C. § 201 (Corruption); 18 U.S.C. § 371 (Conspiracy), and 18 U.S. Code § 241 (Conspiracy
against rights); with intention to increase profits through “Enrichment” In-Bad-Faith (Evil Minded), against the Turley Law
Firm, after waiting nearly two “2” years In-Good-Faith of being DENIED A HEARING, DENIED URGENT MEDICAL
CARE and DENIED URGENT WAGE COMPENSATION, afier starting this Federal Insurance Fraud (SCAM). (See
ITEM 58 upon discovery)

129, On Thursday, 31 AUG 2017, the Turley and Mara Law Firm filed a Motion to Withdraw as Counsel stating
irreconcilable differences, “ONLY” because I Am Pressing Federal “Criminal Charges” against him “Personally”.

136. On Saturday, 23 SEP 2017, A Great Wondrous Sign Appeared In Heaven: A Woman [Virgo] the Virgin was

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clothed with the sun, with the moon under Her feet, and a Crown of Twelve-Stars on Her head [Leo]. She was pregnant
and cried out in pain as She was about to give birth. She gave birth to a {Son}, 2 Male Child, to “Rule” All the Nations
with an Iron Scepter and Her Child was snatched up to [GOD], and to {HIS THRONE OF GLORY] for Evermore. (See
ITEM 59 upon discovery)

131. Lreceived a letter of Intent dated Monday, 25 SEP 2017, to Record a Notice of State Tax Lien in the amount of
$2,464.32 from the State of California Office of the Franchise Tax Board, for the Tax Year of 2012, causing me even more
amount of fear, panic, terror, distress, anger, rage, depression, social and emotional anxiety, pain, suffering, loss of sleep, loss of
appetite, vomiting, high blood pressure, hair loss, acne, panic attacks, and toll on my overall health and safety, and caused me,
“Sipnificant Injury” of (Extraordinary Suffering) from further “Superfluous Mental Injury” and “Financial Destruction” and
(FEAR OF EARLY DEATH). (See ITEM 60 upon discovery)

132. T received a letter of Notice of Docketing my DBA Case for Formal Hearing dated Wednesday, 1} OCT 2017, from the
United States Department of Labor Office of Administrative Law Judges, in San Francisco, California. (See ITEM 61 upon
discovery)

133. Lreceived a letter dated Monday, 16 OCT 2017, from the United States Department of Labor Office of Administrative
Law Judges, Administrative Law Judge Jennifer Gee, in San Francisco, California, of an Order Granting Motion for Leave to
Withdraw as Counsel of the Turley and Mara Law Firm, in Plaintiff(s) Defense Base Act (DBA) Workman’s Compensation
Case. (See ITEM 62 upon discovery)

134. Lreceived a letter dated Monday, 13 NOV 2017, from the United States Department of Labor Office of Administrative
Law Judges, Administrative Law Judge Jennifer Gee, in San Francisco, California, of an Order to Show Cause Re: Remand from
Administrative Law Judge Jennifer Gee. (See [FEM 63 upon discovery)

135. Lreceived a letter of Notice dated Tuesday, 21 NOV 2017, from the Mail Referral Unit of the United States
Department of Justice, assigning me an ID number 3936092 with regards to my Criminal and Civil complaints. (See TTEM 64
upon discovery)

136, On Wednesday, 29 NOV 2017, my bank statement from Bank of America showed my Checking Account was “FORCE
CLOSED” Jn-Bad-Faith (Evil Minded), by the State of California, causing me even more amount of fear, panic, terror, distress,
anger, rage, depression, social and emotional anxiety, pain, suffering, loss of sleep, loss of appetite, vomiting, high blood
pressure, hair loss, acne, panic attacks, and toll on my overall health and safety, and caused me, “Significant Injury” of
(Extraordinary Suffering) from further “Superfluous Mental Injury” and “Financial Destruction” and (FEAR OF EARLY
DEATH). (See ITEM 65 upon discovery)

137. Ihave acopy of my Sulaymaniyah, Iraq Foreign Residency Card issued on 15 FEB 2012 by the Kurdistan

Regional Government, with expiration date of 14 FEB 2013. During the year of 2012, I was in the United States from 01 Jan

2012 —26 JAN 2012, 1? MAY 2012-31 MAY 2012, 16 JUL 2012 -09 AUG 2012, and 29 OCT - 31 DEC 2012. At no point

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was I living in the United States nor the State of California or doing business in the State of California. (See ITEM 66 upon
discovery)

138. Lreceived a letter of Order to Clarify Position on Remand dated Tuesday, 05 DEC 2017, from the United States
Department of Labor Office of Administrative Law Judges, Administrative Law Judge Jemifer Gee, in San Francisco, California.
(See ITEM 67 upon discovery)

139, Lreceived a letter of Notice dated Monday, 25 DEC 2017, from the United States Department of the Treasury Office of
the United States Department of the Treasury Internal Revenue Service, advising me that I still owe Federal Taxes in the amount
of $1,797.91, for the year of 2015, while (GETTING TORTURED) in Afghanistan, causing me even more amount of fear, panic,
terror, distress, anger, rage, depression, social and emotional anxiety, pain, suffering, loss of sleep, loss of appetite, vomiting,
high blood pressure, hair loss, acne, panic attacks, and toll on my overall health and safety, and caused me, “Significant Injury”
of (Extraordinary Suffering) from further “Superfluous Mental Injury” and “Financial Destruction” and (FEAR OF EARLY
DEATH). (See ITEM 68 upon discovery)

140. Lreceived a letter of Notice dated Monday, 25 DEC 2017, from the United States Department of the Treasury Office of
the United States Department of the Treasury Internal Revenue Service, advising me that I still owe Federal Taxes in the amount
of $20,652.59, for the year of 2015, while (GETTING TORTURED) in Afghanistan, causing me even more amount of fear,
panic, terror, distress, anger, rage, depression, social and emotional anxiety, pain, suffering, loss of sleep, loss of appetite,
vomiting, high blood pressure, hair loss, acne, panic attacks, and toll on my overall health and safety, and caused me, “Significant
Injury” of (Extraordinary Suffering) from further “Superfluons Mental Injury” and “Financial Destruction” and PEAR OF
EARLY DEATH). (See ITEM 69 upon discovery)

141, I received a letter of Notice of Default dated Tuesday, 30 JAN 2018, from Nationstar Mortgage, on my real estate
property at 5917 Big Horn View Street, North Las Vegas, Nevada 89031. This caused me even more amount of fear, panic,
terror, distress, anger, rage, depression, social and emotional anxiety, pain, suffering, loss of sleep, loss of appetite, vomiting,
high blood pressure, hair loss, acne, panic attacks, and toll on my overall health and safety, and caused me, “Significant

Injury” of (Extraordinary Suffering) from further “Superfluous Mental Injury” and “Financial Destruction” and (FEAR OF
EARLY DEATH). (See ITEM 70 upon discovery)

142. On Friday, 02 FEB 2018, I vacated and foreclosed on my real estate property at 5917 Big Horn View Street, North Las
Vegas, Nevada $9031. This caused me even more amount of fear, panic, terror, distress, anger, rage, depression, social and
emotional anxiety, pain, suffering, loss of sleep, loss of appetite, vormting, high blood pressure, hair loss, acne, panic attacks, and
toll on my overall health and safety, and caused me, “Significant Injury” of (Extraordinary Suffering) from further “Superfluous
Mental Injury” and “Financial Destruction” and (FEAR OF EARLY DEATH).

143. On Friday, 02 FEB 2018, I moved to 9311 Airport Boulevard, Mobile, AL 36608-9513, to live with a family member

until Wednesday, 01 AUG 2018. This caused me even more amount of fear, panic, terror, distress, anger, rage, depression, social

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and emotional anxiety, pain, suffering, loss of sleep, loss of appetite, vomiting, high blood pressure, hair loss, acne, pantc attacks,
and toll on my overall health and safety, and caused me, “Significant Injury” of (Extraordinary Suffering) from further
“Superfluous Mental Injury” and “Financial Destruction” and (FEAR OF EARLY DEATH).

144. In FEB 2018, the National Broadcasting Company NBC Headquarters, and NBC Universal Media, LLC, hired the
former United States Central Intelligence Agency Director John Owen Brennan, as their “Senior National Security and
Intelligence Analyst” using (interstate and International Wire, Radio, and Television Communications) in a “Scheme to

Defraud” with (Intent to Impede, Obstruct, or Influence to achieve political, financial, or legal purposes), that resulted in

 

damages to me, Plaintifi{s}, and caused me even more amount of fear, panic, terror, distress, anger, rage, depression, social and
emotional anxiety, pain, suffering, loss of sleep, loss of appetite, vomiting, high blood pressure, hair loss, acne, panic attacks, and
toll on my overall health and safety, and caused me, “Significant Injury” of (Extraordinary Suffering) from further “Superfluous
Mental Injury” and “Financial Destruction” and (FEAR OF EARLY DEATH).

145. received a letter dated Wednesday, 28 FEB 2018, from the United States Department of Labor Office of
Administrative Law Judges, Administrative Law Judge Jennifer Gee, in San Francisco, California, of an Order Remanding my
Defense Base Act (DBA) Workman’s Compensation Case back to the Office of the Workman’s Compensation Programs
(OWCP), “after” over two “2” years of being DENIED A HEARING, DENIED URGENT MEDICAL CARE, and DENIED
URGENT WAGE COMPENSATION of my “Permanent Personal Injury” in Afghanistan. (See ITEM 7] upon discovery)

146. At4 AM CDT on Saturday, 26 MAY 2018, Subtropical Storm Alberto, the first Subtropical Storm of 2018, was
confirmed at location at 19.9 N 85.6 W in the Caribbean Sea with a track to Mobile, Alabama. (See ITEM 72 upon discovery)
147. On Wednesday, 01 AUG 2018, I moved to 1528 Shady Lane, Erath, Louisiana 70533, to live with a family member
until 26 JAN 2019. This caused me even more amount of fear, panic, terror, distress, anger, rage, depression, social and
emotional anxiety, pain, suffering, loss of sleep, loss of appetite, vomiting, high blood pressure, hair loss, acne, panic attacks, and
toll on my overall health and safety, and caused me, “Significant Injury” of (Extraordinary Suffering) from farther “Superfluous
Mental Injury” and “Financial Destruction” and (FEAR OF EARLY DEATH).

148. On 17 JUN 2018, I mailed an “Obstruction of Justice” complaint to the United States Department of Justice, returned
receipt certified mail United States Postal Service tracking number 70151660000051878577 ~ is no-longer tractable, and was
never delivered, causing me, Plaintiff(s), “Significant Injury” of (Extraordinary Suffering) from further “Superfluous Mental
Injury” and (FEAR OF EARLY DEATH), which are directly connected with previous acts of (War Crimes) and (Subjugation)
and in “Furtherance of the Conspiracy” that caused a “Permanent Personal Injury” in Afghanistan of “Superfluous Mental Injury”
from (Torture Techniques), (Subjugation), and (Non-Consensual Human Experimentation) that went beyond the justification of
military necessity and are incompatible with the purposes and principles of the Charter of the United Nations and resulted in
“Significant Damages specifically designed to directly cause the required threshold of harm” in support of a party to the

Afghanistan Armed Conflict (Aiding the Enemy) and to the detriment of another, me, (Plaintiff{s)). See TEM 73 upon

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discovery)

149. L received a letter dated Monday, 06 AUG 2018, from Affinia Default Services, LLC, advising me that there has been a
(Trustee Sale) that occurred on 03 AUG 2018 at 12:00 AM, for my Real Estate Property located at “5917 Big Horn View Street,
North Las Vegas, Nevada 89031”. This caused me even more amount of fear, panic, terror, distress, anger, rage, depression,
social and emotional anxiety, pain, suffering, loss of sleep, loss of appetite, vomiting, high blood pressure, hair loss, acne, panic
attacks, and toll on my overall health and safety, and caused me, “Significant Injury” of (Extraordinary Sufferig) from further
“Superfluous Mental Injury” and “Financial Destruction” and (FEAR OF EARLY DEATH). (See ITEM 74 upon discovery)
150. T received a letter dated Thursday, 11 OCT 2018, from the United Nations Headquarters, Complaint Procedure Unit,
Human Rights Council Branch Office of the United Nations High Commissioner for Human Rights, United Nations Office at
Geneva, stating in writing that my International “Criminal and Civil” complaints of (Crimes of Aggression), (War Crimes),
(Crimes Against Humanity), and (Crimes of Genocide) in Afghanistan are: “not consistent patterns of gross and reliably
attested violations of all human rights and all fundamental freedoms”, which puts me, the “War Victim”, in constant “Danger”
and in “Fear of My Life”, since I was “Intentionally Denied” to have a Judge or Grand Jury issue Criminal Protection Orders
against all subjects to prevent further victimization and to seek Effective Protection from future human rights violations and to
obtain justice for past abuses. A denial of this right amounts not only to a denial of the right to a remedy, to investigation, and to
reparation; it can also constitute in itself cruel, inhuman, and degrading treatment because it causes new suffering to victims and
their relatives. (See ITEM 75 upon discovery)

141. On Wednesday, 31 OCT 2018, I received a letter from the United States White House and President Trump and First

Lady Melania Trump, to “find comfort and strength in my faith” during these difficult times I am experiencing. (See ITEM 76
upon discovery)

$52, On 03 DEC 2018, I mailed a certified 10 1b. box including intelligence documents and my complaint demanding a
Military Commission for a United States Military Tribunal for (WAR TREASON) mailed to the United States Department of
Defense, United States Postal Service tracking number 70170660000094027643 — is no-longer tractable, and was never
delivered, causing me, Plaintifi(s), “Significant Injury” of (Extraordinary Suffering) from further “Superfluous Mental Injury”
and (FEAR OF EARLY DEATH), which are directly connected with previous acts of (War Crimes) and (Subjugation) and m
“Furtherance of the Conspiracy” that caused a “Permanent Personal Injury” in Afghanistan of “Superfluous Mental Injury” from
(Torture Techniques), (Subjugation), and (Non-Consensval Human Experimentation) that went beyond the justification of
military necessity and are incompatible with the purposes and principles of the Charter of the United Nations and resulted in
“Significant Damages specifically designed to directly cause the requi red threshold of harm” in support of a party to the
Afghanistan Armed Conflict (Aiding the Enemy) and to the detriment of another, me, (Plaintiff(s)). See ITEM 77 upen
discovery}

153. On Saturday, 26 JAN 2019, 1 moved to 4711 Renie Read, Exath, Louisiana 70533, to live with a family member. This

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caused me even more amount of fear, panic, terror, distress, anger, rage, depression, social and emotional anxiety, pain, suffering,
loss of sleep, loss of appetite, vomiting, high blood pressure, hair loss, acne, panic attacks, and toll on my overall health and
safety, and caused me, “Significant Injury” of (Extraordinary Suffering) from further “Superfiuous Mental Injury” and “Financial
Destruction” and (FEAR OF EARLY DEATH).

154. Around the 4" of July, 2019, the Long, Strange Trip to Becoming Hurricane Barry and the possible track of future
Barry, as clusters of thunderstorms in the Plains formed their own area of low pressure a few thousand feet above the ground,
what meteorologists call a mesoscale convective vortex. While the disturbance was still located over Tennessee on 06 JUL 2019,
the National Hurricane Center flagged it for potential tropical development — a rarity for a system still well inland, (See TTEM 78
upon discovery)

155. At 10 AM CDT on Saturday, 13 JUL 2019, Hurricane Barry, the 7° Hurricane of the 2019 season, confirmed landfall at

 

 

29.6N 92.0W, about 40 miles south of Lafayette, Louisiana, right to my location in Erath, Louisiana. (Sec ITEM 79 upon
discovery)

156. On 24 JUL 2019, the United States White House, and the President Donald John Trump, tweeted: “TRUTHIS A
FORCE OF NATURE!” (See ITEM 80 upon discovery)

157. On Wednesday, 30 OCT 2019, my former Defense Base Act attorney Mr. William David Turley, pleaded guilty in
federal court for Enticement and Coercion to Engage in Prostitution Case No. 18-CR-4574-AJB San Diego, California.

158. On 30 APR 2020, I mailed my complaint to NATO Headquarters Brussels, Belgium, United States Postal Service
international tracking number LH097119748US —Returned To Sender on 27 JUL 2020 by United States Customs and Border
Protection, and was never delivered, causing me, Plaintiff(s), “Significant Injury” of (Extraordinary Suffering) from further
“Superfluous Mental Injury” and (PEAR OF EARLY DEATH), which are directly connected with previous acts of (War Crimes)
and (Subjugation) and in “Furtherance of the Conspiracy” that caused a “Permanent Personal Injury” in Afghanistan of
“Superfluous Mental Injury” from (Torture Techniques), (Subjugation), and (Non-Consensual Human Experimentation} that
went beyond the justification of military necessity and are incompatible with the purposes and principles of the Charter of the
United Nations and resulted in “Significant Damages specifically designed to directly cause the required threshold of harm” in
support of a party to the Afghanistan Armed Conflict (Aiding the Enemy) and to the detriment of another, me, (Plaintifi(s)).
159. On 28 JUL 2020, I mail my complaint to the United Nations Headquarters New York return receipt certified mail
United States Postal Service tracking number 70191640000077967424 Delivery Attempt 30 JUL 2020 at 9:42 am Delivery
Attempted ~ No Access to Delivery Location 10017 (United Nations Headquarters New York), which ~ is no-longer tractable,
and was never delivered, causing me, Plaintiff(s), “Significant Injury” of (Extraordinary Suffering) from further “Superfluous
Mental Injury” and (FEAR OF EARLY DEATH), which are directly connected with previous acts of (War Crimes) and
(Subjugation) and in “Furtherance of the Conspiracy” that caused a “Permanent Personal Injury” in Afghanistan of “Superfluous

Mental Injury” from (Torture Techniques), (Subjugation), and (Non-Consensual Human Experimentation) that went beyond the

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justification of military necessity and are incompatible with the purposes and principles of the Charter of the United Nations and
resulted in “Significant Damages specifically designed to directly cause the required threshold of harm” in support of a party to
the Afghanistan Armed Conflict (Aiding the Enemy) and to the detriment of another, me, (Plaintiff(s)). (See ITEM 81 upon
discovery}

160. [received a “FRAUDULENT” Account Status Notice (1203506341) dated 14 AUG 2020 for the tax year 2012 from
the State of California Office of the Franchise Tax Board, for “additional liabilities”. This caused me even more amount of fear,
panic, terror, distress, anger, rage, depression, social and emotional anxiety, pain, suffering, loss of sleep, loss of appetite,
vomiting, high blood pressure, hair loss, acne, panic attacks, and toll on my overall health and safety, and caused me, “Significant
Injury” of (Extraordinary Suffering) from further “Superfluous Mental Injury” and “Financial Destruction” and (FEAR OF
EARLY DEATH). (See ITEM 82 upon discovery)

161. On 08 SEP 2020, I mailed my complaint to the United States White House return receipt certified mail United States
Postal Service tracking number 70200090000060230467, and to the United States Department of Justice return receipt certified
mail United States Postal Service tracking number 70200090000060230474, and to the United States Department of Defense
return receipt certified mail United States Postal Service tracking number 70200090000060230481, and to the United States
Supreme Court return receipt certified mail United States Postal Service tacking number 70200090000060230498, all —In-
Transit 12 SEP 2020 In Transit, Arriving Late, all are no-longer tractable, and all were never delivered, causing me, Plaintiff(s),
“Significant Injury” of (Extraordinary Suffering) from further “Superfluous Mental Injury” and (FEAR OF EARLY DEATH)
from “Further and Additional” (Subjugation), which are directly connected with previous acts of (War Crimes) and (Subjugation)
and in “Furtherance of the Conspiracy” that caused a “Permanent Personal Injury” in Afghanistan of “Superfluous Mental Injury”
from (Torture Techniques), (Subjugation), and (Non-Consensual Human Experimentation) that went beyond the justification of
military necessity and are incompatible with the purposes and principles of the Charter of the United Nations and resulted in
“Significant Damages specifically designed to directly cause the required threshold of harn’” in support of a party to the
Afghanistan Armed Conflict (Aiding the Enemy) and to the detriment of another, me, (Plaintiffs). (See ITEM 83 upon
discovery)

162. Tropical Storm Cristobal, Tropical Storm Marco, Hurricane Laura, Hurricane Delta, and Hurricane Zeta all struck and
made landfall in Louisiana in 2020. (See ITEM 84 upon discovery)

163. On 20 OCT 2020, I mailed my complaint to the United States Central Intelligence Agency retum receipt certified mail
United States Postal Service tracking number 70200090000060245874 —Refused on 27 OCT 2020 at 07:38 am, and was returned
to sender, causing me, Plaintiff(s), “Significant Injury” of (Extraordinary Suffering) from further “Superfinous Mental Injury”
and (FEAR OF EARLY DEATH), which are directly connected with previous acts of (War Crimes) and (Subjugation)

and in “Furtherance of the Conspiracy” that caused a “Permanent Personal Injury” in Afghanistan of “Superfluous Mental Injury”

from (Torture Techniques), (Subjugation), and @Non-Consensual Human Experimentation) that went beyond the justification of

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military necessity and are incompatible with the purposes and principles of the Charter of the United Nations and resulted in
“Significant Damages specifically designed to directly cause the required threshold of harm’ in support of a party to the
Afghanistan Armed Conflict (Aiding the Enemy) and to the detriment of another, me, (Plaintiff(s)). (See ITEM 85 upon
discovery)

164, On 01 DEC 2020, I mailed my complaint to the United States Central Intelligence Agency retum receipt certified mail
United States Postal Service tracking number 70200090000060237992 —Refused on 10 DEC 2020 and was returned to sender,
causing me, Plaintiff(s), “Significant Injury” of (Extraordinary Suffering) from farther “Superfluous Mental Injury” and (PEAR
OF EARLY DEATH), which are directly connected with previous acts of (War Crimes) and (Subjugation) and in “Furtherance of
the Conspiracy” that caused a “Permanent Personal Injury” in Afghanistan of “Superfluous Mental Injury” from (Torture
Techniques), (Subjugation), and (Non-Consensual Human Experimentation) that went beyond the justification of mulitary
necessity and are incompatible with the purposes and principles of the Charter of the United Nations and resulted in “Significant
Damages specifically designed to directly cause the required threshold of harm” in support of a party to the Afghanistan Armed
Conflict (Aiding the Enemy) and to the detriment of another, me, (Plaintififs)). (See ITEM 86 upon discovery)

165, On 29 DEC 2020, I mailed my complaint to the United States Central Intelligence Agency retum receipt certified mail
United States Postal Service tracking number 70200090060060263052 —Refused on 04 JAN 2021 and was returned to sender,
causing me, Plaintiff(s), “Significant Injury” of (Extraordinary Suffering) from further “Superfluous Mental Injury” and (FEAR
OF EARLY DEATH), which are directly connected with previous acts of (War Crimes) and (Subjugation) and in “Furtherance of
the Conspiracy” that caused a “Permanent Personal Injury” in Afghanistan of “Superfiuous Mental Injury” from (Torture
Techniques), (Subjugation), and (Non-Consensual Human Experimentation) that went beyond the justification of military
necessity and are incompatible with the purposes and principles of the Charter of the United Nations and resulted in “Significant
Damages specifically designed to directly cause the required threshold of harm” mw support of a party to the Afghanistan Armed
Conflict (Aiding the Enemy) and to the detriment of another, me, (Piaintifi(s)). (See ITEM 87 upon discovery)

166. Lreceived an Annual Notice Of Tax Delinquency for the Tax Period of 2015 dated 05 JAN 2021 from the United
States Internal Revenue Service, and contractor Continental Service Group, Inc, advising me that 1 still owe Federal Taxes in the
amount of $2,077.65 for the year of 2015, while(GETTING TORTURED) in Afghanistan, causing me even more amount of
fear, panic, terror, distress, anger, rage, depression, social and emotional anxiety, pain, suffering, loss of sleep, loss of appetite,
vomiting, high blood pressure, hair loss, acne, panic attacks, and toll on my overall health and safety, and caused me, “Significant
Injury” of (Extraordinary Suffering) from further “Superfluous Mental Injury” and ‘Financial Destruction” and (FEAR OF
EARLY DEATH). (See ITEM 88 upon discovery)

167, Lreceived an Annual Notice Of Tax Delinquency for the Tax Period of 2015 dated 05 JAN 2021 from the United
States Internal Revenue Service, and contractor Continental Service Group, Inc, advising me that I still owe Federal Taxes in the

amount of $25,004.24 for the year of 2015, while (GETTING TORTURED) in Afghanistan, causing me even more amount of

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fear, panic, terror, distress, anger, rage, depression, social and emotional anxiety, pain, suffering, loss of sleep, loss of appetite,
vomiting, high blood pressure, hair loss, acne, panic attacks, and toll on my overall health and safety, and caused me, “Significant
Injury” of (Extraordinary Suffering) from farther “Superfluous Mental Injury” and “Financial Destruction” and (FEAR OF

EARLY DEATH). (See ITEM 89 upon discovery)

168. DEMAND for payment has been made, which DEMAND has been refused or ignored and which International and

Domestic Obligations remains unpaid and is now due and owing.

CAUSES OF ACTION

COUNT I: FIRST CLAIM FOR RELIEF

TORTURE; CONSPIRACY TO COMMIT TORTURE; WAR CRIMES; CONSPIRACY TO
COMMIT WAR CRIMES; CONSPIRACIES BY UNITED STATES OFFICIALS TO KILL,
KIDNAP, MAIM, OR INJURE PERSONS OR DAMAGE PROPERTY IN A FOREIGN
COUNTRY; CONSPIRACY TO COMMIT ASSAULT WITH DEADLY WEAPONS;
CONSPIRACY AND ATTEMPT TO COMMIT ASSAULT WITH WEAPONS OF MASS
DESTRUCTION; AIDING THE ENEMY; WRONGFULLY AIDING THE ENEMY;
EXECUTIVE CORRUPTION; SPIES; UNPRIVILEGED BELLIGERENTS — LIABILITY

FOR PARTICIPATION IN HOSTILITIES, AND CRIMINAL BREACH OF INTERNATIONAL
CONTRACT OF AGREEMENT THAT RESULTED IN DAMAGES TO PLAINTIFF§).

169. Plaintiffs) repeats, re-alleges, and incorporates by reference the allegations contained in all prior paragraphs 1
through 168 above of this Complaint and incorporates the same paragraphs in the counts below as though set forth fully herein.
170. Plaintiff(s) have fully complied with the terms of the (International Contract of Agreement) in reference to the
contracted and subcontracted “Private Security Services” provided in Afghanistan.

171. Defendant(s), (1) — (8), (10) - (17), and (26), have failed to comply with the terms of the (International Contract of
Agreement) showing misconduct and accomplice liability by violating the (United States Constitution), (Laws of the United
States of America), (Intemational Laws and Treaties of the United States of America), (International Laws and Treaties of the
Host Nation of Afghanistan), the (Laws of War), the (Law of Nations), and the (Law of Nature). Defendant(s), (1)— (8), (10) -
(17), and (26), defaulted by conducting the above criminal acts against Plaintifi(s) that went beyond the justification of military
necessity and are incompatible with the purposes and principles of the Charter of the United Nations and resulted in “Significant
Damages specifically designed to directly cause the required threshold of harm” in support of a party to the Afghanistan Armed
Conflict (Aiding the Enemy) and to the detriment of another (Plaintiff(s)). The date of default was on or about 03 MAY 2014.
172. As a result of Defendant(s), (1) — (8), (10) — (17), and (26), criminal breach of (Intemational Contract of Agreement),
and default by showing misconduct and accomplice liability conducting the above criminal acts against Plaintiffs) that resulted
in damages to Plaintiff(s) set forth fully herein, Plaintiff(s) are entitled to judgment of Nominal; Compensatory, Punitive; and
Treble Damages as a consequence of the sericus violations of Defendant(s) described herein (Tax Free with No Restrictions

Attached Whatsoever).

 

 

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COUNT It: SECOND CLAIM FOR RELIEF

TAMPERING WITH FEDERAL WITNESSES; RETALIATING AGAINST FEDERAL
WITNESSES; RETALIATING AGAINST A WITNESS, VICTIM, OR AN INFORMANT;
OBSTRUCTION OF PENDING FEDERAL COURT PROCEEDINGS; OBSTRUCTION OF
PENDING CONGRESSIONAL OR FEDERAL ADMINISTRATIVE PROCEEDINGS;
KNOWINGLY OBSTRUCTING JUSTICE; OBSTRUCTION OF CRIMINAL INVESTIGATIONS;
GOVERNMENT OFFICIALS WHO AUTHORIZED OR CONSPIRED TO STALK INDIVIDUALS
WITH THE INTENT TO HARASS, INJURE, OR INTIMIDATE ANOTHER; CIVIL ACTION TO
RESTRAIN HARASSMENT OF A VICTIM OR WITNESS; CONSPIRACY TO COMMIT
ASSAULT WITH DEADLY WEAPONS; ILLEGAL SURVEILLANCE TECHNIQUES; SPYING
FOR THE ENEMY: AIDING THE ENEMY; WRONGFULLY AIDING THE ENEMY; EXECUTIVE
CORRUPTION; REBELLION AND INSURRECTION; SEDITIOUS CONSPIRACY;
ADVOCATING OVERTHROW OF GOVERNMENT; CONSPIRACY TO INTERFERE WITH
CIVIL RIGHTS; CONSPIRACY AGAINST RIGHTS; ACTION FOR NEGLECT TO PREVENT
CONSPIRACY TO COMMIT TORTURE; AND ACTION FOR NEGLECT TO PREVENT
CONSPIRACY TO COMMIT WAR CRIMES THAT RESULTED IN DAMAGES TO
PLAINTIFF(S).

173. Plaintiff(s) repeats, re-alleges, and incorporates by reference the allegations contained in all prior paragraphs 1

through 172 above of this Complaint and incorporates the same paragraphs in the counts below as though set forth fully herein.
174. Defendant(s), (1) - (8), (9), (10) — (17), and (26), showed misconduct and accomplice liability by violating the (United
States Constitution), (Laws of the United States of America), (International Laws and Treaties of the United States of America),
(International Laws and Treaties of the Host Nation of Afghanistan), the (Laws of War), the (Law of Nations), and the (Law of
Nature). Defendant(s), (1) - (8), (9), (10) — (17), and (26), conducted the above criminal acts against Plaintiffs) that are in direct
connection with previous criminal acts that went beyond the justification of military necessity and are incompatible with the
purposes and principles of the Charter of the United Nations and resulted in “Significant Damages specifically designed ta
directly cause the required threshold of harm” in support of a party to the Afghanistan Armed Conflict (Aiding the Enemy) and
to the detnment of another (Plaintili(s)).

175. As a result of Defendant(s), (1) — (8), (9), (10) — (17), and (26), showing misconduct and accomplice liability
conducting the above criminal acts against Plaintiffs) that resulted in damages to Plaintiffs) set forth fully herein, Plaintifits) are
entitled to judgment of Nominal; Compensatory, Punitive, and Treble Damages as a consequence of the serious violations of

Defendant(s) described herein (Tax Free with No Restrictions Attached Whatsoever).

COUNT I: THIRD CLAIM FOR RELIEF

TREASON; CONSPIRACY TO COMMIT TREASON; INCITEMENT IN COMMITTING
TREASON; COMPLICITY IN COMMITTING TREASON; SOLICITING OTHERS TO
COMMIT A CRIME OF VIOLENCE; CONSPIRING TO SOLICIT, AND AIDING AND
ABETTING SUCH SOLICITATION; COMMAND RESPONSIBILITY AS A MODE

OF LIBILITY FOR AN OFFENSE; AIDING AND ABETTING AS A PRINCIPLE OF
STATE RESPONSIBILITY; ESPIONAGE, SABOTAGE, AND OTHER HOSTILE ACTS;
AND ACTION FOR NEGLECT TO PREVENT CONSPIRACY TO COMMIT TREASON
THAT RESULTED IN DAMAGES TO PLAINTIFF(S).

176. Plaintiff(s) repeats, re-alleges, and incorporates by reference the allegations contained in all prior paragraphs 1

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through 175 above of this Complaint and incorporates the same paragraphs in the counts below as though set forth fully herein.
177. Defendant(s), (1) — (8), (9), (10) - (17), and (26), showed misconduct and accomplice liability by violating the (United
States Constitution), (Laws of the United States of America), (Intemational Laws and Treaties of the United States of America},
(International Laws and Treaties of the Host Nation of Afghanistan), the (Laws of War), the (Law of Nations), and the (Law of
Nature). Defendant(s), (1) ~ (8), (9), (10) ~ (17), and (26), conducted the above criminal acts against Plaintiff(s} that are in direct
connection with previous criminal acts that went beyond the justification of military necessity and are incompatible with the
purposes and principles of the Charter of the United Nations and resulted in “Significant Damages specifically designed to
directly cause the required threshold of harm” in support of a party to the Afghanistan Armed Conflict (Aiding the Enemy) and
to the detriment of another (Plaintiff(s)).

178. Asa result of Defendant(s), (1) — (8), (9), (10) — (17), and (26), showing misconduct and accomplice liability
conducting the above criminal acts against Plaintifi{s) that resulted in damages to Plaintiff(s) set forth fully herein, Plaintifi(s) are
entitled to judgment of Nominal, Compensatory, Punitive, and Treble Damages as a consequence of the serious violations of

Defendant(s) described herein (Tax Free with No Restrictions Attached Whatsoever).

COUNT IV: FOURTH CLAIM FOR RELIEF

WAGING A WAR OF AGGRESSION; CONSPIRACY TO WAGE A WAR OF AGGRESSION;
CRIMES AGAINST HUMANITY; CONSPIRACY TO COMMIT CRIMES AGAINST HUMANITY;
AND ACTION FOR NEGLECT TO PREVENT WAGING A WAR OF AGGRESSION AND
CRIMES AGAINST HUMANITY THAT-RESULTED IN DAMAGES TO PLAINTIFF(S).

179, Plaintifi(s) repeats, re-alleges, and incorporates by reference the allegations contained in all prior paragraphs |
through 178 above of this Complaint and incorporates the same paragraphs in the counts below as though set forth fully herein.
180. Defendant(s), (1) - (8), (9), (10) — (17), and (26), showed misconduct and accomplice liability by violating the (United
States Constitution), (Laws of the United States of America), (International Laws and ‘Treaties of the United States of America),
(International Laws and Treaties of the Host Nation of Afghanistan), the (Laws of War), the (Law of Nations), and the (Law of
Nature}. Defendant(s), (1) —(8), (9), (10) - (17), and (26), conducted the above criminal acts against Plaintifi(s) that are in direct
connection with previous criminal acts that went beyond the justification of military necessity and are incompatible with the
purposes and principles of the Charter of the United Nations and resulted in “Significant Damages specifically designed to
directly cause the required threshold of harm” in support of a party to the Afghanistan Armed Conflict (Aiding the Enemy) and
to the detriment of another (Plaintifi(s)).

i8t, As a result of Defendant(s), (1) ~(8), (9), (10) —(1'7), and (26), showing misconduct and accomplice liability
conducting the above criminal acts against Plaintifi{s) that resulted in damages to Plaintiffs) set forth fully herein, Plaintiff{s) are
entitled to judgment of Nominal, Compensatory, Punitive, and Treble Damages as a consequence of the serious violations of

Defendant(s) described herein (Tax Free with No Restrictions Attached Whatsoever).

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COUNT V: FIFTH CLAIM FOR RELIEF

PERSECUTION; CONSPIRACY TO COMMIT PERSECUTION; SLAVERY; CONSPIRACY TO
COMMIT SLAVERY: INTICEMENT INTO SLAVERY; PEONAGE, SLAVERY, AND
TRAFFICKING IN PERSONS; BENEFITTING FINANCIALLY FROM PEONAGE, SLAVERY,
AND TRAFFICKING IN PERSONS; AND ACTION FOR NEGLECT TO PREVENT CONSPIRACY
TO COMMIT PERSECUTION AND SLAVERY THAT RESULTED IN DAMAGES TO
PLAINTIFF(S).

182. Plaintiffs) repeats, re-alleges, and incorporates by reference the allegations contained in all prior paragraphs 1

through 18} above of this Complaint and incorporates the same paragraphs in the counts below as though set forth fully herein.
183. Defendant(s), (1) — (8), (9), (10) ~ (17), and (26), showed misconduct and. accomplice liability by violating the (United
States Constitution), (Laws of the United States of America), (Intemational Laws and Treaties of the United States of America),
(International Laws and Treaties of the Host Nation of Afghanistan), the (Laws of War), the (Law of Nations), and the (Law of
Nature). Defendant(s), (1) — (8), (9), (10) — (12), and (26), conducted the above criminal acts against Plaintiff(s) that are im direct
connection with previous criminal acts that went beyond the justification of military necessity and are incompatible with the
purposes and principles of the Charter of the United Nations and resulted in “Significant Damages specifically designed to
directly cause the required threshold of harm” in support of a party to the Afghanistan Armed Conflict (Aiding the Enemy) and
to the detriment of another (Plaintiff(s)).

184. As a result of Defendant(s), (1) - (8), (9), (10) — (17), and (26), showing misconduct and accomplice liability
conducting the above criminal acts against Plaintiff(s) that resulted in damages to PlaintifI(s) set forth fully herein, Plaintiff(s) are
entitled to judgment of Nominal, Compensatory; Punitive, and Treble Damages as a consequence of the serious viclations of

Defendant(s) described herein (Tax Free with No Restrictions Attached Whatsoever).

COUNT VI: SEXTH CLAIM FOR RELIEF

FEDERAL DEFENSE BASE ACT INSURANCE FRAUD; CONSPIRACY TO COMMIT FEDERAL
DEFENSE BASE ACT INSURANCE FRAUD; HEALTH CARE FRAUD; ATTEMPT AND
CONSPIRACY TO COMMIT HEALTH CARE FRAUD; CRIMES BY OR AFFECTING PERSONS
ENGAGED IN THE BUSINESS OF INSURANCE WHOSE ACTIVITIES AFFECT INTERSTATE
COMMERCE; CIVIL PENALTIES AND INJUNCTIONS FOR VIOLATIONS OF SECTION 1033;
FALSE STATEMENTS RELATING TO HEALTH CARE MATTERS, INJUNCTIONS AGAINST
FRAUD; ENRICHMENT IN THE POWER OF THE PURSE WITH INTENTION OF PERSONAL
GRATIFICATION; RETALIATING AGAINST A WITNESS, VICTIM, OR AN INFORMANT;
CIVIL ACTION TO RESTRAIN HARASSMENT OF A VICTIM OR WITNESS, CIVIL ACTION
TO PROTECT AGAINST RETALIATION IN FRAUD CASES; CONSPIRACY TO INTERFERE
WITH CIVIL RIGHTS; CONSPIRACY AGAINST RIGHTS; AND CRIMINAL BREACH OF
DEFENSE BASE ACT CONTRACT THAT RESULTED IN DAMAGES TO PLAINTIFE(S).

185. Plaintiff(s) repeats, re-atleges, and incorporates by reference the allegations contained in ail prior paragraphs 1
through 184 above of this Complaint and incorporates the same paragraphs in the counts below as though set forth fully herein.
186. Defendant(s), (1), (5), (10), (13), (18), (19), (20), (21), and (26), showed misconduct and accomplice liability by

violating the (United States Constitution), (Laws of the United States of America), (International Laws and Treaties of the United

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States of America), (International Laws and Treaties of the Host Nation of Afghanistan), the (Laws of War), the (Law of
Nations), and the (Law of Nature). Defendant(s), (1), (5), (10), (3), 08), C1 9}, (20), (21), and (26), conducted the above criminal
acts against Plaintiff(s) that are in direct connection with previous criminal acts that went beyond the justification of military
necessity and are incompatible with the purposes and principles of the Charter of the United Nations and resulted in “Significant
Damages specifically designed to directly cause the required threshold of harm” in support of a party to the Afghanistan Armed
Conflict (Aiding the Enemy) and to the detriment of another (Plaintiff(s)).

87. As a tesult of Defendant(s), (1), (5), (10), (13), (18), (19), (20), (21), and (26), showing misconduct and accomplice
liability conducting the above criminal acts against Plaintifi{s) that resulted in damages to Plaintiffs) set forth fully herem,
Plaintiffs) are entitled to judgment of Nominal; Compensatory, Punitive, and Treble Damages as a consequence of the serious

violations of Defendant(s) described herein (Tax Free with No Restrictions Attached Whatsoever).

COUNT VIL: SEVENTH CLAIM FOR RELIEF

INTERSTATE TAX FRAUD; CONSPIRACY TO COMMIT INTERSTATE TAX FRAUD;
INTERSTATE BANK FRAUD; CONSPIRACY TO COMMIT INTERSTATE BANK FRAUD;
INJUNCTIONS AGAINST FRAUD; ENRICHMENT IN THE POWER OF THE PURSE WITH
INTENTION OF PERSONAL GRATIFICATION; TAMPERING WITH FEDERAL WITNESSES,
RETALIATING AGAINST FEDERAL WITNESSES; RETALIATING AGAINST A WITNESS,
VICTIM, OR AN INFORMANT; CIVIL ACTION TO RESTRAIN HARASSMENT OF A VICTIM
OR WITNESS; CIVIL ACTION TO PROTECT AGAINST RETALIATION IN FRAUD CASES;
CONSPIRACY TO INTERFERE WITH CIVIL RIGHTS; AND CONSPIRACY AGAINST RIGHTS

THAT RESULTED IN DAMAGES TO PLAINTIFE(S).
188. Plaintiff(s) repeats, re-alleges, and incorporates by reference the allegations contained i all prior paragraphs 1
through 187 above of this Complaint and incorporates the same paragraphs in the counts below as though set forth fully herein.
189, Defendant(s), (22), (24), (25), and (26), showed misconduct and accomplice liability by violating the (United States
Constitution), (Laws of the United States of America), (International Laws and Treaties of the United States of America),
(International Laws and Treaties of the Host Nation of Afghanistan), the (Laws of War), the (Law of Nations), and the (Law of
Nature). Defendant(s), (22), (24), (25), and (26), conducted the above criminal acts against Plaintiffs) that are in direct
connection with previous criminal acts that went beyond the justification of military necessity and are incompatible with the
purposes and principles of the Charter of the United Nations and resulted in “Significant Damages specifically designed to
directly cause the required threshold of harm’ in support of a party to the Afghanistan Armed Conflict (Aiding the Enemy) and
to the detriment of another (Plaintiff(s)).
190. As a result of Defendant(s), (22), (24), (25), and (26), showing misconduct and accomplice liability conducting the
above criminal acts against Plaintifffs) that resulted in damages to Plaintiff{s) set forth fully herein, Plaintiff(s) are entitled to
judgment of Nominal; Compensatory, Punitive, and Treble Damages as a consequence of the serious violations of Defendant(s)

described herein (Tax Free with No Restrictions Attached Whatsoever).

 

 

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COUNT VII: EIGHTH CLAIM FOR RELIEF

INTERNATIONAL AND INTERSTATE HATE CRIME ACTS; STATE TERRORISM; STATE-
SPONSORED TERRORISM; INTERNATIONAL AND INTERSTATE TERRORISM ACTIVITIES;
PROVIDING MATERIAL SUPPORT TO TERRORIST; AND PROVIDING MATERIAL SUPPORT
OR RESOURCES TO DESIGNATED FOREIGN TERRORISTS ORGANIZATIONS THAT
RESULTED IN DAMAGES TO PLAINTIFF(S).

191. Plaintiffs) repeats, re-alleges, and incorporates by reference the allegations contained in all prior paragraphs 1

through 190 above of this Complaint and incorporates the same paragraphs in the counts below as though set forth fully herein.
192, Defendant(s), (1) — (26), showed misconduct and accomplice liability by violating the (United States Constitution),
(Laws of the United States of America), (International Laws and Treaties of the United States of America), (international Laws
and Treaties of the Host Nation of Afghanistan), the (Laws of War), the (Law of Nations), and the (Law of Nature), Defendant(s),
(1) — (26), conducted the above criminal acts against Plaintiff(s) that are in direct connection with previous criminal acts that
went beyond the justification of military necessity and are incompatible with the purposes and principles of the Charter of the
United Nations and resulted in “Significant Damages specifically designed to directly cause the required threshold of harm in
support of a party to the Afghanistan Armed Conflict (Aiding the Enemy) and to the detriment of another (Plaintiff(s)).

193, As a result of Defendant(s), (1) ~ (26), showing misconduct and accomplice liability conducting the above criminal acts
against Plaintiffs) that resulted in damages to Plaintiff(s) set forth fully herein, Plaintifi{s) are entitled to judgment of Nominal,
Compensatory; Punitive, and Treble Damages as a consequence of the serious violations of Defendant(s) described herein (Tax

Free with No Restrictions Attached Whatsoever).

COUNT EX: NINTH CLAIM FOR RELIEF

HONEST SERVICES FRAUD; SCHEME TO DEFRAUD USING FEDERAL MAIL FRAUD;
SCHEME TO DEFRAUD USING FEDERAL WIRE FRAUD; FALSE INFORMATION AND
HOAXES; FRAUDS AND SWINDLES; AND INJUNCTIONS AGAINST FRAUD THAT RESULTED

IN DAMAGES TO PLAINTIFF(S).
194, Plaintiff(s) repeats, re-alleges, and incorporates by reference the allegations contained in all prior paragraphs 1
through 193 above of this Complaint and incorporates the same patagraphs in the counts below as though set forth fully herein.
195, Defendant(s), (1) — (26), showed misconduct and accomplice liability by violating the (United States Constitution),
(Laws of the United States of America), (International Laws and Treaties of the United States of America), (Intemational Laws
and Treaties of the Host Nation of Afghanistan), the (Laws of War), the (Law of Nations), and the (Law of Nature). Defendant(s),
(1) — (26), conducted the above criminal acts against Plaintiff(s) that are in direct connection with previous criminal acts that
went beyond the justification of military necessity and are incompatible with the purposes and principles of the Charter of the

United Nations and resulted in “Significant Damages specifically designed to directly cause the required threshold of harm” in

 

 

support of a party to the Afghanistan Armed Conflict (Aiding the Enemy) and to the detriment of another (Plaintiff(s)).

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196, As a result of Defendant(s), (1) — (26), showing misconduct and accomplice liability conducting the above criminal acts
against Plaintiff(s) that resulted in damages to Plaintiff(s) set forth fully herein, Plaintifi{s) are entitled to judgment of Nominal;
Compensatory, Punitive; and Treble Damages as a consequence of the serious violations of Defendant(s) described herein (Tax

Free with No Restrictions Attached Whatsoever).

COUNT X: TENTH CLAIM FOR RELIEF

SCHEME TO DEFRAUD USING INTERSTATE WIRE, RADIO, AND TELEVISION
COMMUNICATIONS; SCHEME TO DEFRAUD USING INTERNATIONAL WIRE, RADIO, AND
TELEVISION COMMUNICATIONS, MONEY LAUNDERING; ESPIONAGE, SABOTAGE, AND
OTHER HOSTILE ACTS; AND JOINT CRIMINAL ENTERPRISE OF A COMMON PURPOSE TO
COMMIT INTERSTATE AND INTERNATIONAL CRIMES IN BAD FAITH EVEL MINDED WITH
INTENT TO IMPEDE, OBSTRUCT, OR INFLUENCE TO ACHIEVE POLITICAL, FINANCIAL,
OR LEGAL PURPOSES THAT RESULTED IN DAMAGES TO PLAINTIFF(S).

197. Plaintiff(s) repeats, re-alleges, and incorporates by reference the allegations contained in all prior paragraphs 1
through 196 above of this Complaint and incorporates the same paragraphs in the counts below as though set forth fully herein.
198. Defendant(s), (1) ~ (26), showed misconduct and accomplice liability by violating the (United States Constitution),
(Laws of the United States of America), (International Laws and Treaties of the United States of America), (International Laws
and Treaties of the Host Nation of Afghanistan), the (Laws of War), the (Law of Nations), and the (Law of Nature). Defendant(s),
(1) — (26), conducted the above criminal acts against Plaintiff(s) that are in direct connection with previous criminal acts that
went beyond the justification of military necessity and are incompatible with the purposes and principles of the Charter of the
United Nations and resulted in “Significant Damages specifically designed to directly cause the required threshold of harm” in
support of a party to the Afghanistan Armed Conflict (Aiding the Enemy) and to the detriment of another (Plaintiffs).

199, As a result of Defendant(s), (1) ~ (26), showing misconduct and accomplice liability conducting the above criminal
acts against Plaintifi(s) that resulted in damages to Plaintiffs) set forth fully herein, Plaintiff(s) are entitled to judgment of
Nominal; Compensatory; Punitive; and Treble Damages as a consequence of the serious violations of Defendant(s) described

herein (Tax Free with No Restrictions Attached Whatsoever).

COUNT XI: ELEVENTH CLAIM FOR RELIEF

SUBJUGATION AND THE ACTION OF BRINGING SOMEONE OR SOMETHING UNDER
DOMINATION OR CONTROL TO DEFEAT AND GAIN CONTROL OF PEOPLE OR A
COUNRTY AND RULE THEM IN A WAY THAT ALLOWS THEM NO FREEDOM IN BAD
FAITH EVIL MINDED WITH INTENT TO IMPEDE, OBSTRUCT, OR INFLUENCE TO
ACHIEVE POLITICAL, FINANCIAL, OR LEGAL PURPOSES THAT RESULTED IN
DAMAGES TO PLAINTIFEF(S).

200. Plaintiff(s) repeats, re-alleges, and incorporates by reference the allegations contained in all prior paragraphs 1
through 199 above of this Complaint and incorporates the same paragraphs in the counts below as though set forth fully herein.

201. Defendant(s), (1) — (26), showed misconduct and accomplice liability by violating the (United States Constitution),

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(Laws of the United States of America), (International Laws and Treaties of the United States of America), (international Laws
and Treaties of the Host Nation of Afghanistan), the (Laws of War), the (Law of Nations), and the (Law of Nature). Defendant(s),
(1) - (26), conducted the above criminal acts against Plaintififs) that are in direct connection with previous criminal acts that
went beyond the justification of military necessity and are incompatible with the purposes and principles of the Charter of the
United Nations and resulted in “Significant Damages specifically designed to directly cause the required threshold of harm” in
support of a party to the Afghanistan Armed Conflict (Aiding the Enemy) and to the detriment of another (Plaintiff(s)).

202. As a result of Defendant(s), (1) - (26), showing misconduct and accomplice liability conducting the above criminal acts
against Plaintiff(s) that resulted in damages to Plaintiff(s) set forth fully herein, Plaintifi{s) are entitled to judgment of Nominal;
Compensatory; Punitive, and Treble Damages as a consequence of the serious violations of Defendant(s) described herein (Tax

Free with No Restrictions Attached Whatsoever).

COUNT XII: TWELFTH CLAIM FOR RELIEF

NON-CONSENSUAL HUMAN EXPERIMENTION; FEAR OF EARLY DEATH,
CONSPIRACY TO COMMIT FEAR OF EARLY DEATH; AND POLITICAL
REPRESSION THAT RESULTED IN DAMAGES TO PLAINTEFF(S).

203. Plaintiffs) repeats, re-alleges, and incorporates by reference the allegations contained in all prior paragraphs 1

through 202 above of this Complaint and incorporates the same paragraphs in the counts below as though set forth fully herein.
204. Defendant(s), (1) - (26), showed misconduct and accomplice liability by violating the (United States Constitution),
(Laws of the United States of America), (International Laws and. Treaties of the United States of America), (International Laws
and Treaties of the Host Nation of Afghanistan), the (Laws of War), the (Law of Nations), and the (Law of Nature). Defendant(s),
(1}~- (26), conducted the above criminal acts against Plaintifi(s) that are in direct connection with previous criminal acts that
went beyond the justification of military necessity and ate incompatible with the purposes and principles of the Charter of the
United Nations and resulted in “Significant Damages specifically désigned to directly cause the required threshold of harm” in
support of a party to the Afghanistan Armed Conflict (Aiding the Enemy) and to the detriment of another (Plaintiff(s)).

205. As a result of Defendant(s), (1) ~ (26), showing misconduct and accomplice liability conducting the above criminal acts
against Plaintifi{s) that resulted in damages to Plaintiff(s) set forth fully herein, Plaintifi(s) are entitled to judgment of Nominal,
Compensatory, Punitive, and Treble Damages as a consequence of the serious violations of Defendant(s) described herein (Tax

Free with No Restrictions Attached Whaisoever).

 

 

RIGHTS VIOLATED BY DEFENDANT(S) AND RIGHTS CLAIMED BY PLAIN TIFE(S)
206. Defendant(s) violated Plaintiff(s) following “Domestic and International Rights”, and Plaintiffs) hereby Claims

“Domestic and International Rights” under all of the following:

A. Plaintiffs) (Constitutional Rights), specifically:

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(1) First Amendment to the United States Constitution, which protects cognitive liberty and freedom of thought,

(2) First Amendment to the United States Constitution, Religious Freedom Provision which protects Religious
Freedom founded on Natural Law — that all rights are granted by God to the individual and therefore cannot be
constrained by man or by the government- the Constitution is a “written guarantee” of those rights. It gives
citizens redress when God-given liberty is “obstructed”. Given by the Creator, Plaintiff(s) rights pre-date stone
tablets and inform our written laws, ”,

 

G) Fourth Amendment to the United States Constitution, which protects against unreasonable searches and seizures
(including seizing a person’s body),

(4) Fifth and Fourteenth Amendments to the Constitution Due Process clause, which both state that no one should be
deprived of “life, liberty, or property without due process of law”, and calls for the equal protection of all peoples
and their rights to be protected, granted to citizens by the Bill of Rights,

 

(5) Eighth Amendment to the United States Constitution, which protects against the Infliction of Cruel and Unusual
Punishment, and

(6) Thirteenth Amendment to the United States Constitution, which protects against slavery and involuntary servitude.

 

Plaintifi(s) (Laws of War Rights), which as the “Lex Specialis” of armed conflict, is the controlling body of law with
regard to the “Conduct of Hostilities” and the “Protection of War Victims”, specifically:

(1) Law of War § 1.3.2.1 The Law of War as the Lex Specialis Governing Armed Conflict;

(2) Law of War § 1.6.3 Human Rights Treaties;

(3) Law of War § 1.6.3.4 Convention Against Torture,

(4) Law of War § 1.10.1.4 Force of International Law Notwithstanding a State’s Domestic Law,

(5) Law of War § 4.17.3 Saboteurs and Other Persons Engaging in Secretive, Hostile Acts Behind Enemy Lines;
(6) Law of War § 4.18.4 Activities That Constitute “Engaging in Hostilities” by Private Persons;

(7) Law of War § 4.19.4 Unprivileged Belligerents — Liability for Participation in Hostilities,

(8) Law of War § 6.6 WEAPONS CALCULATED TO CAUSE SUPERFLUOUS INJURY;

(9) Law of War § 6.6.1 Superfluous Injury or Unnecessary Suffering- Notes on Terminology;

(10) Law of War § 6.6.2 Superfinous Injury Rule — the Principle of Humanity:

(11) Law of War § 6.6.3 Applying the Superfluous Injury Rule;

(12) Law of War § 6.6.3.2 Suffering and Injury Inflicted;

(13) Law of War § 6.6.3.3 Clearly Disproportionate,

(14) Law of War § 6.6.3.4 Superfluous Injury Rule ~ the Circumstances to Be Assessed and Design Intent:
(15) Law of War § 7.5.2.1 Prohibitions Against Willful Medical Neglect or Deliberate Endangerment,
(16) Law of War § 7.5.2.2 Affirmative Obligation to Provide Adequate Care;

(17) Law of War § 8.2.4 Threats to Commit Inhumane Treatment:

 

(18) Law of War § 10.5 HUMANE TREATMENT AND OTHER BASIC PROTECTIONS FOR PROTECTED
PERSONS;

(19) Law of War § 10.5.1 Protection Against Violence or Threats,

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(20) Law of War § 10.5.1.1 Measures of Physical Suffering, Extermination, or Other Brutality,
(21) Law of War § 10.5.3 Other Prohibited Measures;

(22) Law of War § 10.5.3.2 Collective Penalties and Measures of Intimidation or Terrorism,

 

(23) Law of War § 10.5.3.3 Pillage Against Protected Persons;
(24) Law of War § 10.5.4 Reprisals Against Protected Persons and Their Property,

(25) Law of War § 10.5.5 No Adverse Distinction Based on Race, Religion, or Political Opinion:

 

(26) Law of War § 10.7 GENERAL TREATMENT. OF PROTECTED PERSONS IN A BELLIGERENT’S
HOME TERRITORY,

(27) Law of War § 17.2.1.2 Implicit Application of Treaty Provisions to Situations in Non-International. Armed
Conflict,

(28) Law of War § 18.1.2 National Obligations to Implement and Enforce the Law of War,
(29) Law of War § 18.12.2 Determining Liability and Determining That Compensation. Should Be Paid;
(30) Law of War § 18.16 COMPENSATION FOR VIOLATIONS OF THE LAW OF WAR:

(31) Law of War § 18.22 PRINCIPLES OF INDIVIDUAL CRIMINAL RESPONSIBILITY FOR. CRIMES UNDER
INTERNATIONAL LAW,

(32) Law of War § 18.22.1 Individual Criminal Responsibility for Acts Constituting Crimes Under Iniernational Law,
(33) Law of War § 18.22.2 Absence of Penalty Under Domestic Law Does Not Relieve a Person of Responsibility;
(34) Law of War § 18.22.3 Official Position Does Not Relieve a Person of Responsibility,

(35) Law of War § 18.22.4 Acting Pursuant to Orders Does Not Relieve a Person of Responsibility,

(36) Law of War § 18.23.3 Command Responsibility,

(37) Law of War § 18.23.3.1 Command Responsibility as a Distinct Offense,

(38) Law of War § 18.23.3.2 Command Responsibility as a Mode of Liability for an Offense:

(39) Law of War § 18.23 4 Aiding and Abetting,

(40) Law of War § 18.23.4.1 Aiding and Abetting as a Principle of State Responsibility,

(41) Law of War § 18.23.42 Aiding and Abetting Certain Conduct as a Distinct Offense Instead of a Mode of Liability
for Offense,

(42) Law of War § 18.23.5 Conspiracy;

(43) Law of War § 18.23.52 Conspiracy to Commit Aggressive War, and

(44) Law of War § 18.23.6 Other Group Criminality Theories — Joint Criminal Enterprise.
Plaintiffi(s) (ternational Laws and Treaties Rights), specifically:

G1) The 5“ century B.C. Hippocratic Oath which reaches beyond the doctor-patient relationship to the relationship of
both doctor and patient with the Gods in whom they believe and who will hold them to account;

(2) The 1758 Law of Nations and the Principles of the Law of Nature Applied to the Conduct and. Affairs of Nations
and Sovereigns which Modernized the Entire Practice of Intemational Law,

(3) The 1864 International Convention for the Amelioration of the Condition of the Wounded in Annies in the Field:

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(4) The 1926 International Slavery Convention to Suppress Slavery and the Slave Trade Treaty;

(5) The 1945 United Nations Charter (entered into force on October 24, 1945);
(6) The 1945 Charter of the International Military Tribunal (Nuremberg),

(7) The 1946 Judgement of the International Military Tribunal at Nuremberg and the 1947 Nuremberg Principles
formulated under the United Nations General Assembly Resolution 177 2} November 1947 to satisfy moral,

ethical, and legal concerns in cases of (War Crimes) and (Human Experimentation),

(8) The 1949 First Geneva Convention for the Amelioration of the Condition of the Wounded and Sick in Armed

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Forces in the Field;

(9) The 1949 Fourth Geneya Convention relative to the Protection of Civilian Persons in Time of War,

 

(10) The 1950 United Nations International Law Commission (ILC) Principles of International Law recognized in the
Charter of the Nuremberg Tribunal and in the Judgment of the Tribunal,

(11) The 1953 United Nations Protocol amending the Slavery Convention signed at Geneva on 25 September 1926;
(12) The 1956 United States Field Manual,

(13) The 1956 United Nations Intemational Supplementary Convention on, the Abolition of Slavery, the Slave Trade,
and Institutions and Practices similar to Slavery;

(14) The 1966 United Nations International Covenant on Civil and Political Rights Treaty (ICCPR),
(15) The 1968 United Nations Convention on the Non-Applicability of Statutory Limitations to War Crimes and
Crimes Against Humanity,

(16) The 1969 Vienna Convention of the Law of Treaties ([/lus cogens or peremptory norms of general international
law):

(17) The 1977 Geneva Protocol II Additional fo the Geneva Conventions of 12 August 1949. and reiating to the
Protection of Victims of Non-International Armed Conflicts;

 

(18) The 1978 Red Cross Fundamental Rules of International Humanitarian Law Applicable in Armed Conflicts;

(19) The 1980 United Nations International Convention on Prohibitions or Restrictions on the Use of Certain
Conventional Weapons Which May be Deemed to be Excessively Injurious or to Have Indiscriminate Effects
(CCW),

 

(20) The 1984 United Nations International Convention Against Torture and Other Cruel, Inhuman, or Degrading
Treatment or Punishment Treaty (CAT);

(21) The 1996 United Nations International Law Commissions (ILC) Draft Code of Crimes against the Peace and
Security of Mankind;

 

(22) The 2000 United Nations International Convention Against Transnational Organized Crime (UNTOC),

 

(23) The 2001 United Nations International Law Commission (ILC) Draft Articles on. the Responsibility of States for
Internationally Wrongful Acts;

(24) The 2003 United Nations International Convention Against Corruption (UNCAC),

(25) The 2005 United Nations Updated Set of Principles for the Protection and Promotion of Human Rights Through
Action to Combat Impunity, and

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(26) The 2005 United Nations Basic Principles and Guidelines on the Right to a Remedy and Reparation for Victims of
Gross Violations of International Human Rights Law and Serious Violations of International Humanitarian Law.

SUM OF DAMAGES DAMADED
207. Plaintiffs) respectfully request award of (NOMINAL), (COMPENSATORY), and (PUNITIVE) Damages (Tax Free
with No Restrictions Attached) in the sum of “Five-Hundred Million” dollars ($500,000,000) as a consequence of the serious
violations of Defendant(s) described herein.
208. Plaintiff(s) respectfully request award of (TREBLE) Damages (Tax Free with No Restrictions Attached) in the sum of
“One-Billion, Five Hundred Million” dollars ($1,500,000,000) per 18 U.S.C. §§ 1961-1968 (RACKETEER INFLUENCED

AND CORRUPT ORGANIZATIONS ACT) as a consequence of the serious violations of Defendant(s) described herein,

VICTIM IMPACT STATEMENT
209, Plaintifi(s) received “Permanent Personal Injury” of “Superfluous Mental Injury” from (Torture Techniques),
(Subjugation), and (Non-Consensual Human Experimentation) and “Significant Injury” of (Extraordinary Suffering) from further
“Superfluous Mental Injury” and “Financial Destruction” and (FEAR OF EARLY DEATH).
210. Plaintiff(s) was diagnosed with (Adjustment Disorder), (Anxiety Disorder), (Depressed Mood Disorder), (Post
‘Traumatic Stress Disorder), (Panic Disorder), and (Situational Depression Disorder) from severe pain and suffering from
(Psychological and Emotional Abuse) and (Prolonged Mental Harm) caused by the Defendant(s).
211. Plaintiff(s) “Lost” HIS (SELF), (Dignity of Self), (Complete Trust in Others), (Positive Mindset of Self), {Personal
Interest of Self), (Emotional Stability of Self}, (Security of Seif), (Comfort in Living with Self), (Self-Esteem), (Self-Worth),
(International Corporation), (Earnings), (Earning Potential), (Opportunities), (Employment), {Career}, (Livelihood), (SEP IRA
Account), (Checking Account), (Savings Account), (Credit), (Foreclosed on House), (Las Vegas Residence}, (Personal
Possessions), (3 cars and a motorcycle), (Nevada Driver’s License), (State of Nevada Residency), (Substantive Guarantees),
(Liberties and Freedoms), causing (Avoidance of Social Interaction), (Sensory Sensitivity), (Extra Sensory Perception), (Remote
Viewing), (Intrusive Thoughts) and (Extreme Sensitivity) to Negative Environments, (Major Sleep Deprivation), (Prolonged
Isolation), (Constantly Forgetful) and (Completely Hopeless), (Restless) and (Exhausted), (In Existential Despair) and (In
Existential Distress) on a daily basis, (In Existential Crisis), (Introspection of Self), (Frustrated) and (Very Irritated and
Annoyed), (Hurt) and (Still in Shack), (Completely Lost) and (All Alone), (Very Scared) and (Totally Vulnerable), (Threatened),
(Punished), (Abused), (Discriminated Against), (Assaulted), (Treated Inhumanely), (Tortured), (Enslaved), (Subjugated),
(Terrorized), (Harmed), (Injured), (Degraded), (Defeated), (Oppressed), (Psychologically Repressed), (Emotionally Repressed),
(Spied on), (Betrayed), (Overly Dominated), (Controlled), (Governed), (Deprived), (So Ashamed), (Completely Humiliated),
(Very Violated) and (So Disturbed), (Devastated), (Destroyed), (Taken Advantage of), (Disgusted), (Disgraced), (Very

Disappointed with Self), (Very Dissatisfied with one’s life), (Terrifying Nightmares), (Paralyzed) and in a (State of Coma),

 

 

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(Can’t Run Away from Self, which have to live with Forever), and (FEAR OF EARLY DEATB).
212. Defendant(s) (Torture Techniques), (Subjugation), and (Non-Consensual Human Experimentation) were conducted on
Plaintiff(s} who (Did Not Consent).

“Tn no case was the experimental subject at liberty of his own free

choice to withdraw from any ‘experiment’.”
213. Defendant(s) (Torture Techniques), (Subjugation), and (Non-Consensual Human Experimentation) caused
(Extraordinary Suffering) and (Superfluous Mental Injury) to Plaintiffs).

“In every one of the “experiments” the subject experienced extreme

pain and torture, and suffered permanent injury, as a direct result of

the ‘experiments’ and because of ‘lack of adequate follow-up care’.”

PRAYER FOR RELIEF

 

214. WHEREFORE, Plaintiff(s) prays for judgment against the Defendant(s) on all 12 Counts and respectfully request that
this Court enter each of the following forms of such relief as specified below for all 12 Counts for which such relief is provided
by international and domestic law:

(1) Plaintiff(s) respectfully request to be respected and to have all of Plaintiff(s) United States Constitutional rights, to
include all of Plaintiff(s) United States Laws of War rights and International rights and “Non-Derogable
Inalienable” rights to be totally enforced;

(2) Plaintiff(s) respectfully DEMAND a Trial by Jury,
(3) Award Plaintiffs) immediate Injunctive and Declaratory relief,

(4) Award Plaintiffs) (REDRESS) and (RESTITUTION) which restores the victim to the original situation before the
_..violations... occurred. Restitution includes, as appropriate: restoration of liberty, enjoyment of human rights,
identity, family life and citizenship, return to one’s place of residence, restoration of employment and return of
property, and Award (Back-Pay of Royalties) and (Penalties) from all Defendant(s) be paid immediately,

(5) Award Plaintifi(s) (NOMINAL), (COMPENSATORY), and (PUNITIVE) Damages (Tax Free with No
Restrictions Attached) in the sum of “Five Hundred Million” deilars ($500,000,000) as a consequence of the
serious violations of Defendant(s) described herein,

Compensation should be provided for any economically assessable damage, as appropriate and proportional to the
gravity of the violations and the circumstances of the case..., such as: (a) Physical or Mental Harm; (b) Lost
Opportunities, including Employment, Education and Social Benefits; (c) Material damages and Loss of

 

 

Earnings, including Loss of Earning Potential; (d) Moral damage; (¢) Costs required for legal or expert
assistance, Medicine and Medical Services, Psychological and Social Services; It may be retained that
compensation must not only cover directly economically assessable damage such as lost earnings and other
patrimonial damages, compensation must also encompass financial reparation for physical or mental suffering. As
this damage is not economically quantifiable, the assessment must be made in equity. Since it is difficult to
provide evidence for certain Moral and Psychological! effects of Torture and Non-Consensual Human
Experimentation, Mental Harm in the concept of “nanx superflus” (“Superfluous Injury and Unnecessary
Extraordinary Suffering”) should always be presumed as a consequence of violations of Peremptory Norms {also
called jus cogens or ius cogens / das ‘koudgenz, jas/, Latin for “compelling law"),

(6) Award Plaintiffs) (TREBLE) Damages (Tax Free with No Restrictions Attached) in the sum of “One-Billion,
Five Hundred Million” dollars ($1,500,000,000) per 18 U.S.C. §§ 1961-1968 (RACKETEER INFLUENCED

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AND CORRUPT ORGANIZATIONS ACT) as a consequence of the serious violations of Defendant(s) described
herein;

(7) Award Plaintiff(s) (SATISFACTION) including all of the following: (a) Effective measures aimed at the
cessation of continuing violations; (b) Verification of the facts and full and public disclosure of the truth to the
extent that such disclosure does not cause further harm or threaten the safety and interests of the victim, the
victim’s relatives, witnesses, or persons who have intervened to assist the victim or prevent the occurrence of
further violations; (c) An official declaration or a judicial decision restoring the dignity, the reputation and the
rights of the victim and of persons closely connected with the victim; (d) Public apology, including
acknowledgement of the facts and acceptance of responsibility, (e) Judicial and administrative sanctions against
persons liable for the violations; (f) Commemorations and tributes to the victims; (g) Inclusion of an accurate
account of the violations that occurred in international human rights law and international humanitarian law
training and in educational material at all levels,

(8) Grant such other relief as may be just and proper.

DATED: February 22, 2021.

TRIAL BY JURY DEMAND
215. Pursuant to Rule 38 of the Federal Rules of Civil Procedure as declared by the Seventh Amendment to the United
States Constitution, Plaintiff(s) respectfully DEMANDS TRIAL BY JURY for all 12 Counts for which such relief is provided by

international and domestic law in this action of all issues so triable.

UNDER PENALTY OF PERJURY
216. Plaintiffs), I, JOHN KEITH HEBERT, IC “Plata”, President of INTERNATIONAL DEFENSE
CORPORATION, hereby Do Declare On OATH under penalty of perjury under the (United States Constitution), the (Laws,
Treaties, Agreements, Contracts, Sub-Contracts, and Assurances of the United States of America), the (Laws, Treaties,

Agreements, Contracts, Sub-Contracts, and Assurances of the Host Nation of Afghanistan), that the foregoing is True and

 

 

Correct.

Executed On 22 FEB 2021.

a submitted,
- if

     

ohn Keith Hebert, IC “Plata”,

President of International Defense Corporation,
4711 Renie Road,

Erath, Louisiana 70533

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SUPPORTING CASES

In Murray vy, the Charming Betsy, (1804), the Supreme Court mied that, whenever possible, statutes should be
interpreted so that they comply with the Law of Nations,

In United States v. Greiner, (1861, D. C. E. D. Pa.) Fed. Case No. 15,262. “It is held that joining the enemy ts the most
flagrant instance of the crime of treason and nothing except the fear of. death can exeuse it.””,

In United States v. Lee, 106 U.S. 196, 220 (1882) “No man in this country is so high that he is above the law. No
officer of the law may set that law at defiance with impunity. All the officers of the government, from the highest to the
lowest, are creatures of the law, and are bound to obey it.”

In the Ouirin case in 1942, the United States Supreme Court held: “from the very beginning of its history this Court
has applied the law of war, including that part of the law of nations which prescribes for the conduct of war, the status,
rights and duties of enemy nations as well as enemy individuals. ”,

Ex Parte Onivin, 317 U.S. 1, 23 (1942) (“On July 3, 1942, the Judge Advocate General’s Department of the Army
prepared and lodged with the Commission the following charges against petitioners, supported by specifications: 1.
Violation of the law of war. 2. Violation of Article 81 of the Articles of War, defining the offense of relieving or
attempting to relieve, or corresponding with or giving intelligence to, the enemy. 3. Violation of Article 82, defining
the offense of spying. 4. Conspiracy to commit the offenses alleged in charges 1, 2 and 3.”),

Ex Parte Ouirin, 317 US. 1 (1942), the Court unanimously held that the President could use a military commission,
whose procedures did not follow those required by the Bill of Rights in criminal proceedings before Article HI courts,
to try American citizens who had served as enemy belligerents against the United States. See generally Memorandum
for Alberto R. Gonzales, Counsel to the President, from Patrick F. Philbin, Deputy Assistant Attorney General, Office
of Legal Counsel, Re: Legality of the Use of Military Commissions to Try Terrorists (Nov. 6, 2001) (the “OLC Military
Commissions Memo”). Thus, there would be no constitutional barrier to using a military commission to try the
Defendant(s),

The Nuremburg Trials on the Holocaust 1945 — 1949, in the midst of World War II, the Allies issue a joint
declaration in 1942 that notes the mass execution of Jews occurring under the German Nazi regime and calls for
the perpetrators to face punishment. Three years later, the Nuremberg Trials, the first international war crimes
trials, try to bring surviving leaders of the Nazi regime and engineers of the Holocaust to justice. The trials last
four years, beginning with the Major War Figures Case, which comes before the International Military Tribunal
established by the Allied forces. Eleven of the twenty-four defendants are sentenced to death. The United States
conducts twelve additional trials that result in sixty-five convictions and more than twenty death sentences;

In the Postwar Trial of a Japanese General in 1945, a U.S. military commission in Manila tries Japanese General
Yamashita Tomoyuki for war crimes committed against prisoners of war and civilians in the Philippines in 1945, The
commission convicts Yamashita on command responsibility grounds, which the U.S. Supreme Court upholds despite
strong dissent from two justices, and he is sentenced to death. Yamashita is executed in 1946;

Douglas MacArthur, Supreme Commander for the Allied Powers, Special Proclamation: Establishment of an
International Military Tribunal for the Far East, Jan. 19, 1946, 4 BEVANS 20, 21 (Now, therefore, 1, Douglas
MacArthur, as Supreme Commander for the Allied Powers, by virtue of the authority so conferred upon me, in order to
implement the Term of Surrender which requires the meting out of stern justice to war criminals, do order and provide
as follows: ARTICLE 1. There shall be established an International Military Tribunal for the Far East for the trial of
those persons charged individually, or as members of organizations, or in both capacities, with offenses which include
crimes against peace.””);

In the Tokyo War Crimes Trials 1946 -- 1948, under the watch of U.S. Supreme Commander Douglas MacArthur, the
International Military Tribunal of the Far East prosecutes twenty-eight high-ranking Japanese leaders for war crimes
committed during World War II, including the killing and inhumane treatment of prisoners of war and civilian

 

 
 

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intemees, as well as the destruction and mass murder of civilian populations in other countries. The most famous case
is the conviction and execution of former Prime Minister Tojo Hideki. All of the defendants are found guilty, with
sentences ranging from seven years in prison to execution. The Yokohama War Crimes Trials, for defendants charged
with B- and C-class crimes, are held in the aftermath of the Tokyo trials before a U.S. military commission,

The 1946 Judgment of the International Military Tribunal at Nuremberg states: ...waging of aggressive war
“essentially an evil thing...to initiate a war of aggression...is not only an international crime; it is the supreme
international crime, differing only from other war crimes in that it contains within itself the evil of the whole.”

“The very essence of the Charter is that individuals have international duties which transcend the national obligations
of obedience imposed by the individual State. He who violates the laws of war cannot obtain immunity while acting in

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pursuance of the authority of the State...",

In the Alistétter case (The Justice Trial) in 1947, the U.S. Military Tribunal at Nuremberg rejected arguments by the
defendants, judges of the State, that international law was concerned with the actions of sovereign States and did not
provide punishment for individuals, holding that it had long been established that international law imposed duties and
liabilities upon individuals as well as upon States;

In its judgement in the Mileh case in 1947, the U.S. Military Tribunal at Nuremberg found the accused guilty of
conducting medical experiments on prisoners of war and inhabitants of occupied territories without their consent,

In the Brandt case (The Medical Trial) in 1947, the U.S. Military Tribunal at Nuremberg convicted 16 persons of
carrying out medical experiments on prisoners of war and civilians which amounted to cruel and inhuman treatment
and which were war crimes and crimes against humanity,

In its judgment in the Pohi case in 1947, the U.S. Military Tribunal at Nuremberg, in considering charges of war crimes
and crimes against humanity, held: “Slavery may exist even without torture. Slaves may be well fed, well clothed, and
comfortably housed, but they are still slaves if without lawful process they are deprived of their freedom by forceful
restraint. We might eliminate all proof of ill-treatment, overlook the starvation, beatings, and other barbarous acts, but
the admitted fact of slavery — compulsory umcompensated labour — would still remain. There is no such thing as
benevolent slavery. Involuntary servitude, even if tempered by humane treatment, is still slavery.”,

 

In the Miich case in 1947, the U.S. Military Tribunal at Nuremberg found the accused guilty of war crimes in that he
was responsible for the slave labour and deportation to slave labour of the civilian populations of countries and
territories occupied by the German armed forces, and in the enslavement, deportation, ill-treatment and terrorization of
such persons. The Tribunal found the accused guilty of crimes against humanity for the same war crimes imsofar as they
related to foreign nationals. Judge Fitzroy D Phillips referred to the definition of crimes in the 1945 Alhed Control
Council Law No. 10 and stated in his concurring opinion that the law treats as separate crimes and different types of
crime deportation to slave labour (as a war crime) and enslavement (as a crime against humanity);

In the Flick case in 1947, the U.S. Military Tribunal at Nuremberg noted: “It can no longer be successfully maintained
that international law is concerned only with the actions of sovereign states and provides no punishment for
individuals,” The Tribunal also rejected the argument that the fact that the defendants were private individuals rather
than public officials representing the State meant that they could not be criminally responsible for a violation of
international law. Instead, it held: “International law ... binds every citizen just as does ordinary municipal law ... The
application of international law to individuals is no novelty.”,

In the List case (The Hostages Trial) in 1948, the U.S. Military Tribunal at Nuremberg found the defendants guilty of
committing acts of “deportation to slave labour of prisoners of war and members of the civilian populations in
territories occupied by the German Armed Forces”,

Charter of the International Military Tribunal, art. 6, annexed to Agreement by the Government of the United
Kingdom of Great Britain and Northern Ireland, the Government of the United States of America, the Provisional
Government of the French Republic and the Government of the Union of Soviet Socialist Republics for the Prosecution
and Punishment of the Major War Criminals of the European Axis, Aug. 8, 1945, 82 UNTS 280, 288 (“The following
acts, or any of them, are crimes coming within the jurisdiction of the Tribunal for which there shall be individual
responsibility: (a) Crimes against peace: namely, planning, preparation, initiation or waging of a war of ageression, Or

 

 

 
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a war in violation of international treaties, agreements or assurances, or participation in a common plan or conspiracy
for the accomplishment of any of the foregoing;”),

in United States, et al, v. Géring, et al., Judgment, 1 TRIAL OF THE MAJOR WAR CRIMINALS BEFORE THE IMT
254 (“To constitute Crimes against Humanity, the acts relied on before the outbreak of war must have been in
execution of, or in connection with, any crime within the jurisdiction of the Tribunal. The Tribunal is of the opinion
that revolting and horrible as many of these crimes were, it has not been satisfactorily proved that they were done in
execution of, or in connection with, any such crime. The Tribunal therefore cannot make a general declaration that the
acts before 1939 were Crimes against Humanity within the meaning of the Charter, but from the beginning of the war
in 1939 War Crimes were committed on a vast scale, which were also Crimes against Humanity, and insofar as the
inhumane acts charged in the Indictment, and committed after the beginning of the war, did not constitute War Crimes,
they were all committed in execution of, or in connection with, the aggressive war, and therefore constituted Crimes
against Humanity.”),

In United States, et al_y. Géring, et al., Judgment, { TRIAL OF THE MAJOR WAR CRIMINALS BEFORE THE IMT
226 (“Count One, however, charges not only the conspiracy to commit aggressive war, but also to commit War Crimes
and Crimes against Humanity. But the Charter does not define as a separate crime any conspiracy except the one to
commit acts of aggressive war.”’),

In United States, et al. v. Géring, et al, Judgment, | TRIAL OF THE MAJOR WAR CRIMINALS BEFORE THE IMT
256 (“If satisfied of the criminal guilt of any organization or group, this Tribunal should not hesitate to declare it to be
criminal because the theory of ‘group criminality’ is new, or because it might be unjustly applied by some subsequent
inibunals. On the other hand, the Tribunal should make such declaration of criminality so far as possible in a manner to
insure that innocent persons will not be punished. A criminal organization is analogous to a criminal conspiracy in that
the essence of both is cooperation for criminal purposes. There must be a group bound together and organized for a
common purpose. The group must be formed or used in connection with the commission of crimes denounced by the
Charter. Since the declaration with respect to the organizations and groups will, as has been pointed out, fix the
criminality of its members, that definition should exclude persons who had no knowledge of the criminal purposes or
acts of the organization and those who were drafted by the State for membership, unless they were personally
implicated in the commission of acts declared criminal by Article 6 of the Charter as members of the organization.
Membership alone is not enough to come within the scope of these declarations.”),

In United States y. Ohlendorf. et al. (Einsatzgruppen Case), 1V TRIALS OF WAR CRIMINALS BEFORE THE NMT
372 (“In line with recognized principles common to all civilized legal systems, 4 2 of Article TI of Control Council Law
No. 10 specifies a number of types of connection with crime which are sufficient to establish guilt. Thus, not only are
principals guilty but also accessories, those who take a consenting part in the commission of crime or are connected
with plans or enterprises involved in its commission, those who order or abet crime, and those who belong to an
organization or group engaged in the commission of crime.”),

TEN. International Law Commission, Principles of International Law Recognized in the Charter of the Nirnberg
Tribunal and in the Judgment of the Tribunal, in Report of the Intemational Law Commission on its Second Session, 5
June to 29 July 1950, (Document 4/1316), reprinted in TT YEARBOOK OF INTERNATIONAL LAW COMMISSION
1950, 374 U.N. Doc. A/CN. 4/SER.A/1950/Add. 1 Gun. 6, 1957) (PRINCIPLE II The fact that internal law does not
impose a penalty for an act which constitutes a crime under international law does not relieve the person who
committed the act from responsibility under international law.”},

In Colepaugh v. Looney, 235 F.2d 429, 431 (10th Cir. 1956) (“January 11, 1945, by executive order, the President
charged the petitioner with violation of the law of war and...to convene a military commission for trial of such
offenses. The first charge specified: (1) ... the petitioner and one Gimpel, acting for the German Reich, secretly passed
through, in civilian dress, contrary to the law of war, the military and naval lines of the United States for the purpose of
committing espionage, sabotage and other hostile acts; and (2) that the aceused ... appeared and remained in civil dress,
contrary to the law of war behind the military lines of the United States for the purpose of committing espionage,
sabotage and other hostile acts. The second charge alleged ... the petitioner and one Gimpel, acting for the German
Reich, were, in time of war, found lurking and acting as spies in and about the fortifications, posts and encampments ...
of the United States ..., for the purpose of obtaining intelligence and communicating it to the German Reich. The third
charge alleged a conspiracy to commit the above substantive offenses.”),

 

 
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In Reid v. Covert, 354 U.S. 1 (1956), Toth v. Quarles. 350 U.S. 11 (1955), Duncan v. Kahanamoku, 327 U.S. 304
(1946); Ex parte Milligan, 71 U.S. 2 (1866); (when the United States is a party to such Protocol, willfully kilis or
causes serious injury to civilians.”), 262 See, e.g., Robert Gates, Secretary of Defense, Memorandum re: UCMI
Jurisdiction Over DoD Civilian Employees, DoD Contractor Personnel, and Other Persons Serving With or
Accompanying the Armed Forces Overseas During Declared War and in Contingency Operations,

See, e.g., 1956 FM 27-10 (Change No. 1 1976) 4500 (“Conspiracy, direct incitement, and attempts to commit, as well
as complicity in the commission of, crimes against peace, crimes against humanity, and war crimes are punishable.”
Memorandum of Law from Tom C. Clark, Assistant Attorney General, to Major General Myron C. Kramer, Judge
Advocate General, 6 (Mar. 12, 1945) (“In view of the statements of the authorities on military law set forth above, and
the precedents established in the proceedings referred to above, it may be said to be well established that a conspiracy
io commit an offense against the laws of war is itself an offense cognizable by a commission administering military
judgment.”’y,

In Filartiga v. Pena-Ivala, 1980, a federal appeals court judge ruled that, under customary international law, “the
torturer has become ~ like the pirate and slave trader before him — hostis humani generis, an enemy of all mankind.”
The judge consequently affirmed that foreign torture victims could seck civil remedies in the U.S. under the Alien Tort
Statute, a 1789 law permitting lawsuits by non-citizens for torts committed in violation of the Law of Nations,

In Fildvtiga v. Pefia-[rala, 630 F.2d 876 (2d Cir. 1980), was a landmark case in United States and international law. It
set the precedent for United States federal courts to punish non-American citizens for tortious acts committed outside
the United States that were in violation of public international Jaw (the law of nations) or any treaties to which

the United States is a party. It thus extends the jurisdiction of United States courts to tortious acts committed around the
world. The case was decided by a panel of judges from the United States Court of Appeals for the Second

Circuit consisting of Judges Feinberg, Kaufman, and Kearse. U.S. courts eventually ruled in favor of the Filartigas,
awarding them roughly $10.4 million. Torture was clearly a violation of the law of nations, and the United States did
have jurisdiction over the case since the claim was lodged when both parties were inside the United States.
Additionally, Pefia had sought to dismiss the case based on forum non conveniens, arguing that Paraguay was a more
convenient location for the trial, but he did not succeed;

 

Following the judgment in Fildrtiga, there was a concern that the U.S. would evolve into a haven for international tort
claims. In Kadic v Karadzié (1995), groups of Bosnian Croats and Muslims commenced proceedings against Serbia for
war crimes in an American domestic court, with Radovan Karadzié being in the U.S. at the time. KaradZié was found.
not to be immune;

Following the Karad#ié judgment, it was ruled in Sosa v. Alvarez-Machain 542 U.S. 692 (2004) that Congress intended
with the Alien Torts Statute that extraterritorial jurisdiction was allowed for only the most egregious international
crimes. This was further limited in Kiobel v. Royal Dutch Petroleum Co., where it was affirmed that there was a strong
presumption against extraterritoriality, causes of action must also apply to the American domestic Alien Torts Act and
not to acts committed outside the United States. The Court concluded that nothing in the Statute's text was sufficient to
overcome the assumption against extraterritorialily,

In PROSECUTOR V FURUNDZIJA: 1 APR 1999 (International Criminal Tribunal for the Former Yugoslavia) The
court described the main features of the law against torture: “There exists today universal revulsion against torture: as a
USA Court put it in Vilartiga v. Pena-Irala, ‘the torturer has become, like the pirate and the slave trader before him,
hostis humani generis, an enemy of all mankind’. This revulsion, as well as the importance States attach to the
eradication of torture, has led to the cluster of treaty and customary rules on torture acquiring a particularly high status
in the international normative system, a status similar to that of principles such as those prohibiting genocide, slavery,
racial discrimination, aggression, the acquisition of territory by force and the forcible suppression of the right of
peoples to self-determination. The prohibition against torture exhibits three important features, which are probably held
in common with the other general principles protecting fundamental human rights. The Prohibition Even Covers
Potential Breaches;

Argentina’s Trial of the Juntas 1985, the Argentine government initiates trials for members of the military that ruled

during the so-called Dirty War (1976-1983), for mass kidnappings and killings of left-wing activists, political
opponents, and sympathizers. The Trial of the Juntas is the first in Latin America to bring former dictators to justice by

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a civilian, democratic government. In December 1985, several former military officials are convicted for crimes against
humanity, with a life sentence for former de facto President General Jorge Videla. However, the next two presidents
grant immunity to the remaining officers charged and pardon all those previously convicted. In 2003, President Nestor
Kirchner replaces several members of Argentina’s Supreme Court, which overturns the amnesty jaw in 2005 and
pardons in 2007, prompting trials to restart. In June 2012, Videla is convicted for the kidnapping of babies from
political opponents and sentenced to fifty years in prison. He dies in May 2013 while serving lis sentence,

In 1991, ina diplomatic note to Iraq, the United States stated: “The Government of the United States reninds the
Government of Iraq that under International Law, violations of the Geneva Conventions, the Geneva [Gas] Protocol of
1925, or related International Laws of armed conflict are war crimes, and individuals guilty of such violations may be
subject to prosecution at any time ... This includes members of the Iraqi armed forces and civilian government

officials, ” The execution of former Iraqi President Saddam Hussein took place on Saturday, 30 DEC 2006, after being
convicted of Crimes against Humanity by the Iraqi Special Tribunal,

In the Karad#ié case in 1995, a U.S. Court of Appeals considered a civil action brought by Bosnian victims of atrocities
against Radovan Karadzié under, inter alia, the U.S. Alien Tort Claims Act which gives the U.S. courts jurisdiction
over claims by aliens for torts committed in violation of the law of nations or treaties to which the United States ts
party. The Court emphasized that individuals could be held responsible, both criminally, and, as in this case, civilly, for
violations of intemational law and noted: “The lability of private individuals for committing war crimes has been
recognized since World War I and was confirmed at Nuremberg after World War II, and remains today an important
aspect of international law.”,

Since the mid-1990s, as part of NATO ‘s Operation JOINT ENDEAVOR, Operation JOINT GUARD and Operation
JOINT FORGE, and as part of NATO’s support to the European Union’s Operation ALTHEA, the United States has
conducted operations to apprehend, transfer, and support the prosecution of Persons Indicted for War Crimes
(PIFWC) in the ICTY;

 

International Tribunal for the Former Yugoslavia 1993 — 2017, a UN Security Council resolution establishes the
International Criminal Tribunal for the Former Yugoslavia to try those responsible for mass killings of Bosnian
Muslims, Croats, and Kosovo Albanians, as well as for abuses against ethnic Serbs, in the Balkans beginning in 1991.
The most famous defendant is former President Slobodan Milosevic, whose trial begins in 2002. Milosevic is the first
former head of state to be iried for war crimes, crimes against humanity, and genocide; however, he dies ina UN
detention center in 2006 before his trial concludes. Between 1993 and 2019, the tribunal indicts 161 people, the
majority of them ethnic Serbs, and sentences ninety. Radovan Karadzic and Ratko Mladic, the two Bosnian Serbs most
responsible for the Srebrenica massacre—considered the worst human rights atrocity committed on European soil since
World War Il—-are arrested in 2008 and 2011, respectively. In 2016, Karadzic is sentenced to forty years in prison, and
the following year Mladic is handed a life sentence. Also in 2017, former Bosnian Croat General Slobodan Praljak
fatally poisons himself in court upon hearing his guilty verdict,

Tribunal for Rwandan Genocide 1994 --2015, the UN Security Council creates the International Criminal Tribunal
for Rwanda (ICTR) to bring to justice those responsible for the 1994 genocide, in which an estimated eight hundred
thousand people, many of them ethnic Tutsi, are massacred. Between 1995 and 2015, the ICTR completes ninety-three
cases, nearly all against members of the Hutu ethnic majority and including that of former Prime Minister Jean
Kambanda. Kambanda pleads guilty to six counts—including genocide—and is sentenced to life imprisonment for
crimes against humanity. The tribunal formally closes at the end of 2015,

Legal Battles of Augusto Pinochet 1998 — 2006, former Chilean President Augusto Pinochet is arrested in
October 1998 while seeking medical treatment in London. The warrant is issued by Spain’s National Court on
the basis that it had jurisdiction over crimes against humanity committed by dictatorships in Chile and
Argentina. The court’s ruling sets off an international dispute over where and how Pinochet should be tried, and
after a yearlong legal battle, British officials rule he should not be extradited to Spain. Pinochet returns to Chile
in 2000 and is subsequently indicted on a number of charges involving the forced disappearances and murders
of political opponents. In the following years, he faces scrutiny over his mental capacity to stand trial and
battles over his status of immunity from prosecution. In 2004, he is placed under house arrest in connection
with nine kidnappings. Pinochet dies of congestive heart failure in December 2006 without being convicted for
any of his alleged crimes;

 

 
 

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In Prosecutor y. Tadié, ICTY Appeals Chamber, IT-94-1-A, Judgment, F195 (Jul. 15, 1999) (“Many post-World War II
cases concerning war crimes proceed upon the principle that when two or more persons act together to further a
common criminal purpose, offences perpetrated by any of them may entail the criminal liability of all the members of
the group. Close scrutiny of the relevant case law shows that broadly speaking, the notion of common purpose
encompasses three distinct categorics of collective criminality.”),

In Prosecutor v. Tadié, CTY Appeals Chamber, IT-94-1-A, Judgment, 4220 (Jul. 15, 1999) (“Secondly, in the so
called ‘concentration camp’ cases, where the requisite mens rea comprises knowledge of the nature of the system of ill-
treatment and intent to further the common design of ill-treatment. Such intent may be proved either directly or as a
inatter of inference from the nature of the accused’s authority within the camp or organisational hierarchy.”),

In Prosecutor y. Tadié, ICTY Appeals Chamber, IT-94-1-A, Judgment, 4220 (Jul. 15, 1999) (“With regard to the third
category of cases, it is appropriate to apply the notion of ‘common purpose’ only where the following requirements
concerning mens rea are fulfilled: (i) the intention to take part in a joint criminal enterprise and to further — individually
and jointly ~ the criminal purposes of that enterprise; and (ii) the foreseeability of the possible commission by other
members of the group of offences that do not constitute the object of the common criminal purpose. Hence, the
participants must have had in mind the intent, for instance, to ill-treat prisoners of war (even if such a plan arose
extemporaneously) and one or some members of the group must have actually killed them. In order for responsibility
for the deaths to be imputable to the others, however, everyone in the group must have been able to predict this result.
It should be noted that more than negligence is required, What is required is a state of mind in which a person, although
he did not intend to bring about a certain result, was aware that the actions of the group were most likely to lead to that
result but nevertheless willingly took that risk. In other words, the so-called dolus eventualis is required (also called
‘advertent recklessness’ in some national legal systems).”);

In Prosecutor y. Tadié, ICTY Appeals Chamber, IT-94-1-A, Judgment, {220 (Jul. 15, 1999) (“In sum, the Appeals
Chamber holds ... that the notion of common design as a form of accomplice liability is firmly established in
customary international law and in addition is upheld, albeit implicitly, in the Statute of the International Tribunal. As
for the objective and subjective elements of the crime, the case law shows that the notion has been applied to three
distinct categories of cases. First, in cases of co-perpetration, where all participants in the common design possess the
same criminal intent to commit a crime (and one or more of them actually perpetrate the crime, with intent).”),

in Prosecutor v. Musema, ICTR Trial Chamber I, ICTR-96-13-A, Judgment and Sentence, (185 (Jan. 27, 2000) (The
Chamber notes that the crime of conspiracy to commit genocide covered in the Statute is taken from the Genocide
Convention. The ‘Travaux Préparatoires’ of the Genocide Convention suggest that the rationale for including such an
offence was to ensure, in view of the serious nature of the crime of genocide, that the mere agreement fo commit
genocide should be punishable even if no preparatory act has taken place.”),

In 2000, .P. Morgan agreed to settle compensation claims by the so-called J.P. Morgan Settlement Agreement which
provided for the establishment of a settlement fund of U.S. $ 2,750,000 to compensate Jewish victims of the Holocaust
who had seen their bank accounts seized during the Second World War in France. The Settlement Agreement was
approved by the U.S. District Court;

In the Holocaust Victims Assets case in 2000, a U.S. District Court approved a class-action Setttement Agreement
between Holocaust victims and Swiss banks agreed in August 1998, finding it fair, reasonable and adequate. The
Agreement set up a U.S. $1.25 billion fund to be ereated in four annual instalments over three years. In addition, it
released, with few exceptions, “the Swiss Confederation, the Swiss National Bank, all other Swiss banks, and other
members of Swiss industry”. In its final order and judgment of 2000, the District Court approved the Settlement
Agreement;

in a concurrent resolution adopted in 2000, the U.S. Congress expressed its sense concerning the war crimes committed
by the Japanese military during the Second World War, in particular experiments conducted on living prisoners of war.
The resolution asked the Government of Japan to apologize for these crimes and pay immediate reparations to the
victims;

In Mudd v. Caldera, 134 F. Supp. 2d 138, 145-46 (D.D.C, 2001) (United States citizen who was an unlawful
belligerent was triable for law of war violations before military commission),

 

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> East Timor’s Unfinished Trial 2000 - 2006, the UN Security Council authorizes a tribunal to investigate and
prosecute grave offenses that occurred during the conflict that erupted over Indonesia’s annexation of East
Timor in 1975. Fifty-five trials are held against nearly ninety individuals, eighty-four of whom are convicted.
Many of those accused of crimes are Indonesian nationals and they are never tried because their government
refuses to turn them over. Funding for the East Timor Tribunal and its investigative unit eventually runs out,
leading to a backlog of more than five hundred unpursued cases,

> Creation of the International Criminal Court 2002, the Rome Statute, an international treaty signed by 139
nations, enters into force in July after being ratified by more than sixty countries, forming the International
Criminal Court (ICC). The ICC, based in The Hague, Netherlands, is the first international permanent tribunal
for the gravest violations of international law, including war crimes, genocide, and crimes against humanity.
Countries that do not join include China, India, and the United States—which signed the Rome Statute in 2000,

> Sierra Leone and the Charles Taylor Precedent 2002 -- 2013, the govermnent of Sierra Leone and the United
Nations agree to establish the Special Court for Sierra Leone to try those most responsible for crimes against
humanity committed during the country’s civil war. Between 2002 and 2012, twenty-one people are indicted for
war crimes, including murder, rape, enslavement, extermination, and attacks against UN peacekeepers. The
most famous defendant is former Liberian President Charles Taylor, who is turned over to the court in 2006 on
charges that he directed the rebel forces that committed many of the atrocities in Sierra Leone. The court finds
Taylor guilty of war crimes, crimes against humanity, and serious violations of international humanitarian law,
making him the first former head of state to be convicted by an international tribunal since World War II. In
May 2012, the court sentences Taylor to fifty years in prison,

> In Prosecutor y. Krnojelac, ICTY Appeals Chamber, IT-97-25-A, Judgment, $96 (Sept. 17, 2003) (“The Appeals
Chamber notes that, with regard to the crimes considered within a systemic form of joint criminal enterprise, the mtent
of the participants other than the principal offenders presupposes personal knowledge of the system of ill-treatment
(whether proven by express testimony or a matter of reasonable inference from the accused’s position of authority) and
the intent to further the concerted system of ill-treatment. Using these criteria, it is less important to prove that there
was a more or less formal agreement between all the participants than to prove their involvement in the system. As the
Appeals Chamber recalled in the Tadie Appeals Judgement, in his summary of the Be/sen case the Judge Advocate
summed up and approved the Prosecution’s legal submissions in the following terms: ‘The case for the Prosecution is
that all the accused employed on the staff at Auschwitz knew that a system and a course of conduct was in force, and
that, in one way or another, in furtherance of a common agreement to run the camp in a brutal way, all those people
were taking part in that course of conduct.’”),

>» Iraqi Special Tribunal Convicts Saddam 2003, the special tribunal is established by the U.S.-appointed Iraqi
Governing Council in December 2003 to try Iraqis who committed human rights atrocities during former
dictator Saddam Hussein’s rule, from 1968 to 2003. The interim government integrates the tribunal into the
domestic legal system in 2005 and renames it the Iraqi High Tribunal. Saddam is accused of ordering the 1982
execution of about 150 Shiite Iragis in the northern town of Dujail, killing some five thousand Kurds with
chemical gas in Halabja in 1988, and invading Kuwait in 1990. The tribunal convicts Saddam in 2006, and in
December he is executed by hanging. Several members of Saddam’s Baathist cabinet stand trial and are
convicted over the next several years; they are eventually executed or sentenced to life imprisonment,

> Cambedian Genocide Tribunal 2003, in 2003, the Extraordinary Chambers in the Courts of Cambodia (ECCC) is
established under Cambodian law. This follows a treaty between the Cambodian government and the United Nations to
try senior members of the Khmer Rouge party and others most responsible for crimes against humanity, war crimes,
and genocide of Cambodians during the party’s rule in the late 1970s. Khmer Rouge leader Pol Pot, who dies while
being held under house arrest by a faction of his own party in 1998, is never brought to trial or convicted for
authorizing the crimes. The ECCC goes on to try surviving party leaders. Three of the most senior leaders—Nuon
Chea, Khieu Samphan, and Ieng Sary---go on trial in late 2011. Sary dies in 2013 while the trial is ongoing. In 2014,
Chea and Samphan receive life sentences for crimes against humanity and, in 2018, additional life sentences for
genocide. Chea dies in 2019 while he appeals his genocide conviction. Khmer Rouge prison chief Kain Guek Eav, who
managed the infamous S-21 torture center, is sentenced to life imprisonment in March 2012 for war crimes and crimes
against humanity. Three defendants remain subject to prosecution,

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> In Hamdan v. Rumsfeld, 548 U.S. 1, 23 (2006) (Thomas, J., dissenting) (“The Civil War experience provides further
support for the President’s conclusion that conspiracy to violate the laws of war is an offense cognizable before law-of-
war military commissions. Indeed, in the highest profile case to be tied before a military commission relating to that
war, namely, the trial of the men involved in the assassination of President Lincoln, the charge provided that those men
had ‘combin[ed], confederat[ed], and conspirjed}...to kill and murder” President Lincoln.”);

> in Ferdinand Nahimana, Jean-Bosco Baravagwiza, Hassan Neeze v. The Prosecutor, ICTR Appeals Chamber, ICTR-
99.52.-A, Judgment, {894 (Nov, 28, 2007) (“Conspiracy to commit genocide under Article 2(3)(b) of the Statute has
been defined as ‘an agreement between two or more persons to commit the crime of genocide’. The existence of such
an agreement between individuals to commit genocide (or ‘concerted agreement to act’) is its material element (actus
reus), furthermore, the individuals involved in the agreement must have the intent to destroy in whole or in part a
national, ethnical, racial or religious group as such (mens rea).”);

 

> Peru's Fujimori Tried for Shining Path Crackdown 2007 ~ 2009, in 2000, after ten years in office, Peruvian
President Alberto Fujimori faxes in his resignation from Japan amid a corruption scandal involving his
intelligence chief, Vladimiro Montesinos. Fujimori is arrested in Chile in 2005, and two years later extradited
to Peru, where he undergoes several trials for corruption and human rights violations allegedly committed
during his presidency. In 2009, he is convicted and sentenced to twenty-five years in prison for authorizing two
military squad operations that resulted in kidnappings and several civilian deaths, which Fujimori said were
targeted at members of the Shining Path terrorist group. In 2017, President Pedro Pablo Kuczynski grants
Fujimori a humanitarian pardon, a move that sparks protests and is later reversed by the country’s Supreme
Court;

> Controversial Case of Congolese Rebel Leader 2008, Former Congolese Vice President Jean-Pierre Bemba
Gombo is arrested outside of Brussels in 2608 on a warrant issued by the ICC. He is charged with crimes
against humanity and war crimes committed by the Movement for the Liberation of the Congo, forces under his
command, in the Central African Republic from 2002 to 2003. In 2016, Bemba is convicted for crimes
including sexual violence—the first such conviction by the [CC—and sentenced to eighteen years in prison.
Two years later, however, Bemba is acquitted of all charges. The ICC appeals panel rejects the conviction on
the grounds of command responsibility, ruling that Bemba cannot be held responsible for crimes committed by
his fighters. He returns to the Democratic Republic of Congo and announces his candidacy for president in the
2018 election, but is barred from running by the national electoral commission;

& In United States v. Passara, 577 F.3d 207, 210-12 (4th Cir. 2009) (“This case arises from the conviction in a United
States federal court of an American citizen for the brutal assault on an Afghan national in Afghanistan. A jury in the
Eastern District of North Carolina found David A. Passaro, a Central Intelligence Agency civilian contractor, guilty of
assault on Abdul Wali. The assault cccurred in 2003 at Asadabad lirebase, a United States Army outpost in
Afghanistan. ... The Government predicated federal criminal jurisdiction in this case on the special maritime and
territorial jurisdiction statute.”),

 

 

 

>» Sudan’s Bashir Wanted by ICC 2009, in March 2009, the ICC indicts Sudanese President Omar al-Bashir for
orchestrating a campaign of mass viclence—including murder, torture, and rape—against non-Arab ethnic
sroups in the Darfur region since 2003. He is the first sitting president of a nation to be indicted by the ICC.
Sudan, which is not a party to the Rome Statute and does not recognize the court, does not turn him over. The
African Union also rejects the warrant, arguing that the ICC has a bias against African nations, and calls on
member states not to arrest Bashir if he is received in their countries. In April 2019, following months of
popular protests, the Sudanese military forces Bashir to step down and arrests him, though it says it will not
hand him over to the ICC. Later that year, a Sudanese court convicts Bashir of corruption and financial crimes
and sentences him to two years in detention. In early 2020, Sudanese officials announce their intent to transfer
Bashir to The Hague for prosecution;

> In United States v. Belfast, 61} F.3d 783, 793 (11th Cir. 2010) (affirming the trial court's 97-year sentence in 2008,
Charles “Chuckie” Taylor, son of Charles Taylor, former president of Liberia and convicted war criminal, received a
97-year sentence under the 1994 Torture Statute),

 

 

 

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The Case Against Qaddafi 2011, in June 2011, the ICC indicts Libyan leader Muammar al-Qaddafi, his son, and
brother-in-law for crimes against humanity arising from their authorization of the killing of protesters during
Libya’s popular uprising. Qaddafi is killed by opposition forces in October, and one month later, his son, Saif
al-Islam Qaddafi, is arrested during an attempted escape. In the following months, Libyan officials and the ICC
dispute the location of Saif’s trial; Libyan authorities argue he should be tried in his home country, while the
ICC maintains that he would have a fairer trial at The Hague. Qaddafi’s brother-in-law and intelligence chief,
Abdullah Senussi, is captured in Mauritania in March 2012 and extradited to Libya, where, in 2015, he is
sentenced to death. Senussi is appealing the verdict;

ICC Struggles to Prosecute Kenyan Crimes 2011, Uhuru Kenyatta, Kenya's finance minister and a deputy prime
minister, is indicted in March 2011 on charges of crimes against humanity for his role in postelection violence im 2007
and 2008 that killed about 1,300 people and displaced hundreds of thousands. Kenyatta, a member of the Kikuyu ethnic
group, is accused of helping plan and fund attacks against opposition-supporting ethnic groups in several southwestern
cities; five other political figures are also charged. He and fellow defendant William Ruto, who mins on the same ticket,
win the country’s 2013 presidential election despite the court’s ongoing investigation. In 2016, the court drops its cases
against Kenyatta and Ruto, citing witness tampering and lack of cooperation,

 

Tunisian Leader’s Ouster in Arab Spring 2011, mass protests calling for the resignation of President Zine al-Abidine
Ben Ali, in office for more than twenty years, erupt across Tunisia. After several weeks, the armed forces surround the
presidential palace, and Ben Ali flees with his family to Saudi Arabia. The interim government calls on the
international policing organization Interpol to issue an arrest warrant for him on charges of embezzling state funds.
Saudi Arabia rejects extradition requests, and Ben Ali and his wife are tried in absentia and each sentenced to thirty-
five years in prison. He is later convicted of other crimes, including possessing illegal drugs and weapons and ordering
the killing of protesters. Ben Ali dies in exile in September 2019, without serving prison time;

Trial of Egypt's Mubarak 2011 ~ 2012, three months after resigning as president of Egypt, a post he held from
1981 to 2011, Hosni Mubarak is ordered to stand trial in a domestic court on charges of corruption and
premeditated murder of Arab Spring protesters. The trial lasts from August 2011 to June 2012, when Mubarak
is convicted of complicity in protesters’ deaths but is acquitted on corruption charges. The court sentences him
to life in prison. Despite Mubarak’s verdict and sentencing, six senior security officials are acquitted of
complicity in the killings, prompting nationwide protests. Mubarak is released from detention in 2017, and he
dies in a Cairo hospital after undergoing surgery in February 2020,

In Belgium v, Senegal, the Intemational Court of Justice (ICJ) recently adopted the interpretation of the Torture
Convention in its landmark case relating to the Obligation to Prosecute or Extradite (Belg. v. Sen.), Judgment (July 20,
2012), http://www. icjcij.org/docket/files/144/17064. pdf the former President of Chad, Hisséne Habré, Before being
ousted from Chad in 1990, Habré had presided over 40,000 political killings and widespread torture. *(See US Inst. of
Peace, Chad: Report of the Commission of Inquiry into the Crimes and Misapprapriations Committed by Ex-President
Habre, His Accomplices and/or Accessories, in TRANSITIONAL JUSTICE: HOW EMERGING DEMOCRACIES
RECKON WITH FORMER REGIMES 81 (Neil F. Kritz ed., 1992).) * Habré then sought refuge in Senegal. (See
Aaron Solomon, The Polities of Prosecutions Under the Convention Against Torture, 2 CHL J INT'L L. 309, 310
(2001) (noting Senegai’s failure te prosecute Habré while he resided there, despite indicting him). In 2009, Belgium,
after numerous attempts to extradite Habré for tral, initiated an action against Senegal seeking Habré’s extradition or
prosecution based on the Torture Convention. Belgium alleged that Senegal’s refusal to prosecute Habré domestically
or extradite him to Belgium for prosecution violated provisions under the Torture Convention and customary
niternational law. The ICJ accepted Belgium’s argument that the Torture Convention creates a duty for signatories to
prosecute, or extradite for prosecution, suspected torturers. Moreover, the ICJ held that Senegal’s failure to seek
prosecution or extradition of Habré constituted a breach of the Torture Convention. It found unanimously that Senegal
must either prosecute Habré or extradite him for the purpose of prosecution immediately;

Guatemala’s Genocide Trial 2012 —2013, former Guatemalan President Efrain Rios Montt is indicted in
January 2012 for the killing of indigenous people during the country’s civil war, which lasted from 1960 to
1996. He is charged again in May 2012 for authorizing the 1982 massacre at Dos Erres, which killed more than
two hundred people. In May 2013, a Guatemalan court finds the eighty-six-year-old Rios Montt guilty of
genocide and crimes against humanity, making him the first former Latin American leader to be convicted on
such charges, and he is sentenced to eighty years in prison. However, the constitutional court annuls the ruling

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days later, ordering the trial court to rehear the last month of the case. Rios Montt is retried in absentia but dies
in 2018;

> A Pakistani special court in 2019 sentenced former military dictator and president Pervez Musharraf to death in
absentia, ending a six-year long high treason case against him and delivering a historic verdict against the country’s
powerful army;

> In Smith v. United States, 133 8. Ct. 714, 719 (2013) (“The essence of conspiracy is “the combination of minds in an
unlawful purpose.””) (quoting United States v. Hirsch, 100 U.S. 33, 34 (1879),

> In United States vy. McKinney, 954 V.2d 471, 474 (7th Cir. 1992) an (Overt Act) in furtherance of the conspiracy occurs
when any conspitator commits some act other than planning, to further the goal of the conspiracy;

 

> In Hammersclunidt v. United States, 265 U.S. 182, 188 (1924) Conspiring to Defraud the United States means
primarily to cheat the government out of property, money, or to obstruct a lawful governmental function by deceit, craft
or trickery, or at least by means that are dishonest;

> In United States v. Gebbie, 294 F.3d 540, 544 (3d Cir. 2002), United States v. Cefalu, 85 F.3d 964, 969 (2d Cir. 1996),
United States v. Vasquez-Chan, 978 F.2d 546, 555(9th Cir. 1992), see also Patel vy. Mukasey, 526 F.3d 800, 803 (5th
Cir. 2008), see also United States v. Boyd, 640 F.3d 657, 668 (6th Cir. 2011) (“To sustain a conviction for misprision of
felony, the Government must prove beyond a reasonable doubt that principal committed the felony alleged’’y,

>» In Pinkerton v. United States, 328 U.S. 640, 647 (1946) (“A scheme to use the mails to defraud, which is jomed in by
more than one person, is a conspiracy. Yet all members are responsible, though only one did the mailing. The
governing principle is the same when the substantive offense is committed by one of the conspirators in furtherance of
the unlawful project. The criminal intent to do the act is established by the formation of the conspiracy. Each
conspirator instigated the commission of the crime, The unlawful agreement contemplated precisely what was done. It
was formed for the purpose. The act done was in execution of the enterprise. The rule which holds responsible one who
counsels, procures, or commands another to commit a crime 1s founded on the same principle. That principle is
recognized in the law of conspiracy when the overt act of one partner in crime is attributable to all.””);

 

> In United States y. Mills, 199 F.3d 184, 188 (5th Cir. 1999) (citing Carpenter v. United States, 484 U.S. 19, 25 1.6
(1987)) Because section 134] and section 1343 share the same language, in relevant part, the Supreme Court has held
that the same analysis applies to both statutes. Similar to the mail fraud statute, the federal wire fraud statute, codified
at 18 U.S.C. § 1343, prolibits anyone from devising a scheme to defraud using “Wire, Radio, or Television
Communication.” (18 U.S.C. § 1343 (2008),

 

 

 

>» In United States y. Stewart, 207 F 3d 658 (Table), at 7 (Sth Cir. 2000), in ordinary usage “harass” may mean to uritate
or torment persistently; to wear cut, exhaust; to impede and exhaust (an enemy) by repeated attacks or raids.”;

> In United States v. Al-Zubaidy, 283 F.3d 804, 808 (6th Cir. 2002), cert denied, 122 8. Ct. 2638 (2002), that the victim
was placed in reasonable fear of death or serious bodily injury to themselves or a member of their family as a result of
that travel,

> In Velasco v. United States, No. 8:05-CR-496-T-23MS8S8, 2006 WL 1679586, at *5 (MLD. Fla. June 14, 2006); United
States v. Hunt, 526 F.3d. 739, 745 (11th Cir. 2008), to prosecute an individual for obstruction of justice, section 1519
requires that the defendant, “knowingly alter, destroy, mutilate, conceal, cover up, falsify, or make a false entry in any
record, document, or tangible object... .” (§ 1519.) That is, the defendant must have been aware that his or her
conduct was unlawful or wrongful, and that it could potentially impede an investigation;

>» Courts have interpreted section 1519 to apply to FBI investigations (Hunt, 526 F.3d at 743.), police reports that are
later reviewed in a federal investigation, official federal investigation reports (United Siates v. Jackson, 186 Fed. App’x
736, 738 (9th Cir. 2006) (affirming defendant’s conviction by lower court).), grand jury investigations, (United States
v. Hoffinan-Vaile, 568 F.3d 1335, 1343 (11th Cir. 2009).), bankruptcy proceedings (United States v. Holstein, 618 F.3d
610, 612-13 (7th Cir. 2010).), Defense Logistic Agency investigations (United States vy. Lessner, 498 F.3d 185, 188 (3d

 

 
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Cir. 2007).}, and other federal investigations and inquiries. This list, however, is not exhaustive, Congress intended for
section 1519 to apply broadly so as “not to include any technical requirement.” (S. Rep. No. 107-146, at 14.)

> In Smith v. United States, 363 F.2d 143, 144 (5th Cir. 1966), to successfully prosecute a defendant under section
1621(1), the accused must have taken an oath authorized by the “law of the United States” before the false testimony
was made. (The phrase “laws of the United States” includes federal statutes “as well as Rules and 1116 § 1621(1),

>» In Bivens the Supreme Court established an implied cause of action directly under the Constitution against federal
officials. The S/'ens remedy is essentially a judicially created equivaient of section 1983, except that it applies to
persons violating constitutional nghts under color of federal law,

 

 

> In Smith v. Wade (103 S. Ct. 1625 (1983), the Supreme Court established punitive damages as an integral component of
the relief available im section 1983 actions. By sanctioning such awards, the Court advanced one of the specific
purposes underlying section 1983, that of preventing future violations of constitutional rights. The decision properly
reflects the compelling need to punish and deter aggravated misconduct when interests as important as constitutional
rights are at stake. Furthermore, by adopting a reckless disregard standard, the Court avoided unduly restricting the
availability and effect of punitive damages in section 1983 actions. Preserving a strong civil rights canse of action is
essential to a continued dedication to individual liberties,

> In Dennis vy. Higgins, 498 U.S, 439, 450-51 (1991), when a plaintiff asserts the violation of a right specifically
identified im the Bill of Rights or protected under the substantive component of the due process clause, the violation is
complete at the time of the challenged conduct and the § 1983 remedy is available regardless of remedies provided
under state law. In addition to these Fourteenth Amendment rights, a violation of the dormant commerce clause is
actionable under § 1983;

> In Smith v. Wade, 461 U.S. 30, 56 (1983), a plaintiff may be awarded punitive damages against an individual defendant
“when the defendant’s conduct is shown to be motivated by evil motive or intent, or when it involves reckless or
callous indifference to the federally protected rights of others.”,

 

> In O'Shea v. Littleton, 414 U.S. 488, 502 (1974), to obtain injunctive relief in federal court, a plaintiff must
demonstrate “the likelihood of substantial and immediate irreparable injury, and the inadequacy of remedies at law.”

 

» Substantive Due Process prevents "governmental power from being ‘used for purposes of oppression," Daniels v.
Williams, 474 U.S, 327, 331, 88 L. Ed. 2d 662, 106 S. Ct. 662 (1986) (citation omitted), or "abuse of government
power that shocks the conscience." Shillingford v. Holmes, 634 F.2d 263, 265 (Sth Cir. 1981), or action that is “legally
irrational [in that] it is not sufficiently keyed to any legitimate state interests.” Kindem v. City of Alameda, 502 F. Supp.
1108, 1113-14 (N_D. Cal. 1980),

> In 1789 the only recognized violations of intemational law were piracy, violations of safe conduct, and infringements
on the nghts of ambassadors. Today, "courts must interpret international law not as it was in 1789, but as it has evolved
and exists among the nations of the world today." Milartiga y. Pena Irata, 630 F.2d 876 (2d. Cir. 1980). This includes
Communist Torture, Crimes of Genocide, and Crimes Against Humanity,

> In Dolan v. United States Postal Service, 546 U.S, 481 (2006), was a case decided by the Supreme Court of the United
States, involving the extent to which the United States Postal Service has sovereign immunity from lawsuits brought by
private individuals under the Federal Tort Claims Act. The Court ruled that an exception to the FTCA that barred
liability for the “negligent transmission of maii" only applied to damage caused to the mail itself or that resulted from
its loss or delay.

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